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 Exhibit 49-1
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 2        UNITED STATES DISTRICT COURT NEW YORK
          FOR THE EASTERN DISTRICT OF NEW YORK
 3        ------------------------------------------X

 4        MARTIN TANKLEFF,

 5                             Plaintiff,

 6           -against-

 7        THE COUNTY OF SUFFOLK, K. JAMES McCREADY,
          NORMAN REIN, CHARLES KOSCIUK, ROBERT DOYLE,
 8        JOHN McLELHONE, JOHN DOE POLICE OFFICERS
          #1-10, RICHARD ROE SUFFOLK COUNTY EMPLOYEES
 9        #1-10,

10                             Defendants.

11        ------------------------------------------X

12
                               666 Old Country Road
13                             Garden City, New York

14
                               October 2,     2013
15                             10:00 a.m.

16           DEPOSITION of CHARLES KOSCIUK,           Defendant

17        herein,   taken by the Plaintiff,          pursuant to

18        Federal Rules of Civil Procedure and Notice,

19        held at the above-mentioned time and place,

20        before Dolly Fevola,       Notary Public of the

21        State of New York.

22

23

24

25



      L------------FEVOLA REPORTING & TRANSCRIPTION INC.   (631)   724-7576------------~
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 1                                                                    2

 2        A P P E A R A N C E S

 3
          NEUFELD SCHECK BRUSTIN, LLP
 4               Attorneys for the Plaintiff
                 666 Old Country Road
 5               Garden City, New York 11530
          BY:    BARRY SCHECK, ESQ.
 6               ELIZABETH DANIEL VASQUEZ, ESQ.
                 BRUCE BARKET, ESQ.
 7

 8
          SUFFOLK COUNTY DEPARTMENT OF LAW
 9               Attorneys for the Defendants
                 H. Lee Dennison Building
10               Hauppauge, New York
          BY:    BRIAN MITCHELL, ESQ.
11

12        STATE OF NEW YORK
          OFFICE OF THE ATTORNEY GENERAL
13               Attorneys for the State of New York
                  (In unrelated matter)
14               120 Broadway
                 New York, New York 10271-0332
15        BY:    JOSEPH TIPALDO, ESQ.

16

17
          ALSO PRESENT:
18
          MARTIN TANKLEFF
19
          PERRY FINKELSTEIN,       Videographer
20

21

22

23

24

25



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 1                                                                      3


 2                                     STIPULATIONS

 3            IT IS HEREBY STIPULATED AND AGREED,                by

 4        and among counsel for the respective parties

 5        hereto,   that the filing,           sealing and

 6        certification of the within deposition shall

 7        be and the same are hereby waived;

 8            IT IS FURTHER STIPULATED AND AGREED that

 9        all objections,       except as to form of the

10        question,    shall be reserved to the time of

11        the trial;

12            IT IS FURTHER STIPULATED AND AGREED that

13        the within deposition may be signed before

14        any Notary Public with the same force and

15        effect as if signed and sworn to before the

16        Court.

17                       *         *       *
18

19

20

21

22

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24

25



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 1                                      C.   Kosciuk                   4

 2                          THE VIDEOGRAPHER:       This is Reel

 3                 Number 1 of the deposition of

 4                 Charles Kosciuk in the matter of

 5                 Martin Tankleff versus the County of

 6                 Suffolk and others in the United

 7                 States District Court for the

 8                 Eastern District of New York.

 9                          The deposition is being held at

10                  666 Old Country Road,        Garden City,

11                 New York on October the 2nd,              2013,

12                 at approximately 10:14 a.m.

13                          My name is Kathy Pascal,          the

14                 videographer from Pro Video

15                  Productions,      located in Nesconset,

16                 New York.       The court reporter is

17                  Dolly Fevola in association with

18                  Fevola Reporting and Transcription.

19                          Will counsel please introduce

20                 themselves and state the parties you

21                  represent.

22                          MR.   SCHECK:    Barry Scheck,

23                 Neufeld,       Scheck, Brustin, LLP for

24                  the Plaintiff, Martin Tankleff.

25                 With me is Elizabeth Daniel Vasquez.



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 1                                        C.   Kosciuk                   5


 2                          MR. MITCHELL:          For the County

 3                  of Suffolk,       Dennis M.     Brown,     Suffolk

 4                  County,       by Brian Mitchell, Assistant

 5                  District Attorney.

 6                          MR.    TIPALDO:     Assistant

 7                  Attorney General Joseph Tipaldo for

 8                  the State of New York.

 9                          THE VIDEOGRAPHER:           Will the

10                  court reporter please swear in the

11                  witness.

12              C H A R L E S       K 0 S C I U K,       after

13        having been first duly sworn by a Notary

14        Public of the State of New York,               was

15        examined and testified as follows:

16         (By The Reporter)

17                  Q       Please state your name for the

18        record.

19                  A       Charles M.       Kosciuk.     8

20        Woodcutters Path,         St.   James,    New York 11780.

21        EXAMINATION BY

22        MR.    SCHECK:

23                          MR.    SCHECK:     Good morning,       Mr.

24                  Kosciuk.        Do I have that right?

25                          THE WITNESS:        Kosciuk.



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 1                                          C.    Kosciuk                  6

 2                          MR.     MITCHELL:       Barry,     I'm

 3                 terribly sorry.               Can we mark his

 4                 address confidential?

 5                          MR.     SCHECK:       No problem.        I'm

 6                 really bad with names.

 7                 Q        Mr.     Kosciuk,      have you ever been

 8        deposed before in a civil case?

 9                 A        In a civil case,            yes.

10                 Q        Can you tell us about that?

11        When was that?

12                 A        It was a while back.               It was a

13        motor vehicle accident.                What year?      I would

14        have to guess.           I don't remember.

15                 Q        Were you involved in an

16        accident?

17                 A        No,     no,   no.     I was the expert.

18                 Q        I    see.     And you were the expert

19        for the Plaintiff,            the Defendant?

20                 A        For neither.           Suffolk County

21        reconstructed the case and I don't know who

22        I was for,     I was just called in to testify.

23                 Q        I got you.           Now,   could you tell

24        us a little bit about how you prepared for

25        this deposition?



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 1                                         C.   Kosciuk                7


 2                          MR. MITCHELL:         I   object to the

 3                  form.    You can answer.

 4                          MR.    SCHECK:      You can answer.

 5                  A       On Monday I met Brian Mitchell

 6        at his office and we reviewed some

 7        photographs and we went over some of the

 8        court testimony.

 9                  Q       So the court testimony being

10        your court testimony?

11                  A       Yes.

12                  Q       What other testimony,          if you

13        recall?

14                  A       That was it.

15                  Q       Okay.        And prior to -- And what

16        photographs,      if you recall,        did you review?

17                  A       Scene photographs.

18                  Q       So those would be some of the

19        photographs of where Seymour Tankleff was

20        found in his office?

21                  A       Of his office,        yes.    I was not

22        there when he was found in his office.

23                  Q       No,    no,    of where he was found

24        ln his office,          right?

25                  A       Correct.



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 1                                         C.   Kosciuk                 8

 2                 Q      And some of the crime scene

 3        photos as to where Arlene Tankleff was

 4        found?

 5                 A       Yes.

 6                 Q      And also,        did you review the

 7        photograph of that model that had been made

 8        of the entire Tankleff residence for

 9        purposes of the trial?

10                 A       No.

11                 Q       Okay.

12                         (Whereupon,          Plaintiff's Exhibit

13                  1 was marked for identification.)

14                 Q       Looking at Plaintiff's

15        Exhibit 1 for identification,              do you

16        remember this to be a photograph of a model

17        that was created for purposes of the trial

18        of the Tankleff residence at the time of the

19        murders?

20                 A       Yes,    I do.

21                 Q       Okay.     We'll come back and

22        review this.       I    just wanted to make sure you

23        remembered that.

24                         Prior to talking with Mr.

25        Mitchell and reviewing your trial testimony,



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 1                                       C.   Kosciuk                  9


 2        I take it,    yes --

 3                  A       Yes.

 4                  Q       -- and these photographs, when

 5       was the last time before that that you

 6        discussed this case with anyone that you

 7        recall?

 8                  A       Way back.        As far as a legal

 9       person?

10                  Q       Anyone.     Let's just start with

11        anyone.

12                  A       I did receive a call maybe a

13        year ago about the County was being sued and

14        I think I was named in the suit,              and I did

15        get a subpoena and then the County took care

16        of that subpoena.

17                  Q       Okay.

18                  A       That was it.

19                  Q       Right.     And before that,       do you

20        remember talking with reporters?

21                  A       No.

22                  Q       Investigators?        Anybody?

23                  A       No,    nobody.

24                  Q       Have you been following Mr.

25        Tankleff's post conviction motions that led



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 1                                           C.    Kosciuk                10

 2        to his conviction being vacated?

 3                 A        No.

 4                 Q        Did you discuss with any of

 5        your old colleagues at the Suffolk County

 6        Police Department anything about this case

 7       while those post conviction motions were

 8        going on?

 9                 A        Not really,           no.

10                 Q        When did you retire by the way?

11                 A        2002.       The end of July 2002.

12                 Q        What did you do after you

13        retired?

14                 A        I    still do motor vehicle

15        accident reconstruction privately.

16                 Q        Do you have your own firm or

17        are you affiliated with somebody?

18                 A        I work with another person.

19                 Q        You work with what?

20                 A        Another person.

21                 Q        And who is that?

22                 A        Bob Genna of the crime lab.

23                 Q        Oh,     so you work with Mr.          Genna?

24                 A        Yes.

25                 Q        And he      lS   still working at the



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 1                                      C.   Kosciuk                 11

 2        Suffolk County Crime Lab?

 3                 A       Yes.

 4                 Q       What is his position?

 5                 A       He's the director.

 6                 Q       How does that work?         How does

 7        he wind up hiring you to do reconstruction?

 8                 A       Originally at the laboratory

 9        that was my function when I           retired and then

10        we continued that when I           retired and we only

11        handle civil cases at this time.

12                 Q       When you say "we" you mean --

13                 A       Him and I.

14                 Q       And do you do this for the

15        County of Suffolk?

16                 A       No.

17                 Q       So Mr.   Genna -- Is this a

18        profit-making entity?

19                 A       Yes.

20                         MR. MITCHELL:       I object to the

21                 form.    You can answer.

22                 Q       Does it have a name?         Is it

23        incorporated?

24                 A       You know,    I have no idea what

25        that name is if he does have a name.



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 1                                     C.   Kosciuk                  12

 2                 Q      Is it a partnership?

 3                 A      What I mostly do is I mostly

 4        respond to the scene with him.             We collect

 5        the physical evidence, measurements,              and I

 6        do reconstruction and he goes over the

 7        reconstruction and he takes care of all the

 8        testimony and all the attorneys involved.                   I

 9        have very little contact outside of the

10        scene itself.

11                 Q      Are you paid by the County of

12        Suffolk?

13                 A      No.

14                 Q      So this is something that Mr.

15        Genna does for private attorneys and

16        automobile accident cases for the most part?

17                 A      That's correct.

18                 Q      Do you know if he is hired by

19        the Plaintiffs or the Defendants?

20                 A      Either side,      I   assume.

21                 Q      Either side.          Do you advertise

22        under any particular name?

23                 A      No.

24                 Q      How do people get to know

25        to call you guys?



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 1                                          C.   Kosciuk                    13

 2                  A       Word of mouth.

 3                  Q       Word of mouth?

 4                  A       Yes.

 5                  Q       Would we find you in the Yellow

 6        Pages or anything?

 7                  A       No.

 8                  Q       Do you know if it is a

 9        partnership or an incorporated entity?

10                  A       I    can't answer that.

11                  Q       Do you know how much money per

12        year you've been making on this?

13                  A       I would say,         yes,   about $30,000

14        a year.

15                  Q       And are the two of you

16        fifty/fifty partners,            you and Mr.      Genna?

17                  A       No.

18                  Q       What's the percentage?

19                  A       There is no percentage.               I   get

20        paid per case and he takes care of mostly

21        everything else.            He actually pays me.

22                  Q       I    see,   right.     Are you paid by

23        the hour?

24                  A       No,     per case.

25                  Q       How much would you get,              let's



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 1                                         C.   Kosciuk               14

 2        say,   per case?

 3                 A      Just $1500.

 4                 Q      I   see.    Would this involve

 5        responding to the scene of an accident and

 6        actually doing measurements and taking

 7        photographs?        Tell me what you do.

 8                 A      We more or less said i t ' s

 9        respond to the scene,         documenting the scene,

10        photographing the scene,              taking

11       measurements, measuring the crush of the

12        vehicles,    trying to determine the final rest

13        of the vehicles,       and then coming back and

14        reconstructing it,         drawing a scale diagram

15        of the scene,       and then performing a

16        reconstruction to try to determine how the

17        accident happened,         speeds of the accident,

18        and then I    turn all the mathematics and the

19        diagrams over to him.

20                 Q      Right.      Do you actually write

21        reports for him?

22                 A      Do I?      No.

23                 Q      You just tell him or you do

24        this verbally?

25                 A      I do the mathematical portion



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 1                                             C.   Kosciuk                 15

 2        and the diagramming and I turn that all over

 3        to him.

 4                  Q       I    see.     But you wouldn't write

 5        a report saying,           in my judgement this is

 6        what happened at the accident?

 7                  A       I    might not write it,           I might

 8        verbally tell him.

 9                  Q       Just tell him?

10                  A       Yes.

11                  Q       Okay.       And so you've been doing

12        this for how long with Mr.                  Genna?   Since you

13        retired?

14                  A       How long have we been doing it?

15                  Q       Yes.

16                  A       Since 1983.

17                  Q       And you said you retired in

18                  A       2002,       July.

19                  Q       Oh,     I   see.        So from 1983

20        through 2002 you and Mr.                  Genna were doing

21        reconstruction together and testifying?

22                  A       Right.

23                  Q       As private consultants,

24        correct?

25                  A       Yes.



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 1                                       C.   Kosciuk                  16

 2                 Q      And was there anyone else that

 3        worked this entity which,           I   guess,   you're

 4        not sure if it's a public corporation or a

 5        partnership?

 6                 A      Is there anyone else involved?

 7        No,   just he and I.

 8                 Q      Just the two of you.             Do you

 9        have a name for this entity?

10                 A      No,    I    don't have it.

11                 Q      Okay.        Do you know if he does?

12                 A      I   can't answer that.

13                 Q      Now,       during the course of --

14        Since you retired in 2002, Mr.             Genna is

15        still working at Suffolk County,              correct?

16                 A      Yes.

17                 Q      And his position is?

18                 A      Director.

19                 Q      Director of Crime Lab?

20                 A      That's correct.

21                 Q      It's Bob,       right?

22                 A      Bob Genna.

23                 Q      Has he kept you abreast of

24        what's been going on in the Tankleff case,

25        whether i t ' s the post conviction criminal



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 1                                          C.   Kosciuk                   17

 2        proceeding or the civil case?

 3                  A       Not really,          no.

 4                  Q       Okay.       You did,       however,    meet

 5        with the State Investigation Commission?

 6                  A       Yes,     I did.

 7                  Q       Can you tell us about that?

 8                  A       I     just remember them corning to

 9        the house and asking me questions about the

10        case,    yes.    I don't remember how many years

11        ago,    but it was several years ago.

12                  Q       Okay.       You remember ever

13        talking to the attorney general's office

14        other than -- Do you know Mr.                 Tipaldo,     Joe

15        Tipaldo,      the attorney sitting here?

16                          MR.     TIPALDO:       I ' l l stipulate we

17                  never met.

18                  Q       What about Bob Schwerdt from

19        the attorney general's office?

20                  A       The name does not ring a bell.

21                  Q       There were other people from

22        the attorney general's office that were

23        involved ln the case.

24                  A       I     just remember two gentlemen

25        corning to the house.



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 1                                     C.   Kosciuk                  18

 2                 Q      You don't remember if they were

 3        from the attorney general's office or the

 4        State Investigation?

 5                 A      No.

 6                 Q      And they asked you questions,

 7        right?

 8                 A      Yes,    they did.

 9                 Q      I'm going to review that

10        interview with you in a while.

11                 A      Sure.

12                 Q      Did you review that with Mr.

13       Mitchell before you came here to testify?

14                 A      No.

15                 Q      Okay.     We'll review that in a

16        few minutes.

17                        Now,    did you know,    by the way,

18        Jerry Steuerman?

19                 A      No.

20                 Q      Tod Steuerman?

21                 A      No.

22                 Q      Seymour Tankleff?

23                 A      No.

24                 Q      Arlene Tankleff?

25                 A      No.



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 1                                      C.   Kosciuk                  19

 2                  Q       Marty Tankleff?

 3                  A       No.

 4                  Q       Just out of sheer curiosity,

 5        Darcy or Barry Steuerman?

 6                  A       No.

 7                  Q       An individual named Glen

 8        Harris?

 9                  A       No.

10                  Q       Peter Kent?

11                  A       No.

12                  Q       Joey Creedon?

13                  A       No.

14                  Q       Billy Glass?

15                  A       No.

16                  Q       William Glass?

17                  A       No.

18                  Q       Do you recall when you did the

19        crime scene in this case there were people

20        you were told that had attended a card game

21        the night before the murders?

22                          MR. MITCHELL:      I   object to the

23                  form.

24                  Q       The night of the murders,           I

25        should say.



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 1                                      C.   Kosciuk                  20

 2                  A       I don't believe we discussed

 3        anything as far as who was at the house that

 4        night with the crime lab anyway.

 5                  Q       Okay.   Now,     so let's talk a

 6        little bit about have you ever read any

 7        books or articles about this case?

 8                  A       No.

 9                  Q       No?

10                  A       Maybe in Newsday as I was

11        testifying.       Probably back then I did;           since

12        then,    no.

13                  Q       So I guess this matter has not

14        been much concern to you one way or the

15        other?

16                  A       Actually,   in the laboratory

17        once we finish i t ' s hard to follow.

18                  Q       You move on to the next?

19                  A       Exactly,    just move on to the

20        next case.

21                  Q       Could you tell us a little bit

22        about how you first came to work at the

23        Suffolk Police Department and something

24        about your professional history?

25                  A       How did I   come about?



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 1                                       C.   Kosciuk                21

 2                  Q       Yeah.

 3                  A       Actually,     I was going to school

 4        and working at Hazeltien Manufacturing and

 5        studying.        I was actually studying to be a

 6        vocational teacher in mechanical technology

 7        and --        It's a long story-- my

 8        father-in-law ended up buying a deli for his

 9        brother-in-law,        got a   job and had nobody to

10        run the deli and he elected me to run the

11        deli.    As I     was running the deli,       the police

12        officers used to come in and say,             take the

13        test,    take the test.        Even though I wanted

14        to be a teacher,        I   ended up taking the test

15        and going on the job in '67.

16                  Q       When you say going on the

17        job --

18                  A       I   passed the test and was

19        accepted into the academy.

20                  Q       By 1971,     you made detective,

21        right?

22                  A       That's correct.

23                  Q       And so what did you do between

24        1967 and       '71?

25                  A       I was in a patrol in the Second



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 1                                          C.   Kosciuk                  22

 2        Precinct which is the Town of Huntington.

 3                 Q        Then what?

 4                 A        Then in about the end of 1971 I

 5        was assigned to the laboratory.                  And from

 6        there I performed drug analysis for about

 7        four-and-a-half years,             then I was assigned

 8        to a firearms section until about 1983 where

 9        we got a request from the DA's office to

10        start an accident investigation unit and Bob

11        Genna,   and I    did start that unit and ever

12        since then,      from        '83 until I   retired,      I was

13        doing accident reconstruction.

14                          From the first day I was

15        assigned to the crime lab I was going on

16        crime scenes,          which is a separate section of

17        the laboratory.              The members of the

18        laboratory from each section is assigned to

19        be on standby.           We get a time for crime

20        scene analysis and reconstruction if we get

21        calls from Homicide.

22                 Q        You started at the lab when,                 in

23        '71?

24                 A        I   67 •

25                 Q        Oh.



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 1                                      C.   Kosciuk                      23

 2                  A       Oh,   not in the lab.       In the PD,

 3        '67 in the lab,         the end of   '71.

 4                  Q       I thought so.      When you were

 5        working as a patrolman and through your

 6        career,    did you have partners that you

 7        worked with?

 8                  A       As a patrolman,      yes,   I did.

 9                  Q       Do you remember who your

10        partners were,      as best you can remember?

11                  A       I do remember a couple of them.

12        Jerry Castelnetto -- gosh -- O'Hara I

13        remember,     Marty Johs,     that's about it.

14                          I was in that precinct a short

15        time then I was assigned to a police

16        vehicle,      a sector 207,    and that you operate

17        by yourself so you don't have anybody with

18        you.

19                  Q       Okay.    Now,    did you ever work

20        any cases prior to the Tankleff

21        investigation with Detective McCready?

22                  A       I'm sure I did,      yes.

23                  Q       Quite a number?

24                  A       I can't answer the number.               I

25        can't answer that.



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 1                                          C.   Kosciuk                      24

 2                  Q       Right.

 3                  A       I don't know a number.

 4                  Q       Right.       Well,    let's see if

 5        I'm not holding you to any particular

 6        number,   but when did you first,              if you best

 7        can recall,       start dealing with Detective

 8        McCready?

 9                          MR.     MITCHELL:      I object to the

10                  form.        You can answer.

11                  A       I    can't answer that.         I don't

12        know.

13                  Q       Well --

14                  A       I don't even know when he went

15        into Homicide, when he started Homicide.                        I

16        know I was in the lab ahead of him being in

17        Homicide.

18                  Q       Right.       So would it be fair to

19        say that your interactions with Detective

20        McCready began when he was a detective doing

21        homicide cases and you were working at the

22        lab working crime scenes?

23                  A       Repeat that,         please.

24                  Q       Sure.       Would it be fair to say

25        that your relationship with Detective



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 1                                      C.   Kosciuk                  25

 2        McCready began when you were working at the

 3        lab sometime after 1971 and he began doing

 4        homicides?

 5                 A        Yes.

 6                 Q        And so do you remember ever

 7        working with him other than on a homicide

 8        case at a crime scene?

 9                 A        No.

10                 Q        And what about Detective Rein?

11                 A        It would be the same thing.

12        Through Homicide at scenes that would be our

13        relationship.

14                 Q        Detective Doyle?

15                 A        The same.

16                 Q        Detective Pfalzgraf?

17                 A        The same.

18                 Q        You knew them to be homicide

19        detectives?

20                 A        That's correct.

21                 Q        Now,    about when did you first

22        begin to do homicides after you got to the

23        lab in 1971?

24                 A        Oh,    about six months after I

25        got into the laboratory.



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 1                                     C.   Kosciuk                  26

 2                 Q      What would you do when you

 3        responded to a homicide?

 4                 A      I was being trained by other

 5       personnel within the laboratory.

 6                 Q      Who were you being trained by?

 7                 A      At that time,      Lieutenant

 8        Sullivan.     At that time,       I believe he was a

 9        sergeant.     Detective Balanski,        Detective

10       Mike Mahoney.       All the other members that

11       were on the crime scene.           You would be the

12        third person responding.          That's what I was,

13        the third person responding as I was

14        learning.

15                 Q      What about Ira Dubey?

16                 A      At the crime scene?

17                 Q      Did you ever work with him?

18                 A      Yes,    definitely.

19                 Q      When were you working with him?

20                 A      When he came into the

21        laboratory.      He was assigned to the

22        laboratory and then he was also on the crime

23        scenes and yes,        I did work with him.

24                 Q      For about how many years,            if

25        you can recall?



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 1                                      C.    Kosciuk                27

 2                 A       I don't know how many years.

 3                 Q       There came a time that it was

 4        discovered that Mr.        Dubey had not been

 5        truthful about his qualifications;              do you

 6        recall that?

 7                         MR.    MITCHELL:      I   object to the

 8                 form.

 9                         MR.    TIPALDO:     I object.

10                         MR.    MITCHELL:      You can answer.

11                 A       I   do.

12                 Q       And was that a surprise to you?

13                         MR.    MITCHELL:      I   object to the

14                 form.       You can answer.

15                 A       Yes.

16                 Q       Tell me why.

17                         MR.    MITCHELL:      I   object to the

18                 form.       You can answer.

19                 A       Because the understanding that

20        I had was that he was testifying and the

21        defense was calling him "Doctor," but he

22        never corrected it.         And that's about the

23        best I   can -- and then he got into trouble

24        with that.       That's all I       can ...

25                 Q       But in terms of interacting



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 1                                     C.   Kosciuk                   28

 2        with him,    you found him to be a competent

 3        and knowledgeable guy?

 4                 A      Yes.

 5                 Q      Was he,    ln any way,      involved in

 6        mentoring or training you?

 7                 A      No.

 8                 Q      Who was involved in mentoring

 9        or training you with respect to crime scene

10        reconstruction and blood spatter?

11                 A      I mentioned several other

12        people in the laboratory already but outside

13        the lab?

14                 Q      Let's start inside and outside.

15        Tell us all the people that helped train and

16       mentor you in blood spatter analysis and

17        crime scene reconstruction.

18                 A      I sought outside education in

19        that area and that would have been Dr.               Pete

20        Pizzola and Dr.       DeForest who were affiliated

21       with John Jay College of Criminal Justice

22        and also at the Northeast Association of

23        Forensic Scientists where they had crime

24        scene reconstruction courses.

25                 Q      Did you attend classes at John



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 1                                       C.   Kosciuk                    29

 2        Jay?

 3                  A        No,   these were seminars.

 4                  Q        So you would go to seminars

 5        that were being taught by Pete Pizzola and

 6        Peter DeForest?

 7                  A        Right.

 8                  Q        And the Suffolk County would

 9        send you to these seminars?

10                  A        That's right.

11                  Q        About how many a year,           if you

12        recall?       If they were yearly,       I   should not

13        assume.

14                  A        It was not a year.         It was a

15        seminar so i t was like a weekend or a day,

16        so some are completely dedicated to

17        bloodstain pattern analysis.

18                  Q        You mentioned in 1983 was when

19        you first started putting together a

20        reconstruction and crime scene unit with Bob

21        Genna,    right,    you said that?

22                  A        No.

23                  Q        Reconstruction?

24                  A        That was for accident

25        investigation.



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 1                                         C.       Kosciuk                30


 2                 Q      Oh,    I   thought -- I'm sorry.             I

 3        misunderstood you.

 4                 A      There was always a crime scene

 5        investigation unit with the laboratory prior

 6        to me even getting to the laboratory.

 7                 Q      What about reconstruction?                  How

 8        would you define what reconstruction is?

 9                 A      The reconstruction would be the

10        blood spatter analysis,               the documentation of

11        any like,    footprints,        tire tracks and

12        directionality of the movement of vehicles

13        and stuff like that.

14                 Q      And when did you start doing

15        reconstruction at the Suffolk County Crime

16        Lab?

17                 A      Accident reconstruction?

18                 Q      Any kind,        whether i t ' s accident

19        reconstruction or reconstruction of the

20        crime scene.

21                 A      Ab 0 u t   1 973 '    I   74 .

22                 Q      You started what first,             doing

23        accident reconstruction?

24                 A      No,    crime scenes.

25                 Q      What would you start doing in



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 1                                      C.    Kosciuk                 31

 2        '73,   '74?

 3                 A       Identifying evidence,

 4        documenting the evidence,           drawing the scene,

 5        recovering the evidence.

 6                 Q       Other than documenting the

 7        scene,   recovering evidence and drawing it,

 8        right,   is there something else that you

 9        would say is involved in crime scene

10        reconstruction?

11                         MR.    MITCHELL:     I object to the

12                 form.    You can answer.

13                 A       Can you rephrase that?

14                 Q       Sure.     Would you agree with me

15        that in terms of what is known as crime

16        scene reconstruction that part of the job is

17        to attempt to create a hypothesis about how

18        the crime might have occurred?

19                         MR. MITCHELL:        I object the

20                 form.    You can answer.

21                 Q       Is that true?

22                 A       Yes.

23                 Q       And then create a hypothesis

24        and try to test it against the objective

25        facts as you learn them;           fair enough?



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 1                                         C.   Kosciuk                32

 2                 A        True.

 3                 Q        And so you may go to a crime

 4        scene,   you make measurements,            and then

 5        certain items of evidence are sent out for

 6        testing,     correct?

 7                 A        Right.

 8                 Q        And then you see whether or not

 9        you would,     let's say,        identify blood on

10        various items that you recover from a crime

11        scene,   correct?

12                 A        At the scene?

13                 Q        No,    no,    that were recovered

14        from the crime scene.

15                 A        Okay.        Can you rephrase it.

16                 Q        Sure.        In the process of doing

17        reconstruction and creating a hypothesis as

18        to how the crime might have occurred,                 that's

19        an ongoing process;            isn't it?

20                 A        Yes.

21                 Q        And so -- and you correct me

22        where I'm wrong about this in terms of my

23        understanding -- so in your job starting,

24        you said,     in 1973 when you started crime

25        scene reconstruction?



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 1                                      C.   Kosciuk                  33

 2                 A        Yes.

 3                 Q        Part of what would happen is

 4        that you would document the scene,             you would

 5        make measurements,        photograph items as part

 6        of it,   right?

 7                 A        Actually not.      In Suffolk

 8        County the responsibility of the crime

 9        laboratory is to handle the evidence.                 The

10        identification section was responsible,

11        which is another unit run by the police

12        department at that time also,           is to dust,

13        photograph and videotape the scene.

14                 Q        Isn't there an interaction

15        between the people in charge of doing

16        reconstruction,      the homicide detectives at a

17        crime scene,      and the people from the

18        identification unit?          Do they work together?

19                 A        Sure,   i t ' s a team.

20                 Q        And so it would be -- Now,

21        let's just take responding to the crime

22        scene in this case;        do you recall that?

23                 A        Yes.

24                 Q        In terms of working that crime

25        scene        First of all,     as you recall,       who



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 1                                          C.   Kosciuk                   34

 2        was in charge of it when you arrived?

 3                          MR.     MITCHELL:      I object to the

 4                 form.         You can answer.

 5                 A        I     know Detective Sergeant Doyle

 6        was there and I          assume the homicide sergeant

 7        at that time he was.

 8                 Q        What about Detective McCready?

 9                 A        Was he in charge of it?               I

10        can't answer that.

11                 Q        As far as you knew Doyle was in

12        charge of the scene; is that right?

13                 A        As being senior officer,              yes.

14                 Q        You don't know what the

15        relationship is between McCready and Doyle

16        with respect to who was in charge of the

17        overall case?

18                 A        No.

19                 Q        Okay,      but with homicide

20        detective who was in charge of the overall

21        investigation it would be part of the

22        process for him or her to discuss matters

23        with the detective that was in charge of the

24        crime scene?

25                          MR.     MITCHELL:      I object to the



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 1                                       C.   Kosciuk                 35

 2                  form.    You can answer.

 3                  A       I'm sorry,    can you restate

 4        that.

 5                  Q       Here's what I'm trying to get

 6        at.     We were talking about the process of

 7        reconstruction;      you recall that?

 8                  A       Right.

 9                  Q       You were saying that the

10        identification unit is the one that comes in

11        videotapes the scene,         takes photographs,

12        does dusting for prints,            correct?

13                  A       Correct.

14                  Q       Right.     Now,   wouldn't there be

15        an interaction between the homicide

16        detectives in charge of the scene and people

17        such as yourself from the crime lab that

18        were in charge of reconstruction as to what

19        to take pictures of?

20                  A       Actually,    everybody at the

21        scene has input into what to take pictures

22        of.

23                  Q       Thank you.        So the people from

24        the identification unit,            the homicide

25        detectives at the crime scene,            and yourself



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 1                                       C.   Kosciuk                 36

 2        as the

 3                 A        Crime lab.

 4                 Q        -- crime lab reconstruction

 5        person

 6                 A        Yes.

 7                 Q        -- ordinarily would get

 8        together and you would discuss and make

 9        judgments about what different items at a

10        crime scene ought to be photographed;               is

11        that true?

12                 A        Yes.

13                 Q        And how they should be

14        photographed,      correct?

15                 A        No.

16                 Q        Well

17                 A        I have no input on how they

18        should be photographed.

19                 Q        And you did not have any input

20        as to how they should be done in 1988?

21                 A        No.

22                 Q        Wouldn't you agree with me that

23        the way that a photograph is taken of blood

24        spatter at a scene is important for purposes

25        of reconstruction?



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 1                                      C.    Kosciuk                 37

 2                         MR. MITCHELL:        I object to the

 3                 form.     You answer.

 4                 A       Yes.

 5                 Q       Because one of the things that

 6        you were doing in this case,           I take it,         was

 7        trying to reconstruct,        as best you could,

 8        what happened based on the blood spatter

 9        that you would see at the scene,              correct?

10                 A       That's correct.

11                 Q       And part of that analysis is

12        looking at,      let's say,   the blood spatter on

13        the ceiling in the office of Seymour

14        Tankleff;    you recall that?

15                 A       Yes.

16                 Q       That was something that you

17        testified about?

18                 A       Yes.

19                 Q       Now,    in order to take pictures

20        of the bloodstains on the ceiling where Mr.

21        Tankleff was found,        are you telling us that

22        you were not in charge of telling the

23        identification people how those photographs

24        should be taken?

25                         MR.    MITCHELL:     I object to the



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 1                                      C.    Kosciuk                  38

 2                 form.     You can answer.

 3                 Q        I'm just asking if you know?

 4                 A        I did direct them to take

 5        photographs of the ceiling and I placed the

 6        ruler against the ceiling,           but I'm not

 7        looking through the lens so I              don't know

 8        what they are actually capturing.

 9                 Q        Let me ask you more directly.

10        Would it be fair to say that when taking

11        photographs of a bloodstain,              wouldn't it be

12        the best practice to both have a ruler and

13        to take the photograph of the stain from a

14        90-degree angle?

15                          MR.   MITCHELL:     I object to the

16                 form.     You can answer.

17                 A        In my opinion,      yes.

18                 Q        Right.    But that wasn't done

19        with the stains on the ceiling; was it?

20                          MR.   MITCHELL:     I   object to the

21                 form.     You can answer.

22                 A        At the time,      I didn't realize

23        what was actually going to be produced but

24        apparently it was not.

25                 Q        So now,   just out of curiosity,



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 1                                        C.   Kosciuk                  39

 2        at the time,      did you know that the proper

 3        way to take photographs of bloodstains such

 4        as those on the ceiling was to do it at a

 5        90-degree angle?         Did you know that then?

 6                          MR.   MITCHELL:        I object to the

 7                 form.     You can answer.           It's

 8                 assuming that that is correct.                 I

 9                 don't know that he said that's the

10                 correct manner.

11                          MR.   SCHECK:      I   think he did say

12                 yes to that but --

13                          MR.   MITCHELL:        I think he said

14                 not quite as tight.             He can answer

15                 the question.

16                          MR.   SCHECK:      Sure.

17                          MR.   MITCHELL:        Go ahead.

18                 Q        Are you confused at this point?

19                 A        A little bit.

20                 Q        Let me    -   I    know that Mr.

21        Mitchell didn't mean that in an

22        ill-intentioned way so let me just go back.

23                          So the best practice is to take

24        a photograph of a bloodstain from a

25        90-degree angle;        isn't that right?



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 1                                      C.   Kosciuk                  40

 2                 A        Through education,      yes.

 3        Developed that way,         yes.   As time went on,

 4        yes.

 5                 Q        And the reason for that is

 6        you're taking it either -- I'm pointing to

 7        the ceiling here because we're talking about

 8        a ceiling stain.

 9                 A        Normal to the surface.

10                 Q        Normal to the surface because

11        you want to take it a straight up and down

12        shot because that gives you the best

13        opportunity to make a         judgement about the

14        direction of,      let's say,      the tails on the

15        stain or something like that,           correct?

16                 A        Sure.

17                 Q        And so,   what I'm asking,        if you

18        can remember is,       were you aware in 1988 when

19        you worked this crime scene that that was

20        indeed the best practice to take the

21        photographs of the blood spatter from a

22        90-degree angle,       if you can recall?

23                 A        I don't recall plus I don't

24        recall when the photographer was taking it.

25        I   can't picture that in my mind.            The only



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 1                                       C.   Kosciuk                   41

 2        thing I       have is the results that we have

 3        before us.

 4                  Q       Right.     But even in looking --

 5        you just looked at these photographs -- you

 6        would agree with me that               and we'll go

 7        over them later            that the photographs of

 8        the bloodstains on the ceiling they are not

 9        taken from a 90-degree angle?

10                  A       They look like yes,         no,   they

11        were not.

12                          MR. MITCHELL:       I   just object to

13                  the form of your question because

14                  you said he just looked at the

15                  photographs.       There has been no

16                  testimony that he looked at these

17                  photographs that you talked about in

18                  the ceiling.       That's all I'm saying.

19                  You assumed in your question that he

20                  has testified today that he looked

21                  at the photographs of the

22                  bloodstains on the ceiling.               That's

23                  my objection.

24                          MR. SCHECK:       Sure.     I was under

25                  the impression --



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 1                                       C.    Kosciuk                 42

 2                          MR.    MITCHELL:     He very well may

 3                 have.

 4                          MR.    SCHECK:     -- that he

 5                 indicated that he looked at

 6                 photographs with you in preparation

 7                 for his testimony.

 8                          MR.    MITCHELL:     I    guess you're

 9                 assuming.

10                          MR.    SCHECK:     I did ask him

11                 about that one in particular but it

12                 doesn't matter because your

13                 recollection is that the photograph

14                 of the bloodstain on the ceiling was

15                 not taken from a 90-degree angle,

16                 fair enough?

17                 A        Yes,    quite obvious.

18                 Q        And by the way,          and we're going

19        to review them in a second,            but the

20        photographs of the Arlene Tankleff crime

21        scene where her body was found,                right,   there

22        weren't rulers being placed at different

23        places on the sheets near where the body was

24        when those pictures were taken?

25                 A        To the best of my recollection



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 1                                     C.   Kosciuk                   43

 2        there was a ruler.        Our tag has a ruler in

 3        the photos.

 4                 Q      We'll look at some of them and

 5        you'll tell me.

 6                        Now,   just to get back to what

 7        we were talking about,        the seminars that you

 8        would take from Peter Pizzola,           Peter

 9        DeForest,    who else would give them?

10                 A      That was it.       They also gave a

11        crime scene reconstruction seminar.               I   can't

12        remember where it was,        but it was with the

13        Northeast Association of Forensic

14        Scientists.

15                 Q      Is this the Williams Homicide

16        Academy or something different?

17                 A      I'm not familiar with that.

18                 Q      So the Northeast Association of

19        Forensic Scientists would sometimes --

20        that's a voluntary professional association?

21                 A      That's correct.

22                 Q      Criminalists in the --

23                 A      Northeast.

24                 Q      -- in the northeast.         And so,

25        by the way,    would your personnel file have a



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 1                                     C.   Kosciuk                   44

 2        list of all the different seminars you

 3        attended?

 4                 A      Yes.

 5                 Q      And that's something that

 6        should be in there and if they're not in

 7        there

 8                 A      Yes.

 9                 Q      -- in your personnel file of

10        the different seminars that you attended,

11        was that kept in a list anywhere --

12                 A      I have no idea what's in my

13        personnel file.

14                 Q      In the lab,       would a list be

15        kept of the number of different seminars

16        that you attended?

17                 A      They should be,       yes.

18                 Q      And who would keep that?

19                 A      I can't answer that but someone

20        at the laboratory has that file.

21                 Q      Would Bob Genna be the best

22        person to ask about that?

23                 A      Yes.

24                 Q      Now,   so getting back to your

25        understanding of crime scene reconstruction,



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 1                                     C.   Kosciuk                  45

 2        certainly,    and this would be true in 1988,

 3        is that you look at all the evidence that

 4        you can get,     right,    from documenting the

 5        scene and then you try to create hypotheses

 6        of how the crime might have occurred;               fair

 7        enough?

 8                  A     Yes.

 9                  Q     And that hypothesis can be

10        what's        It's a falsifiable hypothesis;              is

11        that true?     You've heard that term before?

12                  A     No.

13                        MR. MITCHELL:       I   object to the

14                  form but he answered.

15                  Q     Well,     as part of reconstruction

16        you have a hypothesis and then you will look

17        at other objective evidence that is derived

18        from testing items that are taken at the

19        scene to see whether the hypotheses are

20        confirmed or not confirmed;          fair enough?

21                  A     Can you give me an example?

22                  Q     Sure.      You may collect an item

23        from a crime scene thinking that it is a

24       murder weapon,      correct?

25                  A     Yes.



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 1                                       C.   Kosciuk                   46

 2                  Q       Based on          And then,   when it's

 3        taken back to the crime lab,            whether it's

 4        let's say a knife,         it would be taken apart

 5        and looked at and tested for the presence of

 6        blood,    correct?

 7                  A       Yes.

 8                  Q       And so that would be objective

 9        evidence that would go towards confirming or

10        not confirming a hypothesis about how the

11        crime occurred?

12                  A       Not really because the knife in

13        question that you take apart might not have

14        had the blood on it.

15                  Q       But that's evidence?

16                  A       But it was the murder weapon.

17                  Q       Right.     That could be then you

18        would have to have an alternative hypothesis

19        about why the blood is no longer on the

20        weapon;       is that right?

21                  A       Okay.

22                  Q       Is that a yes?

23                  A       Yes.

24                  Q       So in terms of reconstruction,

25        as new evidence comes in you have to -- you



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 1                                     C.   Kosciuk                      47

 2        can confirm the hypothesis,          you can refute

 3        the hypothesis,       or sometimes you have to

 4        change the hypothesis; would that be fair

 5        enough?

 6                  A     Okay.    I   think you're going a

 7        little further than -- My reconstruction

 8        deals with just the scene.           After that,          we

 9        really don't get into total reconstruction

10        of the homicide.

11                  Q     Would your part of the

12        reconstruction also deal with looking at,

13        let's say,    weapons recovered from the scene

14        and wounds that were photographed and

15        documented at the time of,          let's say,     an

16        autopsy?

17                  A     No.

18                  Q     Okay.    Now,     what about you

19        recover something from a crime scene that

20        appears to have blood on it and then you do

21        subsequent serology testing to see whether

22        blood is present or not.           Would that be

23        something that might change a hypothesis for

24        the purpose of reconstruction?

25                        MR.   MITCHELL:      I object to the



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 1                                     C.    Kosciuk                   48

 2                  form.     You can answer.

 3                  A       Let me say this.      In the crime

 4        lab in Suffolk County Crime Laboratory,                   it's

 5        composed of say six to seven different

 6        forte.    At that time that we're speaking of

 7        in '88,       I was an accident reconstructionist

 8        although I had expertise in the analysis of

 9        drugs and of firearms.            From about

10        1974-and-a-half to       '83,     I was a firearms

11        expert and that was my dealings in the

12        laboratory plus crime scene reconstruction

13        or crime scene -- let's say

14        reconstruction going out to the scene,

15        recovering the evidence and bringing the

16        evidence back to the laboratory.

17                          If there was firearms involved

18        and I was at the scene,           that would have been

19       my weapon and I would have analyzed the

20        weapon.       Blood trace evidence would all go

21        to different sections within the laboratory

22        and there would be different experts.

23                  Q       In 1988, who,     at the Suffolk

24        County Laboratory,       was the expert in blood

25        spatter analysis?



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 1                                     C.   Kosciuk                    49

 2                 A      I guess it would be Bob Genna

 3        and myself at that time.

 4                 Q      And you testified at the

 5        Tankleff trial about the blood spatter

 6        analysis?

 7                 A      Yes.

 8                 Q      And that the crime scene ln

 9        this case you were the person that was

10        charged with the blood spatter analysis?

11                 A      I don't recall doing a

12        reconstruction at the scene of the blood

13        spatter.

14                 Q      But to your knowledge,            did

15        anyone do that?

16                 A      No,    not to my knowledge.

17                 Q      And subsequent to just working

18        the scene and documenting it,          did anybody

19        look at all the evidence and try to do a

20        reconstruction of the blood spatter?

21                 A      I   looked at the spatter at the

22        Tankleff scene,       at the Tankleff office,              and

23        determined the directionality of the

24        castoff,     if that's what you would call a

25        reconstruction.



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 1                                       C.    Kosciuk                 50

 2                 Q        Is that what you would call

 3        reconstruction?

 4                 A        No,   I   just determine the

 5        directionality of the blows and based on the

 6        stain in the ceiling.

 7                 Q        Would you call that blood

 8        spatter analysis?

 9                 A        I would just call it analysis

10        of the castoff and determine the angles.

11                 Q        Based on all of your learnings

12        in this field now,          would it be fair to say

13        that blood spatter analysis is what is known

14        as crime scene reconstruction?

15                 A        At this time and date,           yes.

16                 Q        In 1988, was blood spatter

17        analysis also known,          to the best of your

18        knowledge,    as part of something that was

19        known as crime scene reconstruction?

20                 A        Not really.        I   know that Dr.

21        Perzola was doing a lot of research as far

22        as the projection of blood and the blood

23        dynamics.     There was a fairly new doctor,

24        Dr.   MacDonell in Connecticut was also doing

25        research in that area.              It was a new field.



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 1                                       C.   Kosciuk                      51

 2        Not until about 1997 did the reconstruction

 3        field and bloodstain pattern analysis

 4        develop.

 5                 Q        As far as you're concerned?

 6                 A        Well,    yeah,    as far as I'm

 7        concerned.

 8                 Q        Now,    you mentioned Dr.        Herbert

 9        MacDonell.       Are you familiar with his book

10        Flight Characteristics of Bloodstain

11        Evidence?

12                 A        Yes.

13                 Q        Did you read that book?

14                 A        I did.

15                 Q        When did you read that book?

16                 A        When we started getting

17        involved in bloodstain patterning.

18                 Q        So that would be when?

19                 A        Sometime in the seventies.                I

20        don't remember what date.

21                 Q        That book was published in

22        1975,   right?

23                 A        Yes.

24                 Q        Have you ever gone into the lab

25        and created blood spatter yourself?



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 1                                      C.   Kosciuk                  52

 2                 A        Yes.

 3                 Q        And tell us about that.

 4                 A        I've done at the crime lab high

 5        velocity blood spatter looking at both the

 6        projected blood and the blow back from a

 7       muzzle,    muzzle to garment distance

 8        determination,      the size of the caliber to

 9        the blood spatter analysis,          both the

10        projected blood and the blow back.

11                 Q        When did you --

12                 A        -- the velocity.

13                 Q        When and where did you do that

14        yourself?

15                 A        In the crime laboratory.

16                 Q        Would you do that -        Do you

17        remember the first time you did that?

18                 A        You're asking for a date?

19                 Q        Yeah.   What period of time were

20        you doing that?

21                 A        Probably around when we were

22        attending those courses.

23                 Q        So that would be when?

24                 A        In the early -- I      guess it was

25        early eighties or early seventies,             somewhere



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 1                                         C.    Kosciuk                   53

 2        in there.     I   can't exactly remember.

 3                 Q        So,    in other words,           you went in

 4        the lab yourself and would fire weapons and

 5        create high velocity blood spatter?

 6                 A        Yes.

 7                 Q        Using what?          Animals?

 8                 A        Hand guns.          Oh,   yes.

 9                 Q        Pigs?

10                 A        Oh,    no,   no.     Sponges no live

11        animals.     Sometimes we used horse blood as

12        the liquid agent.

13                 Q        And when you say "we," i t ' s

14        yourself and Bob Genna?

15                 A        Well,    Bob was involved ln some

16        of -- The testing,         because I was in

17        firearms,    I dealt with that.              I   can't recall

18        if Bob was there or not at the time.                    We did

19        do testing at the lab,           shoe prints and

20        blood,   we did some of that.

21                 Q        When you say "we," if you can

22        tell me who else besides yourself.

23                 A        Probably Bob Genna and myself

24        and some of the people from the trace

25        evidence section.



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 1                                         C.   Kosciuk              54

 2                  Q       Do you remember who that might

 3        be?

 4                  A       Don Dolan I believe at that

 5        time.

 6                  Q       Now,    can you define blood from

 7        the perspective of a blood pattern analyst?

 8                          Does that question make any

 9        sense to you?

10                  A       No.     Can you rephrase that.

11                  Q       Sure.       I mean are you familiar

12        with how blood spatter experts would define

13        blood?

14                  A       Not really.

15                  Q       Have you ever heard a

16        definition of a non-Newtonian viscoelastic

17        fluid?        Have you ever heard that kind of

18        phrase?

19                  A       Yes,    I   did.

20                  Q       That the blood would be -- you

21        would be studying the behavior of blood as

22        fluid;    how it responds to different forces;

23        fair enough?

24                  A       Yes.

25                  Q       And does it have more or less



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 1                                       C.    K   sciuk                 55

 2        energy than a drop of water or a drop of

 3        milk;    do you know,      blood?

 4                  A       More or less energy?

 5                  Q       Yes.

 6                  A       Is it being propelled?              I can't

 7        answer your question because I                don't

 8        understand it.

 9                  Q       Well,    in terms of the

10        properties of blood and when i t ' s being

11        propelled,    all right,      does it have more or

12        less energy than let's say a drop of water;

13        do you know?

14                  A       I would say of the same volume

15        the blood would have the more energy.

16                  Q       What about milk?

17                  A       I don't know the density of

18        milk compared to blood.

19                  Q       Would part of the blood spatter

20        analysis have to do with coagulation of

21        blood?

22                          MR.    MITCHELL:       I   object to the

23                  form.    You can answer.

24                  A       Would blood spatter analysis --

25                  Q       Yes.



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 1                                         c . Kosciuk               56

 2                 A       Yes.

 3                 Q       And drying?

 4                 A       Yes.

 5                 Q       And changes over time?

 6                 A       Yes.

 7                 Q       Okay.     And can you distinguish

 8        for us between a swipe,           a wipe and a smear?

 9                 A       At this time,       no.    I would be

10        guessing.

11                 Q       You recognize those as terms

12        that are used in blood spatter analysis?

13                 A       Yes,    I do.

14                 Q       Okay.     Now,    I think you

15        reviewed your testimony here at the trial,

16        right?

17                 A       Parts of it,       yes.

18                 Q       And did you review the part

19        where you were talking about low velocity

20        blood spatter, medium velocity blood spatter

21        and high velocity blood spatter?

22                         MR. MITCHELL:         I   object to the

23                 form.

24                 A       I don't remember reviewing it.

25                 Q       Okay.     How would you define low



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 1                                       c.    Kosciuk                57

 2        velocity blood spatter?

 3                  A       If my memory serves me

 4        correctly, below 5 feet per second would be

 5        low velocity or the force of gravity.

 6        Medium would be from 5 to about 25 feet per

 7        second,   and high velocity would be about or

 8        somewhere in the area of over 100 feet per

 9        second.

10                  Q       Would it be fair to say that

11        medium velocity blood spatter is caused by

12        the affect of blunt instruments?

13                          MR.    MITCHELL:     I   object to the

14                  form.    You can answer.

15                  A       Can you rephrase the question?

16                  Q       Can you describe the -- Would

17        you expect to see medium velocity blood

18        spatter being caused by the affect of blunt

19        instruments on a blood source?

20                  A       Yes.

21                  Q       And that's the kind of thing

22        that you were analyzing in 1988 when you

23        went to crime scenes?

24                  A       Yes.

25                  Q       You would be looking for medium



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 1                                       C.    Kosciuk                58

 2        velocity blood spatter,             yes?

 3                  A       Yes.

 4                  Q       And you would be -- And if you

 5        saw it,    you would be creating hypotheses for

 6        reconstructing purposes about the

 7        possibility of a blunt instrument being used

 8        against a blood source at a scene?

 9                          Is that a confusing question

10        for you?

11                  A       Other questions are coming to

12       my mind.       If I only saw medium spatter blood

13        would I    rule out any other instrument or a

14        blunt instrument,         is that what you're asking

15       me?

16                  Q       No,    but I ' l l get back to that.

17        We can look at your testimony at 1651,                line

18        14,   I ' l l read you the question and answer

19        and see if this helps you.

20                          "Q.     You say that the high

21                  velocity spatter is consistent with

22                  gunshots.       The medium velocity and

23                  lower velocity spatter to which

24                  you're referring to,             what type of

25                  motion or injuries cause that type



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 1                                          C.   Kosciuk                  59

 2                 of spatter?

 3                          A.      That type of spatter can be

 4                 caused by blunt instruments."

 5                 A        Right, medium and low.               You

 6        said before only medium.               But even

 7        There's a point where with a blunt

 8        instrument that you can actually cause or

 9        slide into the higher velocity area.                     It

10        would fall out of a medium velocity.

11                          In other words,         the bloodstain

12        pattern or the bloodstain -- there could be

13        individual patterns that are much smaller

14        than like 4 millimeters which would fall

15        into the medium velocity range.

16                 Q        Now,     getting back to your work

17        in 1988 in the Tankleff crime scene,                   do you

18        recall when you got there?

19                 A        That morning,         yes.

20                 Q        About when?

21                 A        Shortly after 8 o'clock.

22                 Q        And by the way,         how do you know

23        that?

24                 A        I    remembered because I

25        responded from home.



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 1                                      C.    Kosciuk                 60

 2                 Q      And when you got there,            tell us

 3        what happened as best you can recall?

 4                 A        What happened what?

 5                 Q      What you did and what you

 6        recall seeing?

 7                 A        I went to the scene and I got

 8        there about 8 o'clock.             Detective McCready

 9        was there and I         sat and waited for the rest

10        of the crime scene to respond.                I checked in

11        with the officer at the blocked-off Tankleff

12        driveway.

13                 Q        When you say Detective McCready

14        was there, where exactly did you meet him?

15                 A        I can't answer that.          I don't

16        remember exactly where I met him.                Did he

17        come to me; did I         go to him?     I can't

18        remember.

19                 Q        When you encountered him,          did

20        he tell you that he had done a walk-through

21        of the crime scene yet?

22                 A        No.

23                 Q        Do you know if he had done a

24        walk-through of the crime scene yet?

25                 A        No.




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 1                                        C.   Kosciuk                   61

 2                 Q        Subsequent to that what,            if

 3        anything,    did he tell you about the crime

 4        scene as best you can recall?

 5                 A        Other than Mr.         Tankleff was

 6        removed,     and that there was a victim in one

 7        of the bedrooms.

 8                 Q        To the best of your

 9        recollection,      what happened next after you

10        spoke to Detective McCready and he told you

11        that Seymour Tankleff had been removed and

12        there was another victim in the bedroom?

13                 A        Well,   after speaking to him he

14        went about his business.             I   sat in my car

15        and waited for the crime laboratory to

16        respond,     and then we had to wait for the

17        identification section to respond

18        coordinating with,        I    guess,    Detective

19        Sergeant Doyle,      how we would go about

20        handling the scene.

21                 Q        Was Doyle there when you got

22        there?

23                 A        Not to my knowledge.          I don't

24        know where he was at that time.

25                 Q        Okay.       When you said McCready



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 1                                          c.   Kosciuk                   62

 2        went about his business,               what do you mean by

 3        that?

 4                 A        Well,      I waited in my car.           I

 5        don't know what he did after that.

 6                 Q        So you don't know if he then

 7        walked through the crime scene?

 8                 A        No.

 9                 Q        Did you ever learn from him

10        that he had walked through the crime scene?

11                 A        I    assume -- Well,       no,   I did

12        not.

13                 Q        When you say you assume,              did he

14        ever -- Obviously,           when you first arrived

15        there he told you what was inside,                 right?

16                 A        Right.

17                 Q        And did there come another time

18        when he told you or anyone else any

19        hypothesis or theories he had about what

20        might have happened?

21                 A        No.

22                          MR.     SCHECK:      I'm told that

23                 there is five minutes left on this

24                 tape.

25                          THE VIDEOGRAPHER:           Yes.



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 1                                            C.   Kosciuk                 63

 2                          MR.     SCHECK:        And then right

 3                 after that we'll take a short break.

 4                 Q        So you were saying before that

 5        you had worked cases before the Tankleff

 6        matter with Detective McCready?

 7                 A        I    know I've worked cases with

 8        Detective McCready.             I   don't know if they

 9        were before or after.               I    don't even remember

10        when he came into Homicide.                    But if he was

11        in Homicide and he had a homicide and called

12        the laboratory and I            was on call,        yes,   I

13        did.

14                 Q        Other than this case,             do you

15        remember any particular case that you worked

16        with McCready?

17                 A        No.      I   can't recall.

18                 Q        Are you familiar with,               as of

19        1988 and the time you arrived at the

20        Tankleff crime scene,               Detective McCready's

21        reputation as a homicide detective?

22                          MR.     MITCHELL:        I   object to the

23                 form.         You answer.

24                 A        Can you repeat.

25                 Q        Were you familiar with his



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 1                                      C.   Kosciuk                  64

 2        reputation,      let's say,   among your colleagues

 3        at the crime lab as a homicide detective?

 4                 A       Not really.

 5                 Q       Was he regarded as a

 6        knowledgeable homicide detective?

 7                 A       In my book,       yes.

 8                 Q       Somebody that -- A

 9        knowledgeable homicide detective would have

10        a working knowledge of blood spatter?

11                         MR.   MITCHELL:      I   object to the

12                 form.

13                 A       That would depend on the

14        individual.

15                 Q       Well,   what about McCready?

16                         MR. MITCHELL:        I   object to the

17                 form.

18                 A       I   don't know.

19                 Q       You never discussed blood

20        spatter to the best of your recollection

21        with McCready?

22                 A       No.

23                 Q       In this case or any other case?

24                 A       McCready or anybody,         any other

25        detective?



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 1                                      c.   Kosciuk                  65

 2                 Q        Yeah.

 3                 A        At any time?

 4                 Q        Yeah.

 5                 A        I guess I must have,       sure.

 6                 Q        Well,    I think you told us

 7        before that at this crime scene and at other

 8        crime scenes what would happen is that the

 9        people from the crime lab and the homicide

10        detectives would get together and discuss

11        what should be photographed and discuss how

12        the crime scene should be handled,             correct?

13                 A        No,   I never said that.

14                 Q        Didn't you say before that

15        there was some discussion that people had as

16        to what should be photographed and to try

17        and come up with a reconstruction of what

18        happened?

19                 A        No.     Each individual at the

20        scene would request ID to take the

21        photographs that they need.            If a homicide

22        detective wanted a photograph of this,                I

23        would say take this,         take that.      I would

24        tell them I want the ceiling shot,             I want

25        this shot,    I want that shot.



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 1                                      C.   Kosciuk                   66

 2                 Q        But when discussion was had

 3        about what shot should be taken,             I   think you

 4        told us before,         I may be wrong,    that there

 5        would be interchange between the homicide

 6        detectives and yourself as the blood spatter

 7        expert from the lab about why certain shots

 8        should be taken.         There would be an

 9        interchange,      a discussion about why people

10        were asking that certain things be

11        documented at the scene?

12                          MR. MITCHELL:      I   object to the

13                 form.     You can answer.

14                 A        In my opinion,     i t ' s quite

15        obvious if I      have a piece of evidence and I

16        have a tag there I        want that evidence

17        documented with a photograph.

18                          MR.   SCHECK:    We'll take a break

19                 now.

20                          THE VIDEOGRAPHER:        Off the

21                 record at 11:15 a.m.

22                          (At this time,     a brief recess

23                 was taken.)

24                          THE VIDEOGRAPHER:        We're back

25                 on the record at 11:40 a.m.               This is



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 1                                         C.    Kosciuk               67

 2                  the beginning of Disk 2.               You may

 3                  proceed.

 4                  Q     So let's get back to

 5        September 7,     1988.      I    think where we left

 6        off is that you had arrived at the crime

 7        scene at about 8:00,            you saw McCready but

 8        you were waiting in your car for people from

 9        the identification unit to arrive;                is that

10        right?

11                  A     My people and identification

12        people.

13                  Q     And you said McCready had gone

14        off to do his business,               correct?

15                  A     Right.

16                  Q     Mr.   Tankleff is now in the room

17        at this point;       do you see him?

18                  A     I do recognize him.              I don't

19        have my long-distance glasses.

20                  Q     Did you see him there that day

21        when you arrived?

22                  A     Early in the morning at

23        one point,    yes,    I   did.

24                  Q     When you say McCready went off

25        to do his business,         I    could show you in his



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 1                                          C.   Kosciuk                    68

 2        deposition where he indicates that he made

 3        two walk-throughs of the crime scene.

 4                 A        Okay.

 5                 Q        Does that refresh your

 6        recollection,          in any way,     of McCready

 7        telling you that he had walked through this

 8        crime scene?

 9                          MR. MITCHELL:             I   object to the

10                 form.         You can answer.

11                 Q        Any recollection of that?

12                 A        I    don't know.          Did he do it by

13        himself?     Did he say I did it with him?

14                 Q        No,     no,   he personally did it.

15                 A        I don't know.

16                 Q        That's the question I'm trying

17        to ask you.

18                 A        I don't know what he's calling

19        the walk-through neither.               I       know what I

20        call the walk-through.

21                 Q        What do you call the

22        walk-through?

23                 A        Where Sergeant Doyle, myself,

24        and Sergeant Fini from the Identification

25        Section led by me we entered through the



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 1                                     C.   Kosciuk                  69

 2        front door and I      cleared a path first to

 3        Mrs.   Tankleff's room and then down across

 4        the house through the office area so that

 5        way ID can photograph and video of the

 6        scene.

 7                 Q      Let's just take it in order as

 8        best you recall.        So you don't know what

 9        McCready did when he left to "do his

10        business" and you were waiting in the car;

11        is that correct?

12                 A      That's correct.

13                 Q      Okay.    So what's the next thing

14        that you remember doing?

15                 A      With McCready?

16                 Q      No,   yourself.     I have you in

17        the car?

18                 A      I waited in the car and prior

19        to Laboratory and Identification Section

20        walk and Homicide walking through prepping

21        the scene for the Identification Section

22        McCready and I walked the perimeter of the

23        backyard.

24                        There was grass -- There was a

25        dewy situation so by walking the perimeter



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 1                                       C.   Kosciuk                  70

 2        of the backyard we eliminated any footwear

 3        or tracks leading away from the house which

 4        immediately would show in the dew as ours

 5        did.

 6                 Q        All right.        And you did this

 7        walk-through around when?

 8                          MR.   MITCHELL:      The walk around

 9                 the house,       you mean?

10                          MR.   SCHECK:      Yes.

11                 A        That morning.

12                 Q        But you arrived at 8:00?

13                 A        I don't have a time.          I   can't

14        recall what time that was.             I    just remember

15        doing that.

16                 Q        Okay.    But if it helps,         you

17        began your walk through of the house at

18        around 9:30?

19                 A        That's right it would be before

20        that.

21                 Q        So about just a few minutes

22        before that you would say?

23                 A        I don't remember exactly.

24                 Q        So when you did this walk

25        around the house with McCready,               did he share



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 1                                     C.    Kosciuk                 71

 2        with you at that time any of his

 3        observations about what was inside the

 4        house?

 5                 A      No.

 6                 Q      Did he talk with you about his

 7        suspicions that Mr.       Tankleff might have

 8        killed his parents?

 9                 A      No.

10                 Q      Did he ever share with you that

11        one of his suspects right away was Mr.

12        Tankleff?

13                 A      No.

14                 Q      He never said anything like

15        that to you?

16                 A      No.

17                 Q      So you did the walk-through and

18        McCready never expressed any suspicions to

19        you about Mr.     Tankleff,       correct?

20                 A      That's correct.

21                 Q      And he never told you anything

22        about what you were going to find inside the

23        house?

24                 A      McCready,     I   don't believe so.

25        Sergeant Doyle advised us that Mrs.               Tankleff



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 1                                      C.   Kosciuk                  72

 2        was still in the house.

 3                 Q        When did Doyle arrive at the

 4        scene to the best of your recollection?

 5                 A        I don't remember.       You would

 6        have to check the log.

 7                 Q        Okay.   So you remember doing

 8        this walk around the house with McCready,

 9        then what happened next?

10                 A        Then I waited.

11                 Q        Tell us everything you can

12        remember from that morning in the order in

13        which it happened.

14                 A        I waited for the Identification

15        Section and the rest of the lab personnel.

16                 Q        Just if you can name them that

17        would be helpful?

18                 A        I thought we did that already.

19                 Q        Keep on doing it.

20                 A        Okay.   It was Robert Baumann,

21        the serologist,      forensic scientist from the

22        crime lab and forensic scientist George Reif

23        from the crime lab.         That was the crime

24        scene team that day.         And then from ID was

25        Sergeant Fini,      Detective Schaefer and



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 1                                       C.   Kosciuk                      73

 2        Detective Mongan,          I believe it is.

 3                 Q        So they all arrived?

 4                 A        Right.

 5                 Q        Then what happened?

 6                 A        And then at 9:30 with Sergeant

 7        Doyle we entered through the front door.

 8        I'm clearing the way into the bedroom.                     I

 9        told them don't go any further than about

10        four feet into the master bedroom.

11                 Q        Now,    when you are assembling

12        this team to do this,          this is your

13        walk-through,      right?

14                 A        Yes.

15                 Q        It's your walk-through,

16        correct?

17                 A        Yes.

18                 Q        What did Sergeant Doyle,          at

19        this point,      tell you,     if anything,    about

20        whether Mr.      Tankleff was a suspect or

21        anything that he and/or McCready were

22        thinking about how this crime might have

23        occurred?

24                          MR.    TIPALDO:    Objection to

25                 form.



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 1                                          C.   Kosciuk                   74

 2                  A       Not to my knowledge,               never

 3        discussed it.

 4                  Q       Nothing was ever discussed like

 5        that?

 6                  A       No.

 7                  Q       Did you learn between the time

 8        you arrived at 8 o'clock and the time you

 9        were doing the first walk-through at 9:30

10        that Martin Tankleff himself had said that

11        he believed that Jerry Steuerman was

12        responsible for this murder?

13                  A       I    can't answer that.             I don't

14        remember if that ever came up.                   I   know the

15        name Steuerman came up sometime during the

16        day,    but I don't know what time.

17                  Q       Do you remember being told

18        before you made this walk-through that there

19        had been a card game the night before?

20                  A       Yes,      I think so.      Yes.

21                  Q       That would be relevant to your

22        evaluation of the crime scene?

23                  A       Yes,     but exactly what time I'm

24        not sure.     My purpose at that time was to

25        clear a path for the Identification Section



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 1                                           C.    Kosciuk                 75

 2        so they would not trample any physical

 3        evidence while they do the video of the

 4        scene and then still of the scene to

 5        document it as we find it at that time.

 6                 Q         Had Doyle,       to your knowledge,

 7        been through the scene before you were doing

 8        this walk-through at 9:30?

 9                 A         I    can't answer that.         I don't

10        know.

11                 Q         Okay.       So tell us what you all

12        did.

13                 A         That's what we did.

14                 Q         You started by saying going

15        into the master bedroom.

16                 A         Right.       We entered through the

17        foyer.    We went down the hall east.

18                 Q         You're pointing here --

19                 A         Well,      I'm not pointing I was

20        just

21                 Q         I thought -- I'm sorry.

22        Exhibit 1 is the model,                 right?

23                 A         Right.

24                 Q         Now,      can you show us on this

25        model.       I   think it says Plaintiff's



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 1                                       C.    Kosciuk                  76

 2        Exhibit 1 the right-hand corner,               right?

 3                 A        Yes.

 4                 Q        And in the far left of the

 5        picture that is the master bedroom where

 6        Arlene Tankleff's body was,            correct?

 7                 A        Yes.

 8                 Q        All right.        So could you --

 9                 A        You want me to hold it up to

10        the camera?

11                 Q        Yes,    I ' l l try to --

12                 A        I ' l l try to do it backwards.

13                          MR.    SCHECK:     Can you get him

14                 tight on that?            I don't know.

15                          THE VIDEOGRAPHER:           Yes.

16                 A        We entered through the front

17        door.

18                          MR.    SCHECK:     Can you see that?

19                          THE VIDEOGRAPHER:           You have to

20                 hold it up.

21                 A        Then I    can't see.

22                          THE VIDEOGRAPHER:           Just for a

23                 couple of seconds.

24                 A        We went through the front door.

25        We went down the hallway and we looked into



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 1                                     C.   Kosciuk                  77

 2        the master bedroom which is in white.                 They

 3        went up as far as approximately four feet ln

 4        and I   said,   stop there.       Don't go any

 5        further into the room until we can clear a

 6        path later on.       Then we pulled out,          we went

 7        through the dining room and over to the

 8        office area which is way over here.                We cut

 9        through here,     the hallway      (indicating).

10                 Q      Did you go through the kitchen

11        at that time?

12                 A      We might have gone through the

13        living room and the kitchen              I    can't

14        remember exactly now -- and came out -- We

15        were heading towards the office area.                 It's

16        hard to see the hallways here,           but I believe

17        we did do something like that.               Come down

18        this hallway and then you can cut through

19        here where the red carpet is and enter the

20        office area.

21                 Q      And the office area is where

22        Mr.   Tankleff's body was?

23                 A      That is correct.

24                 Q      Now,   you had already been told

25        where the bodies were,        correct?



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 1                                      C.   Kosciuk                 78

 2                 A       I believe Sergeant Doyle had

 3        known that,      yes.

 4                 Q       Because Sergeant Doyle was

 5        telling you where to go first and where to

 6        go second,    correct?

 7                 A       Yes.     I guess we knew that.

 8        Well,   he did say that she was in the master

 9        bedroom but we ended up going towards the

10        master bedroom and he would probably have

11        directed us that way.

12                 Q       And you don't remember anything

13        that Doyle told you about whether he had

14        suspicions at that time that Mr.             Tankleff

15        might have committed this crime?

16                 A       No.

17                         MR.    TIPALDO:    Objection to

18                 form.

19                 Q       Were you aware that Mr.

20        Tankleff,    Marty Tankleff,       was going to be

21        taken in for questioning?

22                         MR. MITCHELL:       I object to the

23                 form.     You can answer.

24                 A       No.

25                 Q       But you did become aware at



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 1                                          C.   Kosciuk                  79

 2        some point in time that he had been brought

 3        in for questioning and that he had given a

 4        confession?

 5                          MR.     MITCHELL:      I   object to the

 6                  form.        You can answer.

 7                  A       I'm trying to think.            I think

 8        late,    late that evening I did find out that

 9        they placed him under arrest.

10                  Q       While we're getting these

11        notes,    so you went through and did this

12        first walk-through,            correct?

13                  A       Yes.

14                  Q       And you said you only went a

15        few feet into the master bedroom,                 correct?

16                  A       Correct.

17                  Q       But you were able to see the

18        body of Arlene Tankleff?

19                  A       No.

20                  Q       Were you able to see the bed?

21                  A       I    could see the bed and I

22        believe you could see her head.

23                  Q       Okay.       And then,      you took the

24        path you described and went into the office,

25        correct?



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 1                                     C.    Kosciuk                  80

 2                 A      Correct.

 3                 Q      What did you do next?

 4                 A      Then we all backed out of the

 5        house and we allowed ID to do the video and

 6        all the stills of the house which they did

 7        and completed about 2 o'clock.

 8                 Q      Okay.     Now,    at this point in

 9        time,   was Detective Doyle,        to the best of

10        your understanding,        the detective that was

11        in charge of this crime scene,           homicide

12        detective?

13                 A      He was the sergeant I was

14        dealing with,     yes.

15                 Q      All right.        And now I'm going

16        to mark as Exhibit 2 for identification

17        here,   steno book notes from Detective Doyle

18       which would be SCDA 2699 through 2715.

19                         (Whereupon,      Plaintiff's Exhibit

20                 2 was marked for identification.)

21                        MR.    MITCHELL:     Sure.

22                 Q      Now,     would it be fair to say

23        that while at the crime scene,           as the

24        homicide detective on the scene,             Doyle had

25        a -- it would be standard practice to have



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 1                                          C.   Kosciuk                   81

 2        the steno book and to write contemporaneous

 3        notes about what was happening when it was

 4        happening,       correct?

 5                  A       Yes.

 6                  Q       That was the normal way it

 7        worked,       correct?

 8                  A       Yes.

 9                  Q       That would be the

10        responsibility of Doyle at this particular

11        crime scene as you understood it?

12                  A       I don't know what his

13        responsibilities were at that crime scene.

14        He was the supervising sergeant.

15                  Q       Right.       And as far as you know

16        on the homicide detective side,                he was the

17        person that I think your termed you were

18        working with,         correct?

19                  A       Yes.

20                  Q       Right.       And so --

21                  A       One of the homicide personnel

22        present.

23                  Q       Well,      who else?

24                  A       I    stated that before.             There

25        was Detective Legazza,             Detective Anderson,



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 1                                       C.    Kosciuk                82

 2        Detective Pfalzgraf at that time,              I believe,

 3        and Detective Bonds.

 4                 Q        Right.     But as far as you knew

 5        it was Doyle who was the person that seemed

 6        to be in charge from the Homicide point of

 7        view of the crime scene,            the person you were

 8        working with?

 9                          MR.    MITCHELL:     I   object to the

10                 form.     You can answer.

11                 Q        I think you just told us that;

12        didn't you?

13                 A        We work with all of them but he

14        was the senior homicide detective.

15                 Q        So it would be fair to say that

16        he was the person that you were taking

17        direction from in terms of homicide?

18                 A        No,    we take direction from all

19        the Homicide personnel.

20                 Q        He was the senior guy on the

21        scene?

22                 A        Yes.

23                 Q        Now,    I ' l l ask you to turn to

24        Page 2713.

25                 A        (Complying.)



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 1                                      C.    Kosciuk                83

 2                  Q      And you see that he has a note

 3        at the top of this page.            "Per McCready

 4        12:28."       Do you see that?

 5                  A      Yes.

 6                  Q      And it reads,       "Martin Tankleff

 7        confessed then cut         (underlined) mother's

 8        throat,   cut father's throat with the knife

 9        that's near the watermelon in the kitchen,"

10        (and knife is underlined and near the

11        watermelon in the kitchen is underlined)

12        right?

13                  A      Yes.

14                  Q      "Did mother first,       hit him with

15        a,"   (and then it says,      it appears to be a

16        barbell crossed out)        and then it says,        "the

17        bar part of a dumbbell         (underlined),      it is

18        in his room.       He was nude,       (underlined.)

19        Said he took a shower in the --

20                         MR.    MITCHELL:     Bath.

21                  Q            hall bath near his room."

22        You see that?

23                  A      Got it.

24                  Q      And then it has with an

25        asterisk and underlined "check the traps!"



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 1                                          C.    Kosciuk                    84

 2                  A       Yes.

 3                  Q       And it says,          "check the

 4        toilets."       Toilets underlined.            "Says he

 5        washed everything off in the shower."                     And

 6        then there is an arrow towards that line,

 7        the shower,      and then it says,           "hall bath.

 8        He called 911 from his mother's phone

 9        (mother is underlined) .                "Look for blood on

10        phone."       And then at the bottom it says,                  a

11        line going to mother's it says,                "her

12        bedroom," correct?

13                  A       Yes.

14                  Q       And then if you go -- It's

15        double-sided and i t says,               "confessed as of

16        11:56.     Will start written after they get

17        photo," and then there is an asterisk,                    "has

18        blood on his shoulder."                 Next it says,     "Will

19        probably go on video."                 And then it has,

20        "One.     Linen closet.          Two.      Marty's bedroom

21        for blood and dumbbell.                 Talk to Jabo."         Who

22        is Jabo?

23                  A       I    don't know.

24                  Q       You remember a district

25        attorney named Jabo being around there or



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 1                                       C.    Kosciuk                 85

 2        involved?     You ever hear of him?

 3                 A        No.

 4                 Q        "Garage doorknob" is number

 5        three.    Number four,       "list on refrigerator"

 6        and number five,         "knife near watermelon;"

 7        you see that?

 8                 A        Yes.

 9                 Q        Now,    having looked at this --

10                          MR.    MITCHELL:     Barry,   you did

11                 misspeak regarding you said also

12                 check you said the toilets.               It's my

13                 impression that word says towels.

14                          MR.    SCHECK:     Towels.    I take

15                 your correction.            Thank you very

16                 much.

17                          MR.    MITCHELL:     Okay.

18                 Q        Does this refresh your

19        recollection that sometime around 12:28 on

20        September 7,      1988 you were informed by

21        Detective Doyle or one of the other

22        detectives that Mr.         Tankleff had confessed

23        and there were certain -- and these details

24        that I have gone over with you were part of

25        his confession?



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 1                                      C.   Kosciuk                   86

 2                         MR.   MITCHELL:         I object to the

 3                 form.

 4                         MR.   TIPALDO:      I    join.

 5                 A       No.

 6                 Q       You don't remember?

 7                         MR.   TIPALDO:     Objection.

 8                 A       First of all,       I   don't know

 9       where Sergeant Doyle is when he's writing

10       these notes.        I don't even know if he's at

11       the scene.        I don't know where he is.

12                 Q       Well,   you see here that these

13       notes are at 12:28?          I'm asking you?

14                 A       Yeah,   but I     know there was no

15       phones used in the house.

16                         MR. MITCHELL:           Detective,   he is

17                 just asking if it refreshes your

18                 recollection,      his question.

19                 A       Repeat the question.

20                 Q       Does it refresh your

21       recollection that sometime around 12:28 you

22       heard from Sergeant Doyle or any other

23       detective at the crime scene that Mr.

24       Tankleff had given a confession and that

25       requests were being made to check certain



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 1                                       C.   Kosciuk                87

 2       evidentiary items in the house,               right,   given

 3       what he said in his confession?

 4                 A       I don't remember any of that.

 5       I don't remember finding out until later on

 6       that day Friday evening that these items

 7       were involved.          And I   can't remember if Mr.

 8       Tankleff or anybody told me that he

 9       confessed.

10                 Q       Well,   so you're --

11                 A       That would be dealing more with

12       Homicide and I don't know if they would

13       advise us of that as we're proceeding

14       through the scene processing it.

15                 Q       Wouldn't it be part of the

16       ordinary course of business when

17       investigating a homicide case for you as the

18       person in the crime lab that was doing

19       reconstruction and blood spatter analysis in

20       1988 to be informed by the homicide

21       detectives as to their hypothesis about how

22       the crime might have happened?

23                         MR. MITCHELL:           I object to the

24                 form.    You can answer.

25                         MR.   TIPALDO:      I    join.



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 1                                          C.   Kosciuk               88

 2                  A       I guess that would depend on

 3        the detective.          A lot of homicides we're not

 4        told everything,         no.

 5                  Q       You know that Mr.         Tankleff gave

 6        a confession that was written down to

 7        Sergeant McCready at around 11:00 that

 8        morning?

 9                 A        No.

10                 Q        Well,    you recall that you were

11        directed during the day by Detective Barnes,

12        the scene detective,            to check particular

13        areas within the house?

14                 A        Yes.

15                 Q        Tell us how and when that

16        happened?

17                 A        That evening late after we are

18        finished and just before we responded back

19        to the lab,     so it would have been somewhere

20        around 8:00 to 8:30 that evening we were

21        advised to pick up the items that you

22        discussed here.

23                  Q       Which items,         the ones that I

24        just recited as part of the confession?

25                 A        Right,       yes.



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 1                                       C.   Kosciuk                  89

 2                 Q        Well,   let's approach it this

 3        way.    So you say that after 2 o'clock

 4        Identification had finished photographs and

 5        videotaping the crime scene;            is that right?

 6                 A        That's correct.

 7                 Q        And then your work began?

 8                 A        Yes.

 9                 Q        So what did you do?

10                 A        At 2 o'clock we proceeded into

11        the master bedroom.

12                 Q        Who is we?

13                 A        We would be Detective Reich and

14        Detective Forensic Scientist -- not

15        Detective Reich.          Forensic Scientist Reich

16        and Forensic Scientist Bob Baumann.                We

17        proceeded into the master bedroom and

18        started to clear or collect items of

19        physical evidence that we felt were

20        pertinent to the scene.             We placed evidence

21        tapes on those items and we proceeded to

22        remove any physical evidence that might be

23        damaged if anyone moves the victim.

24                 Q        You said you were collecting

25        items of evidence that you thought were



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 1                                      C.     Kosciuk                90

 2        relevent to the scene,         correct?

 3                 A        Yes.

 4                 Q       And how were you determining

 5        what was relevent to the scene?

 6                 A       Loose hairs,        obviously anything

 7        that we felt was not in place or out of

 8        place at that scene.          Hairs,    broken hairs,

 9        anything that could be moved or destroyed

10        when Mrs.    Tankleff was taken by the

11        medical -- or examined by the medical

12        examiner and then taken by the medical

13        examiner.

14                 Q       And are you telling us that

          prior to learning            I think you said about

16        8 o'clock -- that there were certain items

17        that you should inspect and collect that no

18        homicide detective told you anything about

19        their theory that Mr.         Tankleff,    Martin

20        Tankleff,    had committed this crime and the

21        way in which he committed?

22                          MR.    MITCHELL:     I object to the

23                 form.      You can answer.

24                 A        No.

25                 Q        So you were deciding what was



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 1                                      C.    Kosciuk                 91

 2       relevant at the crime scene for you to
 3       identify and collect without any knowledge
 4       of Martin Tankleff's confession?

 5                 A       That's true.        Yes.
 6                 Q       Okay.    So tell us what you did.
 7       You first went where?

 8                 A       I thought we just did that.              We
 9       went into the master bedroom.                We collected
10       items of physical evidence,            hairs,    and

11       anything that could be destroyed prior to

12       the medical examiner entering the room and

13       removing Mrs.      Tankleff.

14                 Q       Okay.    Now,     let me just show

15       you a few photographs.            Let's start with of

16       the master bedroom.

17                         MR.   SCHECK:     Let's mark this

18                 as      Maybe the smart way to do this

19                 so we can refer back to these things

20                 is let's mark a series of

21                 photographs and let's put an exhibit

22                 number on them as Exhibit 3.

23                         Let me mark this as Exhibit 3

24                 and then I will number each

25                 photograph,     each of these copies of



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 1                                     C.   Kosciuk                  92


 2                 photographs,      and we'll try to

 3                 I ' l l mark them in the bottom

 4                 right-hand corner.

 5                        THE VIDEOGRAPHER:        Going off

 6                 the record at 12:08 p.m.

 7                         (Whereupon,      Plaintiff's

 8                 Exhibits 3 through 7 were marked for

 9                 identification.)

10                        THE VIDEOGRAPHER:        Back on the

11                 record at 12:25 p.m.         You may

12                 proceed.

13                 Q      Now,   we've marked a series of

14       exhibits here that we're going to go

15       through,      Detective.

16                        Exhibit 3 were photographs of

17       the master bedroom,        Exhibit 4 were three

18       photographs of the kitchen area and the

19       so-called watermelon knife,           and Exhibit 5

20       were photographs of the office.              Exhibit 6

21       that we'll get to in a          few minutes is a

22       supplemental report by James McCready.

23                        And now,    Exhibit 7,      which may

24       help you,      is a report from a Kenneth

25       Christopherson,      a special agent,        dated



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 1                                     C.   Kosciuk                   93

 2        July 21st,    2008 concerning an interview that

 3       was conducted with you at your home by

 4        Special Agent Gerald Blavin and Special

 5       Agent Christopherson on July 17,             2008.         I'll

 6        given you that right now.

 7                        This is the interview that we

 8       were talking about before when the State

 9        Investigation Commission came and spoke to

10        you about this case in 2008,          right?

11                 A      Eight,   yes.

12                 Q      That was -- I think you told us

13       before,    other than talking with Mr.             Mitchell

14        in preparation for this deposition a few

15        days ago,    that's the last time that you ever

16        discussed in any detail or reviewed this

17        case with anyone,      correct?

18                 A      He does not say where this took

19       place.

20                 Q      Look at the very beginning.

21                 A      At his home.       I got it.        Okay.

22                 Q      That's your home,       right?

23                 A      Yes.

24                 Q      We won't mention the address.

25        That's secret.



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 1                                       C.    Kosciuk                    94

 2                          Now,    just calling your

 3        attention now to Page 2 of Exhibit 7,                   and

 4        it's right under crime scene,                  there's a

 5        notation here that -- and I'm starting in

 6        the middle of the second paragraph on the

 7       page.     "Kosciuk stated that while he was

 8       waiting for the identification unit

 9       personnel to arrive he was approached by

10       Myron Fox who introduced himself as

11        Tankleff's family attorney and offered his

12       business card.           Kosciuk said that he did not

13        accept the card and referred Fox to speak to

14        Detective McCready."          Do you now recall that

15        happening?

16                 A        Yeah,    I do but I think he said

17       business attorney.

18                 Q        Okay.     That was something that

19       when we were discussing what happened you

20        seemed to have forgotten here,                  correct?

21                          MR.    MITCHELL:        I    object to the

22                 form.     You can answer.

23                 A        Yes.

24                          MR.    TIPALDO:     I       join.

25                 Q        And then you say here on



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 1                                      C.    Kosciuk                  95

 2        Exhibit 7,    "Kosciuk did not recall the

 3       particulars but he later learned through

 4        "the grapevine" that Fox was caught "dumping

 5       paperwork" in connection with this case."

 6                          Can you explain what that

 7       means?

 8                          MR.   MITCHELL:     I object to the

 9                 form.     You can answer.

10                 Q        To the best of your knowledge?

11                 A        I was called to court to

12        testify about Mr.         Fox being there.         That was

13        in question and I         don't know who I was

14       talking to but that was the reason that we

15       were there,       that he denied being there and

16        something about he was caught destroying

17        files or something to that affect or dumping

18       paperwork.

19                 Q        This was at or around the time

20        of trial?

21                 A        Yeah,   right before the trial.

22                 Q        Okay.    Now --

23                 A        This trial?

24                 Q        This trial,      the trial with Mr.

25       Tankleff.



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 1                                      C.   Kosciuk                  96

 2                 A      No,    when ever I had that

 3       hearing with Mr.        Fox.

 4                 Q      I'm sorry.         In other words,

 5       you're saying that this reference to Mr.                   Fox

 6        "dumping paperwork" in connection with this

 7       case had to do with the State

 8        Investigation's Commissioner investigation

 9       of 2008;      is that what you're saying?

10                        MR.    TIPALDO:         Just note my

11                 objection.      It could be a number of

12                 different things.

13                        MR.    SCHECK:      I'm asking you.

14                 A      I have no idea what paperwork

15       they were talking about.             I    actually was

16       called into court to testify that Mr.                Fox

17       was at the Tankleff scene and that he handed

18       a business card,        which I     told him that I'm

19       not the investigating officer,               go up and see

20       Detective McCready.

21                 Q      Was that testimony before the

22       criminal trial having to do with the motion

23       to suppress?

24                 A      Yes.

25                 Q      That's what I understood your



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 1                                       C.    Kosciuk                   97

 2        answer to be.       That was okay.

 3                          Now,    looking at the third

 4       paragraph on this page,              the report,    you

 5        said,   "he stated --

 6                 A        Wait,    I'm lost.     Page 3 or 2.

 7                 Q        Page 2.

 8                 A        Got it.

 9                 Q        All right.        After the

10        identification unit came to the scene,                   set

11       up their cameras and they took the first

12       videos of the crime scene,              okay,    included by

13       taking still photographs at 11:31 a.m.

14        I'm reading exactly,         "subsequently,

15        laboratory members photographed and assigned

16       tag numbers to each item of evidence

17        collected.     He added that all the evidence

18       was segregated throughout the crime scene

19       and laboratory tags were placed on items

20       numbered 1 to 44.           He added that Bob Genna,

21       the crime lab director was present at the

22       scene and "did forensics" on the interior

23       walls and all related matter."                  Do you see

24       that?

25                 A        Yes.



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 1                                       C.   Kosciuk                    98

 2                 Q      Does that refresh your

 3        recollection as to what happened on

 4        September 7,     1988?

 5                 A      I   do remember Genna there but I

 6        don't know what time he got there or what.

 7       At that time he was the deputy director of

 8        the laboratory or maybe -- No,             no,   I   don't

 9        think he was in        '8 8.   He was a trace

10        evidence person,        trace evidence expert.

11                 Q      Do you know what --You're

12        quoted as saying "did forensics" on the

13        interior walls,       what does that mean?

14                 A      What we're looking at here is

15        just general.         I'm just talking to the

16        investigator.         It was   just conversation.

17                 Q      Okay.

18                        MR.    MITCHELL:      I   just need to

19                 clarify something.          I may be

20                 nitpicking but you said he was

21                 quoted here as "did forensics on the

22                 interior walls," and I           know the

23                 document speaks for itself but that

24                 the quote is only around the words

25                 "did forensics."



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 1                                      C.   Kosciuk                  99

 2                          MR.   SCHECK:    That's correct.

 3                          MR. MITCHELL:      And then,      on the

 4                 interior walls and related matter is

 5                 not attributed to the quote to

 6                 Detective Kosciuk.

 7                          MR.   SCHECK:    Yes,   that's

 8                 correct.

 9                 Q        Let me see if I understand this

10        directly in terms of the chain of command at

11        the crime lab.          On September 7,    1988, did

12        you report to Bob Genna?

13                 A        No.

14                 Q        Who did you report to?

15                 A        At that time in '88 i t ' s either

16        Mr.   Varinelli or Mr.       Crispino was a

17        director.     I   can't remember which.           I think

18        '88 Varinelli was but I'm not positive.

19                 Q        And Vince Crispino was head of

20        the crime lab?

21                 A        Yeah,   also.    And I'm trying to

22        think what exactly year he took over and I

23        can't remember.

24                 Q        In terms of eventually you

25        testified for the prosecution in the



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 1                                       C.    Kosciuk                100

 2        criminal case,      correct?

 3                 A        Yes,    I did.

 4                 Q        All right.        And you never

 5        filled out any reports prior to your

 6        testimony about your analysis of the blood

 7        spatter,     correct?

 8                          MR.    MITCHELL:     I object to the

 9                  form.    You can answer.

10                 A        No,    I never wrote a report.

11                 Q        That wasn't the practice of the

12        crime lab that when you did a blood spatter

13        analysis you would write out a report about

14        what your findings were?             It did not work

15        that way,     right?

16                          MR. MITCHELL:        I   object to the

17                  form.    You can answer.

18                 A        There was no report written

19        about the         In the office area,          the cast

20        off?

21                 Q        Yes.

22                 A        No.

23                 Q        You only testified at the

24        criminal trial about your blood spatter

25        interpretation of blood spatter patterns in



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 1                                      C.    Kosciuk                 101

 2        the office,      correct?

 3                 A        Yes.

 4                 Q        You did not testify about any

 5        blood spatter patterns or any reconstruction

 6        of what went on in the master bedroom where

 7        Arlene Tankleff was found;            did you?

 8                 A        No.

 9                 Q        Okay.   Now,     how did it come --

10        Can you describe for me how it came to pass

11        that you wound up offering your blood

12        spatter testimony at this trial?               How did

13        that evolve?

14                          MR. MITCHELL:       I object to the

15                 form.     You can answer.

16                 A        It evolved because I was the

17        senior investigator at that time from the

18        laboratory at the scene.            We knew,     first of

19        all,   that the desk and the chair were moved

20        by emergency services.

21                 Q        When you say "we" --

22                 A        Members of the laboratory, Mr.

23        Baumann and George Reich,            were pushed aside

24        so to look to try to attempt to see what

25        happened,    at that time,         we moved the desk



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 1                                            C.   Kosciuk                 102

 2        back to its original position and lined the

 3        chair up based on blood dripping from the

 4        chair and the spatters on the chair and also

 5        the impressions on the rug.

 6                            And then looking to the ceiling

 7        it was quite obvious that there was one

 8        stroke or bludgeon or castoff in a northerly

 9        direction from south to north and then from

10        behind the chair about two casts at slightly

11        different directions but originating from

12        the chair onto the ceiling indicating that

13        that originated from the chair.

14                    Q       I    understand you documented

15        that and you made that interpretation,

16        correct?

17                    A       Right.

18                    Q       Now,     did you make that

19        interpretation that day or some subsequent

20        day after examining the photographs?

21                    A       No.      That would be the second

22        day we're there.              I   believe that was -- You

23        know,   I       can't remember if that was that day

24        or the next day,             Thursday.     We were also

25        back at the scene the next day.



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 1                                        C.   Kosciuk                103

 2                 Q        Who did you report that to if

 3        that was your interpretation of the blood

 4        spatter pattern in the office?

 5                 A        Well,     the Homicide scene

 6        officer was there and at that time I'm not

 7        sure who it was.            It was either Detective

 8        Pfalzgraf or Detective Bonds or one of them.

 9        I   can't remember who was doing their notes.

10                 Q        But did somebody ask you to do

11        that reconstruction?

12                 A        No,   I   did it on my own.

13                 Q        Is there any           Did you ever do

14        a reconstruction looking at blood spatter of

15        what you thought happened in the master

16        bedroom?

17                 A        I'm sorry.         Repeat that.

18                 Q        Did you ever do a

19        reconstruction of what you thought happened

20        in the master bedroom?

21                 A        No.

22                 Q        Why not?

23                          MR.   MITCHELL:       I object to the

24                  form.     You can answer.

25                  A       We didn't.



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 1                                        C.   Kosciuk                104

 2                 Q        Well,   in the ordinary course of

 3        your work at the Suffolk County Crime Lab

 4        doing crime scenes,           was it your practice to

 5        look at the different crime scenes and

 6        formulate as best you could an

 7        interpretation of the blood spatter pattern

 8        and then communicate it to the homicide

 9        detectives?       Is that what the standard

10        practice was?

11                 A        Looking into the bedroom on the

12        bed there was no castoff except there was

13        one stain on the

14                 Q        I'm asking a different

15        question.

16                 A        Wait,   wait.       I'm trying to

17        explain to you.

18                 Q        No,   no,   no,    I'm asking about

19        what the custom and practice was in 1988.

20        You see what I'm saying?

21                 A        Oh.

22                 Q        Ordinarily,        when you respond to

23        a crime scene as the blood spatter expert,

24        was it your custom and practice to report to

25        a homicide detective or Vince Crispino or



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 1                                      C.    Kosciuk                 105

 2        anyone in the chain of command at the crime

 3        lab what you're interpretation was?

 4                 A        No.   Along with us at the scene

 5        is a homicide detective and the ID members

 6        are all present while the laboratory is

 7        there.

 8                 Q        So it was your custom --

 9                 A        The homicide detective,          if

10        there are any notes,        he would be taking

11        those notes down.

12                 Q        But as far as -- So in the

13        ordinary course of practice you would arrive

14        at a homicide scene,        you would document the

15        blood spatter,      and then you would

16        communicate orally to the homicide detective

17        what your reconstruction was,           your

18        interpretation of the scene based on the

19        blood spatter?

20                          MR.   MITCHELL:     I object to the

21                  form.    You can answer.

22                 Q        Is that the way it would work?

23                 A        No,   because not at every scene

24        we would do a blood spatter analysis.

25                 Q        How would you decide whether or



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 1                                       C.   Kosciuk                  106

 2        not to do a blood spatter analysis?

 3                  A       In cases where there is no

 4        known defendant or nobody about that

 5        Actually there was no rules.             There are no

 6        rules.     We had no rules at that time.

 7                  Q       At that time.       But now,      in this

 8        case,    when,    for the first time,       did you tell

 9        anyone,    to the best of your recollection,

10        what your interpretation or reconstruction

11        was of blood spatter in the office where

12        Seymour Tankleff had been found?

13                  A       While we were putting the desk

14        and the chair and aligning it the lab

15        personnel,       the Homicide and the ID people

16        were all present and by looking at the

17        ceiling it was quite obvious that you could

18        determine that the spatter originated from

19        the desk in a northerly direction and then

20        from an easterly direction about two times

21        because it was angular.

22                  Q       But you testified at the

23        criminal trial that somebody was behind

24        Seymour Tankleff,        right,     and used a blunt

25        force instrument to strike a number of blows



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 1                                      C.    Kosciuk                107

 2        on his head from behind the chair,              correct?

 3                 A        Consistently.

 4                          MR.   MITCHELL:     I   object to the

 5                  form.    Wait a second.         I object to

 6                  the form regarding his testimony at

 7                  the criminal trial and your

 8                  characterization of it.

 9                          I don't know if you have it,

10                 but the proper way to ask is,            were

11                  you asked this question and did you

12                  give this answer.

13                 Q        We can go over the specifics of

14        it but let me just see if I           -- Your

15        interpretation that you testified to at the

16        criminal trial as to how the blows were

17        inflicted to Seymour Tankleff and where they

18        were inflicted from,        that was something that

19        you formulated the second day as you were

20        taking the measurements?

21                 A        Whatever day the photographs

22        were taken of the ceiling of the blood

23        castoff that was the day that we formulated

24        that opinion.

25                  Q       When you say "we," it would be



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 1                                           C.   Kosciuk                 108

 2        you and Bob Genna?

 3                  A          Bob Genna and George Reich and

 4        myself,       yes.    And not the homicide detective

 5        they would just be standing around.

 6                  Q          Right.      So you,   Genna,      Reich,

 7        and Barnes,          and who else,      I'm sorry?

 8                  A          Baumann.

 9                  Q          Right.      Would talk together to

10        do the reconstruction of the blood spatter

11        in the office and then when you reach your

12        conclusion you communicated that to the

13        homicide detectives;              is that right?

14                  A          I'm not sure if we communicated

15        or he was       just there and was able to hear

16        it.

17                  Q          You don't remember who that

18        homicide detective was?

19                  A          No,   I   can't remember that day.

20                  Q          Do you remember when you

21        were -- After formulating this at the scene

22        as you were taking the photographs and doing

23        the measurements,              do you remember the next

24        time,   as best you can recall,             that you were

25        asked to discuss your reconstruction of what



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 1                                       C.    Kosciuk                109

 2        happened in the office?

 3                 A        Probably prepping for trial.

 4                 Q        To the best of your

 5        recollection,      did the interpretation that

 6        your team made when you were taking the

 7        photographs and doing the measurements at

 8        the crime scene about the blood spatter

 9        reconstruction in the office,              was that

10        communicated to Vince Crispino through the

11        chain of command;         do you know?

12                          MR.    MITCHELL:     I   object to the

13                  form.    You can answer.

14                 A        I doubt it.

15                 Q        So to the best of your

16        recollection this was something that was

17        said to the homicide detectives at the scene

18        and then later prior to the trial you met

19        with the district attorney to explain your

20        interpretations; is that what happened?

21                          MR.    MITCHELL:     I object to the

22                  form.    You can answer.

23                 A        Yes.

24                 Q        You knew that this was a pretty

25        big case from the time you arrived at the



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 1                                      C.    Kosciuk               110

 2        crime scene,      right?

 3                 A        All homicides are big cases.

 4                 Q        I   understand,    but you knew this

 5        was a highly publicized case?

 6                 A        No,   i t was not publicized.

 7        Nobody knew about it.

 8                 Q        Did you ever examine the

 9        photographs and the measurements and the

10        serological results in the master bedroom to

11        formulate a blood spatter interpretation of

12        the homicide of Arlene Tankleff?

13                 A        No.

14                 Q        Why not?

15                          MR.   MITCHELL:     I   object to the

16                  form.       You can answer.

17                 A        Because it was apparent that

18        there was a struggle.          There was no castoff

19        except for one little microdot on the east

20        wall of the bedroom on the opposite side of

21        the bed,     and with all the struggling that

22        went on no attempt was made to -- it was

23        obvious that there was a tremendous struggle

24        on the bed and off to the floor and around

25        the north side of the bed so no attempt was



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 1                                          C.   Kosciuk                 111

 2        made to reconstruct that.

 3                 Q        Are you telling us that at no

 4        time in the two days that you were

 5        processing this crime scene that a homicide

 6        detective did not say to you,                in substance,

 7        here are the details of what Mr. Tankleff

 8        confessed to and let's see if the blood

 9        spatter pattern at the scene is consistent

10        or inconsistent with his confession?

11                          MR. MITCHELL:          I   object to the

12                 form.         You can answer.

13                 A        No.

14                 Q        Well,      wouldn't you agree that

15        one of the functions of a blood spatter

16        expert or crime scene reconstruction person

17        is to test a hypothesis about how the crime

18        occurred against the objective physical

19        evidence to see if the objective physical

20        evidence is consistent or inconsistent?

21                          MR.     TIPALDO:      Objection to

22                  form.

23                 A        No request was ever made.                You

24        mean after the scene using the photographs?

25                 Q        I    asked you -- My question



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 1                                       C.    Kosciuk                   112

 2        is

 3                  A       At the scene?

 4                  Q             isn't it the function --

 5        Don't you ordinarily,          as a blood spatter

 6        expert,       right,   take a look at the evidence

 7        of the crime scene,          the photographs,        the

 8        measurements when you get them all in,                   any

 9        results you get from the crime lab,                 and sit

10        down and take a look at all of that evidence

11        and see whether a hypothesis that is being

12        made by,       let's say,    police,       the homicide

13        detectives,       is consistent or inconsistent

14        with the objective physical evidence?                    Isn't

15        that what a blood spatter expert does?

16                  A       We had no hypothesis.             It was

17        an obvious struggle.

18                  Q        I'm not asking in this case.

19        In general,       isn't that what you do as a

20        blood spatter expert?

21                          MR.    MITCHELL:         I object to

22                  form.        You can answer.

23                          MR.    TIPALDO:      I    join.

24                  A        If requested.

25                  Q        So nobody ever requested that



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 1                                      C.   Kosciuk                 113

 2        you do a blood spatter analysis of what went

 3        on in the master bedroom,           correct?

 4                 A        That's correct.

 5                 Q        Nobody ever requested from the

 6        homicide detectives that you take a look at

 7        the confession made by Mr.           Tankleff and see

 8        whether it can be confirmed or not confirmed

 9        by the objective physical evidence?                Nobody

10        ever asked you to do that?

11                 A        No.

12                  Q       No district attorney ever

13        discussed that with you?

14                 A        No.

15                          MR. MITCHELL:       I object to the

16                  form.    You can answer.

17                 Q        Is that right?

18                 A        That's right,     no.

19                  Q       Okay.   Now,     I think you said a

20        minute ago -- Why don't we turn now to the

21        pictures of the master bedroom for a minute,

22        okay.

23                  A       (Complying.)

24                  Q       And that,   I think,    we've marked

25        as Exhibit 3.       Let me call your attention



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 1                                           C.    Kosciuk               114

 2        to -- You've looked through these,                    have you

 3        not,   just a few minutes ago?

 4                 A        Yes.

 5                 Q        Now,   do you remember going

 6        through these pictures,                 by the way,    in 2008

 7        with the representatives from the State

 8        Investigation Commission?

 9                 A        No.

10                 Q        Now,   let's just turn to

11        photograph number 14.              Do you recognize that

12        to be the side of the bed?

13                 A        Yes.

14                 Q        All right.

15                 A        Master bedroom.

16                 Q        In the master bedroom.               Do you

17        see on the pillow here or anywhere in this

18        photograph medium velocity blood spatter?

19                          MR. MITCHELL:            I object to the

20                  form.    You can answer.

21                 A        Yes,   I   do.

22                 Q        Where do you see that?

23                 A        Some on the pillow and some on

24        the side of the bed.

25                 Q        Why don't you just take your



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 1                                          C.    Kosciuk                 115

 2        pen and circle it or you can use this

 3        Sharpie.

 4                 A        (Complying.)           I missed some

 5        there.

 6                 Q        Anyplace you see it.

 7                 A        Okay.        (Complying.)

 8                 Q        Now,     that would be medium

 9        velocity blood spatter consistent with a --

10                 A        Medium and low.

11                 Q        Medium and low.           Why don't you

12        just indicate what you think is the medium.

13        I think you first circled --

14                 A        I    can't because there is no

15        ruler on this photograph.

16                 Q        Okay.       So that's point number

17        one that there is no ruler in this

18        photograph,     correct?

19                 A        That's right.

20                  Q       These photographs are not taken

21        at a 90-degree angle,            correct?

22                 A        That's correct.

23                  Q       So there is a certain

24        limitation there in your ability to do a

25        blood spatter analysis,                correct?



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 1                                       C.    Kosciuk                116

 2                 A        Yes.

 3                 Q        However,     just from looking at

 4        these photographs you feel comfortable in

 5        saying that you do see some medium velocity

 6        blood spatter on the pillow?

 7                 A        Well,    if the picture is taken

 8        one-to-one,      yes.

 9                 Q        Why don't you just indicate

10        where         The first circle you made that is

11        where you see medium velocity blood spatter?

12                 A        I hesitate to do that.            I   don't

13        know the sizes.           I mean,   in this area here

14        they are quite small.

15                 Q        Let's take that area there.

16        Call that area A.

17                          MR.    MITCHELL:     Put a letter A

18                  there.

19                 Q        Area A

20                 A        And B.

21                 Q         In area A you said that you saw

22        some

23                 A        Small and there was a couple of

24        larger droplets.

25                  Q       Okay.     Now,    would what you see



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 1                                         C.   Kosciuk               117

 2        in area A be consistent with a blood force

 3        instrument being used to hit a blood source?

 4                          MR.    MITCHELL:      I object to the

 5                  form.    You can answer.

 6                  A       It's difficult.            How much blood

 7        are we dealing with here,              the blood source?

 8        You have to tell me.            We're talking about

 9        several little dots here.               I have to know

10        how much blood is on the person,                the size of

11        the object striking her,              and how fast the

12        object was.

13                  Q       Just looking at these medium

14        velocity blood spatter on the pillow in

15        photograph 14,          okay,   area A at this crime

16        scene indicate to you just immediately

17        looking at it that some blunt force object

18        was used to strike the head of Arlene

19        Tankleff while she was in that bed?

20                          MR.    MITCHELL:       I   object to the

21                  form.     You can answer.

22                  A       Based on this picture I would

23        say no.

24                  Q       All right.          Based on any of the

25        pictures,     do you see --



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 1                                            C.   Kosciuk              118

 2                  A          I don't believe any of these

 3        are indicative of castoff from a blunt

 4        object.

 5                  Q          Well,    when you say castoff from

 6        a blunt object, would they be consistent

 7        with the object hitting the head of Arlene

 8        Tankleff and blood spatter then resulting in

 9        hitting the pillow in area A?

10                             MR. MITCHELL:         I object to the

11                  form.       You can answer.

12                  A          These stains that we circled, A

13        and B,    are possible or could originate from

14        the source of a blood source that's being

15        struck,       yes.

16                  Q          That's my question.

17                  A          Right.     Not castoff but

18        projected blood.

19                  Q          Okay.     So to use your

20        terminology then,             just entering the crime

21        scene and taking a look at that pillow as it

22        is in Exhibit 14,            you,   as a blood spatter

23        expert,       immediately could recognize that

24        this scene was consistent with a blunt

25        instrument being used to strike the head of



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 1                                     C.    Kosciuk                119

 2        Arlene Tankleff while she was in the bed

 3        thereby causing projected blood in area A,

 4        blood spatter in area A?

 5                         MR.   MITCHELL:     I    object to the

 6                  form of the question.

 7                 A       No,   I'm not going to answer

 8        that question.         I can't see enough here.

 9        Plus the fact that this stain looks like

10        dripping.     This looks like --

11                 Q       You're pointing to a

12                 A       Larger drops.

13                 Q       Larger drops in area A,          but I'm

14        directing your attention to the smaller

15        droplets that you saw in area A on the

16        pillow that you identified as medium

17        velocity blood spatter.

18                 A       Okay.    Repeat your question

19        again.

20                  Q      My question is,         wouldn't you

21        upon seeing those smaller spatter patterns

22        in area A on that pillow,          as an experienced

23        blood spatter expert in 1988,             just looking

24        at it wouldn't that be consistent with

25        Arlene Tankleff having been struck on the



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 1                                      C.    Kosciuk                   120

 2        head and projected blood creating that kind

 3        of spatter on a pillow?

 4                          MR.   MITCHELL:        I    object to the

 5                  form.

 6                          MR.   TIPALDO:     I       join.

 7                          MR.   SCHECK:     You have to

 8                  answer.

 9                 A        It is consistent with blood

10        originating from a source and being

11        spattered.        It could be consistent with

12        that.

13                 Q        From everything you see in all

14        the pictures from the master bedroom and

15        your recollection of the scene,                 that blood

16        source would be Arlene Tankleff's head?

17                          MR. MITCHELL:          I object to the

18                  form.     You can answer.

19                          MR.   TIPALDO:     Objection.

20                 A        I don't know.

21                          MR.   SCHECK:     Off the record.

22                          THE VIDEOGRAPHER:             End of Disk

23                  2.   We're off record at 12:57 p.m.

24                          (At this time,         a brief recess

25                  was taken.)



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 1                                      C.    Kosciuk                   121

 2                          THE VIDEOGRAPHER:       This is the

 3                 beginning of Disk 3.          We're back on

 4                  the record at 1:06 p.m.             You may

 5                 proceed.

 6                 Q        Just to be clear,      do you have

 7        any recollection at any time subsequent to

 8        while you were at the crime scene or

 9        subsequent to it,        of Detective McCready,

10        Detective Doyle,        Detective Fini or anybody

11        from Homicide discussing with you the blood

12        spatter patterns in the master bedroom?

13                 A        No.

14                 Q        And you have no recollection of

15        ever being asked by anyone in the crime lab

16        to review and try to interpret the blood

17        spatter patterns in the master bedroom?

18                 A        No.

19                 Q        Did that strike you as odd?

20                          MR.   MITCHELL:     Objection to

21                  form.    You can answer.

22                 A        No.

23                  Q       Is it your testimony that no

24        one in the district attorney's office,                  in

25        preparation for this trial or at any time



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 1                                      C.    Kosciuk                 122

 2        prior to the trial,        ever ask you to review

 3        the blood spatter patterns in the master

 4        bedroom and give any kind of interpretation

 5        of how the crime may have been committed?

 6                          MR. MITCHELL:       Objection to

 7                  form.

 8                  A       No.

 9                  Q       It's your testimony,        just to be

10        clear,    that in the two days that you

11        processed the crime scene or thereafter no

12        one from Homicide ever reviewed with you Mr.

13        Tank1eff's confession to see whether or not

14        it was consistent with the blood spatter

15        patterns in the master bedroom?

16                          MR.   MITCHELL:     I   object to

17                  form.    You can answer.

18                  A       No.

19                  Q       But you do recall that at some

20        point in time when I was reading from

21        Detective Doyle's memo book starting at Page

22        2713,    the confession of Mr.        Tankleff,      you do

23        remember that at some point you were asked

24        to go back and examine and retrieve certain

25        items of evidence?



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 1                                       C.       Kosciuk               123

 2                  A       Yes.

 3                  Q       All right.        Tell me as best you

 4        recall how that happened and what you were

 5        told?

 6                          MR. MITCHELL:           I   object to

 7                  form.     You can answer.

 8                  A       What happened?

 9                  Q       How you came to go back and

10        review certain items of evidence that --

11                  A       We were told to pay particular

12        attention to certain items;               is that what

13        you're asking?

14                  Q       When did that happen and what

15        were you told?

16                  A       I believe when Detective

17        Pfalzgraf          I don't remember what day now.

18        Let me think.        It might have been on the

19        Friday.       I'm sorry,    not the Friday.

20        Thursday,      the next day,        I   can't remember

21        which day.        All I remember is being advised

22        late in the evening somewhere after

23        8 o'clock,      8:30 that certain items they

24        would like us to observe,               photograph and

25        collect.



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 1                                      C.    Kosciuk               124

 2                  Q       And you were not told why?

 3                  A       No.

 4                  Q       You were not told that these

 5        were items that they wanted to look at

 6        because they were mentioned in a confession

 7        they had taken from Mr.            Tankleff?

 8                          MR.   MITCHELL:     I   object to

 9                  form.    You can answer.

10                  A       I don't remember if I was told

11        or not.

12                  Q       You might have been told that,

13        right?

14                  A       Yeah,   I might have been.

15                  Q       Is there any reason why you

16        would not have been told in terms of your

17        customs and procedures that Mr. Tankleff had

18        given a confession the morning that you had

19        arrived at the crime scene and that you

20        should go back and look at certain items of

21        evidence to see whether or not they

22        corroborate or did not corroborate to his

23        confession?

24                          MR.   MITCHELL:     I object to

25                  form.     You can answer.



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 1                                       C.   Kosciuk                  125

 2                 A        No.

 3                 Q        Doesn't that make sense to you

 4        in terms of investigative techniques that if

 5        you got a confession from a suspect about

 6        how a crime had been committed you had not

 7        even finished processing the crime scene

 8        that you would want to go back and look at

 9        the crime scene to see if the confession

10        corroborated or didn't corroborate the

11        confession?

12                          MR. MITCHELL:          I   object to the

13                  form.     You can answer.

14                          MR.    TIPALDO:    I       join.

15                 A        I was never advised of the

16        confession and what he stated.                  All we were

17        advised of was items and that's what we did.

18                  Q       Doesn't it make,            in terms of

19        normal investigative methods at that time

20                  A       You mean to substantiate the

21        confession?

22                  Q       Yes.

23                  A       Yes,    it does make sense.

24                  Q       Have you ever heard of

25        something at that time called the read



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 1                                      c.   Kosciuk                126

 2        technique?

 3                          MR. MITCHELL:      I    object to the

 4                  form.    You can answer.

 5                 A        No.

 6                  Q       In all your courses you never

 7        heard of that technique?

 8                 A        No.

 9                  Q       By the time you were doing this

10        crime scene in 1988,        you had read and heard

11        about a series in Newsday called the

12        Confession Takers?

13                          MR. MITCHELL:      I    object to the

14                  form.    You can answer.

15                 A        I have no idea,        no.

16                  Q       You don't remember that there

17        was a series of articles in Newsday about

18        the Suffolk County homicide detectives

19        taking confessions that were considered

20        improper by the courts?

21                 A        I do remember that.          I don't

22        remember any of the articles in Newsday.

23                  Q       Nobody ever discussed with you

24        any of the problems that Suffolk County

25        homicide detectives were having prior to



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 1                                        C.   Kosciuk               127

 2        your arrival at the crime scene on

 3        September 7,      1988 about taking confessions?

 4                          MR.    MITCHELL:     I object to

 5                  form.    You can answer.

 6                          MR.    TIPALDO:     Objection.

 7                 Q        Have you ever heard that in

 8        particular Detective McCready --

 9                 A        No.

10                 Q              had been accused of

11        misconduct in a case involving a Defendant

12        named Diaz?

13                          MR.    TIPALDO:     Objection.

14                          MR.    MITCHELL:     I object to the

15                  form.    You can answer.

16                 A        Yes,    I   did hear that through

17        the grapevine that he was in trouble in

18        reference to that case.

19                 Q        And do you recall that that

20        case involved a confession about a knife

21        that the Defendant said that he had thrown

22        away in the woods and wiped the blood off

23        and then sometime later a bloody knife was

24        found at the crime scene?

25                          MR.    MITCHELL:     I   object to the



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 1                                         C.   Kosciuk               128

 2                 form.     You can answer.

 3                 A        I heard a little bit about

 4        that,   yes,   through the grapevine.

 5                 Q        Did that trouble you?

 6                          MR.   MITCHELL:        I object to the

 7                 form.     You can answer.

 8                 A        Did it trouble me?            Not really.

 9        I know detectives and police officers are

10        accused of a lot of things.

11                 Q        But as far as you were

12        concerned,     you never had any problems with

13        McCready and you thought he was a straight

14        up honest cop?

15                 A        Yeah,   yes,    sir.

16                 Q        Prior to 1988,         and at the time

17        of these articles appearing about the

18        Confession Takers,        were there problems in

19        funding of the crime lab?

20                          MR.   MITCHELL:        I   object to

21                  form.     You can answer.

22                 A        It's beyond my scope.            I have

23        no idea about the funding of the crime lab.

24                 Q        But you,   as somebody who worked

25        at the crime lab,         didn't you have complaints



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 1                                          C.   Kosciuk               129

 2        or problems that you were not getting

 3        adequate funding to document crime scenes?

 4                          MR. MITCHELL:             Objection to

 5                  form.

 6                          MR.    TIPALDO:       Objection.

 7                  A       No.

 8                  Q       Any problems in terms of

 9        getting adequate training to process crime

10        scenes?

11                          MR. MITCHELL:             I object to

12                  form.    You can answer.

13                          MR.    TIPALDO:       I    join.

14                  A       No.

15                  Q       Now,    okay,    why don't we review

16        together Plaintiff's Exhibit 6, which is the

17        statement that was taken.               It's a typed-up

18        version of a confession by Mr.                 Tankleff,

19        Martin Tankleff,         and you see the bottom of

20        this is a police report by Detectives

21        McCready and supervised by Detective Doyle;

22        you see that?

23                  A       Yes,    I do.

24                  Q       Okay.     Are you familiar with

25        this kind of report?



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 1                                             C.   Kosciuk                  130

 2                 A        No.

 3                 Q        What is it?              What kind of

 4        report is it?

 5                 A        It says supplemental report.

 6                 Q        Is this a report that is --

 7        It's not filled out contemporaneously;                       is

 8        it?

 9                          MR.    MITCHELL:           I   object to the

10                  form.    You can answer.

11                 Q        To the best of your knowledge?

12                 A        No,    I    really don't know what

13        forms they are required to fill out.

14                 Q        Why don't you turn in Exhibit 6

15        to Page 7944,      okay.        SCDA 007944.          I   guess

16        i t ' s at the top.          It's 11 of 14 pages.

17                 A        (Complying.)

18                 Q        Are you with me?

19                 A        Yes,       7944.

20                 Q        All right.              And you see at the

21        very top of the page in the second paragraph

22        it says,     "Marty needed psychiatric help.                       He

23        knew what happened,            but he felt like it was

24        another person who was inside of him who did

25        it."    You see that?



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 1                                             C.   Kosciuk                  131

 2                 A        Yes.

 3                          MR. MITCHELL:             I   am just

 4                 objecting to the form of your

 5                 question as the document speaks for

 6                 itself.         I   ask that you confirm

 7                 whether he has ever seen this

 8                 document before.

 9                 Q        Have you ever seen this

10        document before?

11                 A        No.

12                 Q        Thank you.

13                          Now let's go to the bottom of

14        the page.      It says,        "We then asked him what

15        time he did this.             He said he set his alarm

16        clock for 5:35."             You see that?

17                 A        Yes,       I do.

18                 Q        Then it says it went off,                 he

19        woke up.     "I asked him what he was wearing,

20        he said he was naked because he did not want

21        to leave any blood on his clothing.                       I asked

22        him who he killed first.                  He said he killed

23        his mom first.           I   asked him where his father

24        was,   he said he saw that his father was in

25        his office sleeping in his chair.                    Initially



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 1                                       C .   K o sci u k                    132

 2        he was surprised that he was not in bed with

 3        his mother and that the lights were on.                         I

 4        asked him what he did to his mother.                       He

 5        said he hit his mother with a dumbbell then

 6        he cut her throat.         I   asked him how his

 7        mother was laying in bed,            he said she was in

 8        bed on her back.        He was asked how many

 9        times he stabbed her,          he said he did not

10        know how many times he stabbed her,                   he

11        volunteered that he got to her quickly.                         I

12        asked him how many times he hit her,                   he said

13        he hit her at least four to five times on

14        the head.     He was not sure.            He kept on

15        trying to hit her.         She fought with him.                     He

16        said she was in pain calling for help

17        saying,    "Why" and "help me."             The "why" and

18        the "help me" are in quotes.                He said he was

19        afraid his father would wake up and that

20        after she fell on the floor he ran and got a

21        knife from the kitchen and cut her throat.

22        I   asked him where the knife was,                 he said the

23        knife was on the counter next to the

24        watermelon.       I   asked him if she was dead

25        when he left the room,          he said no ,          she was



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 1                                       C.    Kosciuk                133

 2        moving a little bit when he ran out of the

 3        bedroom to kill his father."             Okay?

 4                 A        Yes.

 5                          MR.    MITCHELL:     Is that a

 6                  question?       Are you asking him a

 7                  question?

 8                 Q        Did you follow that with me as

 9        I've read it from Exhibit 6?

10                          MR.    MITCHELL:     I'm going to

11                  object to the form.          Are you asking

12                  if that refreshes his recollection

13                  for anything because to the extent

14                  that it doesn't then he has never

15                  seen this document.

16                          If you are formulating a

17                  question from the document,            it's

18                  improper except to ask him if it

19                  refreshes his recollection.              That's

20                 my objection.

21                          If you're trying to lay out the

22                  theory of your case,         that's

23                  improper.       I don't mind you asking

24                  him questions about what he did as a

25                  fact witness,      but he has never seen



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1                                       C.   Kosciuk                  134

2                   the document and so if you're

3                   formulation a question if it

 4                  refreshes his recollection,           I don't

 5                  have an objection.

 6                  Q       Let me first ask,       have you seen

 7        the document?

 8                          MR. MITCHELL:      You asked that

 9                  already.      It's asked and answered.

10                  A       No.

11                  Q       I think what we've established,

12        Brian,    let me just make sure.          You're

13        telling us that no one from Homicide or the

14        prosecutor's office had ever reviewed with

15        you Mr.       Tankleff's confession and asked

16        whether or not it was consistent with the

17        crime scene evidence and the blood spatter

18        in the bedroom?

19                          MR.   TIPALDO:     Objection.       If I

20                  may be heard,      and this is not my

21                  witness,      obviously,   and I   can't

22                  direct him as to what to do,              but I

23                  have an objection with respect to

24                  this whole line of inquiry based

25                  upon the witness's testimony that,



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 1                                      C.   Kosciuk                     135

 2                 number one,      he has not seen this

 3                 document; number two,           he's not

 4                 involved in the compilation or the

 5                 generation of this document.               For

 6                 you to ask him questions with regard

 7                 to this document is completely out

 8                 of line.

 9                          MR.   SCHECK:    Let me make this

10                 suggestion because I'm going to lay

11                 out why I'm allowed to do this.

12                  I ' l l put it on the record and you

13                 can object.       Why don't we ask the

14                 witness to leave the room for a

15                  second.

16                          MR. MITCHELL:      Sure.    And

17                 honestly,      just to move things along,

18                  I appreciate it.         I'm not directing

19                 him not to answer the question.                   I

20                 made my objection.          I   know you think

21                 there is a proper reason to ask it,

22                  that's all.       I appreciate that.             I'm

23                  not directing him not to answer.

24                          I guess to save time that if

25                  you were going to ask him something



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 1                                      C.    Kosciuk                136

 2                 other than to refresh his

 3                  recollection,      I would object.         Let's

 4                 move along.

 5                          MR.   SCHECK:     Just to be clear

 6                  so you understand,        I think I      laid

 7                  the foundation that blood spatter

 8                 experts are asked to confirm or

 9                 disconfirm based on objective crime

10                  scene evidence any particular

11                  hypothesis,     and he told us that

12                  nobody ever asked him to compare the

13                 confession that Mr.         Tankleff gave to

14                  the evidence in the master bedroom.

15                          MR.   MITCHELL:     You're testing

16                  his credibility again.

17                          MR.   SCHECK:     No.

18                          MR.   MITCHELL:     That's what I

19                  think you're doing because then he's

20                  asked and answered your question.

21                          MR.   SCHECK:     Just so you know,

22                  I think i t ' s a perfectly proper line

23                  of inquiry for me to ask him about

24                  this confession and how this relates

25                  to what he,observed at the crime



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 1                                          C.   Kosciuk                  137

 2                  scene.

 3                          MR.     MITCHELL:        You can do that,

 4                  but you don't have to recite the

 5                  entire document as part of your

 6                  question.         I   don't get that.

 7                          MR.     SCHECK:      I   choose to do it

 8                  that way.

 9                          MR.     MITCHELL:        I appreciate

10                  that but it's going to take a long

11                  time.

12                  Q       I     just read you that paragraph

13        in Exhibit 6 of what was recorded,                 as you

14        can see,      a confession from Mr.           Tankleff.         Do

15        you have that in mind?

16                 A        Yes.

17                 Q        Now I'd like to review with you

18        in terms of the blood spatter evidence and

19        the evidence recovered from the crime scene

20        his confession,          okay;   is that all right?

21                 A        Sure.

22                 Q        And that is the kind of thing

23        if asked you would have done at the request

24        of homicide detectives when you were

25        processing the scene;            true?



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 1                                        C.   Kosciuk              138

 2                 A       I don't know.         What time was

 3        this statement given?

 4                 Q       I    think I   reviewed with you

 5        before the notes of Detective Doyle which

 6        was Exhibit 2.          You recall that I      read you

 7        from Exhibit 2,         the memo book of Detective

 8        Doyle,   starting at page SCDA 2713 per

 9        McCready,     12:28,     right?

10                 A       Yes.

11                 Q      And then I        read to you the two

12        pages that start "Martin Tankleff

13        confessed."          You recall that?

14                 A       Yes,    I   do now.

15                 Q       Right.      And does any of this

16        refresh your recollection that you were told

17        that afternoon of September 7th that there

18        was a confession and some of the details of

19        it?

20                 A       No.

21                 Q       By Doyle or anybody else?

22                 A       I didn't even know that Mrs.

23        Tankleff's head was a bludgeoning.                They had

24        not even gotten there yet.

25                  Q      So just answer my question.



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 1                                        C.   Kosciuk                  139

 2                 A        I did.

 3                  Q       No.     My question is that to the

 4        best of your recollection,            even today,       no

 5        one has ever asked you to look at the

 6        details of the confession and compare it to

 7        the to crime scene evidence,               right?

 8                          MR.    TIPALDO:     Objection.      Asked

 9                  and answered repeatedly.

10                          MR.    MITCHELL:     You can answer

11                  the question.

12                 A        Yes.

13                 Q        Now,    you see that Mr.      Tankleff

14        said he set his alarm for 5:35;               you see

15        that?

16                 A        What page are we on?

17                 Q        On Page 7944 of Exhibit 6.

18                 A        7944.     Right.

19                 Q        Okay.     So you see

20                 A        He set his alarm.

21                 Q        For 5: 3 5,   right?

22                 A        Yes.

23                 Q        And we know that the 911

24        operator was called at 6:11 a.m.

25                          MR.    MITCHELL:     I   object to the



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 1                                      C.    Kosciuk                 140

 2                  form.    Are you testifying as a

 3                 witness?       You're asking we know.

 4                 Ask him if he knows what time the

 5                  911 call was made.

 6                 Q        Do you know what time the 911

 7        call was made?

 8                 A        No.

 9                 Q        I'm going to ask you to keep in

10        mind that the 911 call,            and we can double

11        check this if you want,            Brian,   was 6:11.

12                          MR. MITCHELL:        Is that a fact

13                 that we could stipulate to?               I'm not

14                  trying to be a pain in the behind

15                 but if you ask questions like that

16                  I'm going to object to them.

17                          MR. SCHECK:       Brian,    I'm going

18                  to make a good record and satisfy

19                  you on all the facts.

20                          MR. MITCHELL:       Okay.

21                 Q        So would it be fair to say that

22        in terms of all of this,            we're talking about

23        a time frame about what he did that starts

24        at 5:35,     according to the confession,            right,

25        and has to end at least at the latest at



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 1                                          C.   Kosciuk                 141

 2        6:11 because that's a hard time when 911 was

 3        called;       fair enough?

 4                          MR.     MITCHELL:       I object to the

 5                  form.        You can answer.           You're

 6                  asking him the time between 5:35 and

 7                  6:11?        That's what 26,          36 minutes.

 8                  Q       Ordinarily,          when you're doing

 9        crime scene reconstruction,                   if you have any

10        hard times to work with,               that's important in

11        terms of trying to analyze the evidence at

12        the scene?

13                          MR.     MITCHELL:       I    object to

14                  form.        You can answer.

15                  A       I    guess.     I    don't know.

16                  Q       That's not something you've

17        ever done?        You look at how long blood

18        dries,    when the spatter patterns were done.

19        Times can be useful and relevent,                   correct?

20                  A       Yes,     but that would be more in

21        the research area.

22                  Q       Well,      let's just go through

23        this.     And he says here he was naked because

24        he didn't want to leave any blood on his

25        clothes; you see that right?



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 1                                       C.    Kosciuk                142

 2                 A        Yes.

 3                          MR.    MITCHELL:     I   object to the

 4                  form.

 5                  Q       In your processing of the crime

 6        scene you found no bloody clothes?

 7                 A        I don't know that.

 8                 Q        To the best of your knowledge,

 9        you found no bloody clothes?               The people

10        that you were working with found no bloody

11        clothes,      correct?

12                 A        Clothing was gathered at the

13        scene.       I did not analyze or am I

14        serologist.       It was turned over to the

15        serology section.          I have no idea if there

16        were any blood on.

17                 Q        You're talking about clothes

18        that were found at the scene that belonged

19        to Seymour Tankleff.

20                 A        I don't know what clothes you

21        were talking about.

22                 Q        Other than the clothes that

23        were found in the office that were worn by

24        Seymour Tankleff,         do you recall that there

25        were any bloody clothes found at a crime



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 1                                       C.    Kosciuk              143

 2        scene that would be consistent with somebody

 3        having worn them during the course of the

 4        commission of these two homicides?

 5                          MR.    MITCHELL:     I object to the

 6                  form.    You can answer.

 7                  A       No.

 8                  Q       All right.        Would it be fair to

 9        say just from looking at the crime scene

10        where Arlene Tankleff was murdered that

11        whoever bludgeoned her or stabbed her,                 or if

12        there was more than one person who

13        bludgeoned her or stabbed her,              there is a

14        high likelihood that their clothing would be

15        covered with blood?

16                          MR.    MITCHELL:     I   object to

17                  form.    You can answer.

18                  A       I would say yes.

19                  Q       All right.        That was a pretty

20        bloody crime scene in that master bedroom?

21                  A       Yes.

22                  Q       With the number of blows

23        inflicted to her head and the slit in her

24        back and in her neck,         that would create a

25        lot of blood that would splash on



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 1                                        C.    Kosciuk               144

 2        assailants?

 3                          MR.    MITCHELL:      I object to the

 4                  form.       You can answer.

 5                 A        The cutting possibly not,           but

 6        the bludgeoning,         yes.

 7                 Q        Now,    you see in this confession

 8        he said he killed his mom first,                correct?

 9        Do you see that?

10                 A        Yes.     You read this.

11                 Q        Next page.         And you see in this

12        confession that he said that he hit his

13        mother with a dumbbell,              correct?

14                 A        Yes.

15                 Q        And then,     after he struck her

16        with the dumbbell he went back and got the

17        watermelon knife from the kitchen and that's

18        when he came back and used the knife to

19        inflict injury on her,          correct?

20                 A        Wait a minute.         I don't see all

21        that here.

22                          MR.    TIPALDO:      Objection.

23                  Q       Take a look at this.

24                 A        I   don't see anything about

25        watermelon knife.          Where do you see that?



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 1                                       C.    Kosciuk                145

 2                  Q       Look at the last line on this

 3        paragraph on Page 12.          "I asked him where

 4        the knife was,       he said the knife was on the

 5        counter next to the watermelon knife."

 6                 A        Okay.     Go ahead.

 7                  Q       Right?

 8                 A        Give me your question.

 9                  Q       Right.     So based on what I        just

10        read you,     right,     according to this

11        confession,       he woke up at 5:35 he first went

12        to attack his mother naked,            right?     He had a

13        dumbbell with him,         he used the dumbbell to

14        strike her when she was lying in the bed on

15        her back,     right,     and then he went back into

16        the kitchen to get the knife next to the

17        watermelon and then came back and used the

18        knife on her at that time.             That's what he

19        says,   correct?

20                 A        Sounds good.

21                  Q       That's what this says,          correct?

22                 A        Yes,    sounds good.

23                          MR.    MITCHELL:     I object to

24                  form.

25                  Q       Now,    let's just be clear about



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 1                                       C.    Kosciuk               14 6

 2        what everything is.

 3                 A        Okay.

 4                 Q        We have this model,          correct?

 5        Exhibit 1,     right?

 6                 A        Yes.

 7                 Q        And now,    there was a dumbbell

 8        that you found in Mr.         Tankleff's bedroom,

 9        correct?

10                 A        Yes.

11                 Q        That was an item that you were

12        asked specifically to check,            correct?

13                 A        Yes,    a set of dumbbells.

14                 Q        Set of dumbbells and you were

15        asked to check them because you knew that

16        that was potentially a blunt instrument that

17        was used on both Arlene Tankleff and Seymour

18        Tankleff,    correct?

19                 A        Yes.

20                          MR.    MITCHELL:     I object to

21                  form.    You can answer.

22                 Q        Where did you find those

23        dumbbells?

24                 A        In the southwest bedroom.

25                 Q        Mr.    Martin Tankleff's bedroom?



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 1                                            C.   Kosciuk               147

 2                     A       That's right.         The blue square

 3        on the southeast corner,                 southwest corner.

 4                     Q       Let me mark this as Plaintiff's

 5        Exhibit 8.           It's two photographs.

 6                             (Whereupon,         Plaintiff's Exhibit

 7                     8 was marked for identification.)

 8                     Q       And these were photographs

 9        that     -       These were the dumbbells that you

10        saw at the crime scene?

11                     A       Yes,    they are.

12                     Q       On September 7th and 8th?

13                     A       7th.

14                     Q       7th?

15                     A       Oh,    gosh.    You know,     I'm going

16        to say it was the evening of the 7th,                   yes.

17                     Q       On the evening of the 7th,            all

18        right.       And you went and inspected those

19        dumbbells and just visually looking at them

20        you did not see any blood,                 correct?

21                     A       That is correct.

22                     Q       And are you aware that those

23        dumbbells were subsequently taken back to

24        the crime lab,             they were taken apart,       and

25        they were examined with testing for the



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 1                                          C.   Kosciuk                 148

 2        presence of blood?

 3                          MR.     MITCHELL:      I object to the

 4                  form.        You can answer.

 5                  Q       You understand that?

 6                 A        I    know they were returned to

 7        the crime laboratory and they were submitted

 8        to the serology section.

 9                  Q       You're familiar with what

10        serology does,          correct?

11                 A        Yes.

12                  Q       And they would take apart these

13        dumbbells and they would examine the bar and

14        the weights themselves for any presence of

15        blood,   correct?

16                          MR.     MITCHELL:      I object to

17                  form.        You can answer.

18                 A        I    can't answer.        I don't know

19        what someone else would do.

20                  Q       Well,      you're familiar with

21        presumptive tests for blood; aren't you?

22                 A        Yes,     but I don't know how far

23        an individual would go.                We had cases where

24        someone forgot to take the grips off a

25        weapon that had blood on it and the weapon



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 1                                          C.   Kosciuk                  149

 2        went to property bureau.

 3                          I    don't know how far someone

 4        would go to examine these items that were

 5        submitted to the section.                I did not do it.

 6                 Q        In the proper course of

 7        examination of a crime scene,               you would take

 8        the dumbbells and you would do a presumptive

 9        test on all parts of it,               the weight itself,

10        the bar,     for the presence of blood,                correct?

11                          MR.     MITCHELL:      Objection.        You

12                  can answer.

13                          MR.     TIPALDO:      Objection.

14                 Q        That's how it works when you do

15        blood spatter analysis?

16                          MR.     TIPALDO:      Objection.

17                          MR.     MITCHELL:      I object to the

18                  form.        You can answer.

19                 A        Yes.       My answer is it depends

20        on the individual that's performing the

21        analysis.

22                 Q        You're saying that sometimes

23        people screw up and they don't do the

24        analysis correctly.             Is that what you're

25        telling us?



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 1                                       C.    Kosciuk                150

 2                          MR.    MITCHELL:     Objection.

 3                 A        No,    I'm saying you don't know

 4        how far an individual would go to maybe

 5        unscrew the bolt and check under the cuff of

 6        the barbell,      that's what I'm saying.            Or

 7        maybe they might not take off this collar,

 8        just check the outer surface and not check

 9        inside the collar for blood.

10                          I can't speak of what another

11        serologist or another person can do or would

12        do.

13                 Q        In the point of view of

14        somebody involved in accident

15        reconstruction,         would the proper course of

16        conduct be to take apart every part of that

17        barbell and swab all of it and do

18        presumptive testing for the purpose of

19        blood?

20                 A        Yes.

21                 Q        As far as you know,          during the

22        course of this case,         that was done?

23                          MR.    MITCHELL:     I   object to the

24                  form.    You can answer.

25                 A        The only reason that I think it



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 1                                           C.    Kosciuk                151

 2        was done is because no blood was found so

 3        therefore,        I   assumed that it was done.

 4                 Q            Okay.

 5                              MR.    MITCHELL:       I appreciate

 6                  your answer.            It's just for the

 7                  record,           we ask you not to assume.           I

 8                  understand your answer that's all.

 9                  You should not guess or assume.

10                              MR.    SCHECK:     I   can ask him to

11                  assume.            He's an expert.

12                              MR.    MITCHELL:       He has not been

13                  called as an expert for this

14                 deposition.             I don't believe we

15                  received Rule 26 for this and I'm

16                  going to object if you're going to

17                  start asking questions under Rule

18                  2 6.

19                              MR.    SCHECK:     Let me do this.

20                  Maybe this will help you,                Brian.

21                  Q           In the course of your work as a

22        blood spatter expert,              right,     in the normal

23        course of business,             you would retrieve items

24        from a crime scene and you would ask

25        serology,        which in this instance,           I guess,



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 1                                      C.    Kosciuk                152

 2        Mr.   Baumann was running;         is that correct?

 3                  A       Yes.

 4                  Q       You would rely on his expertise

 5        to conduct a thorough set of presumptive

 6        tests for the presence of blood?

 7                 A        Yes.

 8                  Q       Are you familiar -- Were you

 9        trained on what those kinds of tests are?

10                 A        Somewhat through prior studies.

11        I'm not at all do I deal with blood.

12                  Q       But even

13                 A        Testing,   I'm sorry.

14                  Q       But even at the crime scene

15        itself sometimes you would have somebody

16        there in your presence,            I take it,   who would

17        do presumptive testing for the purpose of

18        presence of blood?

19                 A        Yes.

20                  Q       So this is a method that you're

21        familiar with?

22                 A        Yes.

23                  Q       And you know that the

24        presumptive tests for blood are extremely

25        sensitive,     correct?



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 1                                          C.   Kosciuk                  153

 2                  A       Correct.

 3                  Q       And by sensitive we mean it has

 4        a greater ability to detect the presence of

 5        blood if it is in deed there?

 6                  A       True.

 7                  Q       Now,      just looking at the crime

 8        scene in the master bedroom,                 right,    and Mr.

 9        Tankleff's statement that he used these

10        barbells to hit his mother,               right,      in the

11        master bedroom,          a number of times about the

12        head when she was in the bed,                 you remember

13        going over that,           correct?

14                 A        Yes.

15                  Q       These barbells,            as you saw them

16        at the time,      are not consistent based on

17        your expertise as a blood spatter expert as

18        having been the instruments that could have

19        been used to inflict those injuries on

20        Arlene Tankleff

21                          MR.     MITCHELL:      I    object to the

22                  form.

23                  Q       -- are they?

24                          MR.     MITCHELL:      You can answer.

25                  A       I    can't rule that out.            I don't



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 1                                        C.   Kosciuk                  154

 2        know what the wounds look like.

 3                  Q       You don't?

 4                  A       No.

 5                  Q       You saw some of the          --   You saw

 6        her body,       you saw the photographs         --
 7                          MR. TIPALDO:        Objection.

 8                  Q       -- in Exhibit 3 of her on the

 9        ground,       correct,   and her body at the scene?

10                  A       Show me where you see that it's

11        consistent with the barbell.

12                  Q       No,    no,   I'm just saying take a

13        look at the photograph of her head,                  right,

14        covered in blood and the bloody scene on the

15        bed.

16                  A       Wait a minute.

17                          MR.    MITCHELL:     Let him ask his

18                  question.

19                  Q        If,   as recited in this

20        confession, Mr.          Tankleff had taken these

21        barbells and hit his mother a number of

22        times while she was lying on her back in the

23        bed about the head

24                  A       Right.

25                  Q        -- right,     would you not have



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 1                                       C.    Kosciuk                155

 2        expected as a blood spatter expert to see

 3        the barbells covered in blood?

 4                          MR.    MITCHELL:     I object to

 5                  form.     You can answer.

 6                 A        To that question I would say

 7        yes.

 8                 Q        Let's take a look at the

 9        autopsy photos.

10                          MR.    SCHECK:     Let's mark as

11                  Exhibit 9 a series of autopsy

12                 photos.

13                          (Whereupon,       Plaintiff's Exhibit

14                  9 was marked for identification.)

15                 Q        Exhibit 9,       seven pages.     Take a

16        look at those and you see from these autopsy

17        photos that there are a series of wounds to

18        Arlene Tankleff's skull,            right?

19                 A        Yes.

20                 Q        On the left side of her head

21        including injury to her ear?

22                 A        Yes.

23                 Q        Now,    by the way,    do you have

24        the expertise from looking at that -- You've

25        attended autopsies before in homicide cases



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 1                                       C.   Kosciuk                156

 2        as part of your analysis of blood spatter

 3        and reconstruction;        have you not?

 4                 A        I've attended all types, many

 5        autopsies.

 6                  Q       Right,   and you attend them to

 7        examine the body as essentially a piece of

 8        the crime scene in order to reach your

 9        conclusions with respect to blood spatter

10        analysis?

11                 A        Not really.

12                  Q       You never do that?

13                 A        No.

14                  Q       You attended the autopsy in

15        this case of Seymour Tankleff;             did you?

16                 A        No,   sir.

17                  Q       Are you sure?

18                          MR. MITCHELL:       I   object to the

19                  form.    You can answer again.

20                  A       To the best of my knowledge,             I

21        did not.

22                  Q       We'll get back to that.           Now,

23        just looking at the head,           would you not

24        agree with me that there are a series of

25        impressions from a blunt instrument on the



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 1                                        C.   Kosciuk                157

 2        left side of the head and the ear of Arlene

 3        Tankleff?

 4                          MR. MITCHELL:         I object to the

 5                  form.     You can answer.

 6                  A       Yes.

 7                  Q       All right.         Now,   in terms of

 8        can you tell or would you know whether these

 9        barbells are consistent or inconsistent with

10        having been the instruments that would have

11        caused those wounds?

12                          MR.    MITCHELL:      I   object to

13                  form.     You can answer.

14                  A       No,    I   can't answer that

15        question.

16                  Q       But if Marty Tankleff's

17        confession,       as printed here in Exhibit 6,              is

18        reliable,     he is saying that he used the

19        barbells that are depicted in Plaintiff's

20        Exhibit 8 and you saw on the crime scene to

21        inflict those wounds to the head of his

22        mother.

23                          MR.    MITCHELL:      I   object to the

24                  form.     You can answer.

25                  A       He does say that,          yes.



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 1                                          C.   Kosciuk                    158

 2                 Q        Now,     based on your experience

 3        as a blood spatter expert,              if he had,          in

 4        fact,   used those barbells that's in

 5        Plaintiff's Exhibit 8,             right,        and inflicted

 6        the injuries to his mother while she was

 7        lying on her back in the bed,                    I   think we've

 8        already established you would expect to see

 9        blood on the barbell itself and/or the bar,

10        correct?

11                          MR.     MITCHELL:         Objection.        It's

12                  been asked and answered.

13                          MR.     TIPALDO:      Note my objection

14                  to form.

15                 A        Yes.

16                  Q       And if Mr.       Tankleff put the

17        barbell down on the bed or on the carpet in

18        the master bedroom,            would not,            based on your

19        expertise as a blood spatter expert,                       that

20        cause a transfer stain?

21                          MR.     MITCHELL:         I   object to

22                  form.        You can answer.

23                          MR.     TIPALDO:      I       join.

24                  A       I    can't answer it because I

25        don't know if there was any blood



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 1                                          C.   Kosciuk                     159

 2        transferred from the head to the barbell.

 3                     Q       Well --

 4                     A       I don't know what end of the

 5        barbell he used.            Did he separate them?                  He

 6        doesn't say.           Did he use with the weights

 7        on?     Does he just use the center portion?

 8        Does he take the collar off,               take the nut

 9        out?     There's two collars laying here.                      I

10        don't know what he did.

11                     Q       Any part of the barbell,

12        whether the weight or the barbell itself was

13        used to inflict the injuries that you have

14        seen now in Plaintiff's Exhibit 9 from the

15        autopsy photos and you saw at the crime

16        scene,       whatever part of the barbell was

17        used,    I       think you've agreed there would be

18        blood on it,          correct?

19                     A       Yes,   there would be some blood.

20                     Q       And if the blood on that

21        instrument then was then put down somewhere

22        in the master bedroom,             whether it was on the

23        bed or the carpet,           right,    based on your

24        expertise as a blood spatter expert,                   would

25        you not expect to see some kind of a



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 1                                      C.   Kosciuk                160

 2        transfer stain?

 3                          MR. MITCHELL:      I   object to

 4                  form.     You can answer.

 5                 A        No.

 6                 Q        You wouldn't?

 7                 A        No.

 8                 Q        Why not?

 9                 A        Because he could use the edge

10        of the barbell and cause this type of wound

11        with just using the edge.           They all appear

12        on the left side.          She could be laying this

13        side does he go on the bed so let's just

14        say.

15                          MR. MITCHELL:      I appreciate

16                  he's asking a question,         but I   ask

17                  that you allow him to finish his

18                  answer.       I appreciate that he's

19                  asking you a question in his answer,

20                  but I   don't think he was done so

21                  just finish your answer,           Detective.

22                 A        To me,   these look like glancing

23        blows and they are from the left side so

24        what I   say right now is she was probably

25        laying on her back and the left side was



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 1                                      C.   Kosciuk                 161

 2        exposed.     The reason why I       say that is by

 3        looking at the bed there's chopped hairs all

 4        about the top of the bed and nothing on the

 5        floor so i t indicated to me that the barbell

 6        occurred on the bed and right here there was

 7        slicing.     There was a scuffle down here on

 8        the floor where she was sliced.

 9                 Q        Now,   when you say that there

10        were       You noticed in the pictures in

11        Exhibit 3 that there was a clump of hair on

12        the bed,     correct?

13                 A        Yes.

14                 Q        Let's talk about that.           First

15        we see from a long view the clump of hair in

16        photograph 13?

17                 A        Right.

18                 Q        Correct?

19                 A        Yes.

20                 Q        And that is a clump of hair

21        that is on the left side of the bed where

22        there is a pooling of blood that you then

23        see goes down to the floor?

24                 A        North side of the bed to the

25        floor.



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 1                                      C.   Kosciuk                 162

 2                  Q      On Exhibit 14,       which is the

 3        exhibit that you marked up previously with

 4        respect to the contents,           the medium velocity

 5        spatter in area A,        you also see that hair,

 6        correct?

 7                  A      Yes.

 8                  Q      And now let's look at

 9        photograph 15 and this would be the close-up

10        shot,    correct?

11                  A       Yes.

12                  Q      And i t ' s clear that you would

13        not agree that somebody was trying to take a

14        close up picture of this pooling on the left

15        side of the bed and the hair,           correct?

16                  A       Well,   actually,    that was taking

17        the pooling.        They were trying to capture

18        both of these tags.         Item 19 and 23 that's a

19        hair in here.        They were trying to capture

20        both of those,       not the pooling.

21                  Q       So they were looking at the

22        hairs,    correct?

23                  A       Yes.

24                  Q       And looking at this hair so

25        that would be this clump of hair would be



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 1                                       C.    Kosciuk                163

 2        item 19?

 3                 A        I believe so,       yes.

 4                 Q        And you can see on the top of

 5        it,   it appears to be a cut edge,             correct?

 6                 A        Yes.

 7                 Q        Right.     And so that cut edge

 8        would be consistent with a knife being used

 9        on the head,      wouldn't it?

10                          MR.    MITCHELL:     I   object to

11                  form.    You can answer.

12                 A        That could be.

13                 Q        Well,    isn't that far more

14        likely based on your experience than using a

15        blunt instrument like a barbell to cause

16        that kind of clean edge on the hairs,                that

17        clump of hairs,         that we see in photograph 15

18        and you've identified as item 19 from the

19        crime scene?

20                          MR.    MITCHELL:     I   object to

21                  form.    You can answer.

22                          MR.    TIPALDO:     Objection.

23                 A        Repeat the question.

24                  Q       Sure.     Isn't it more likely

25        that that clump of hair,            given the straight



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 1                                        C.   Kosciuk               164

 2        edge on the top,         correct,     clean edge on the

 3        top,    is the result of a knife being used on

 4        Arlene Tankleff's head as opposed to a blunt

 5        instrument such as the barbell?

 6                          MR. MITCHELL:         I object to

 7                  form.    You can answer.

 8                          MR. TIPALDO:        Objection.

 9                  A       I can't answer that.          That

10        would be a question for the medical

11        examiner.

12                  Q       You never analyzed hairs --

13                  A       No.

14                  Q             in the course of your

15        analysis of the crime scene?

16                  A       No,   narcotics firearms and

17        accidents reconstruction.

18                  Q       All right.         You were saying

19        before and you were pointing to,               let's just

20        be clear,     Exhibit 8,       and you were talking

21        about potentially the blood being on the

22        very top of the barbell; is that what you

23        said?

24                  A       No,    I   said the very top of the

25        bar could be used;           therefore,   there would



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 1                                          C.   Kosciuk                 165

 2        not be that much transfer from the head to

 3        the bar.       Therefore,       I would not expect to

 4        have an impression any other place.

 5                  Q       Let's just back up a second

 6        because we used some terms a little quickly

 7        here.

 8                          The term transfer stain,              what

 9        does that mean?

10                  A       I    didn't say stain.         I said

11        transfer of blood from the bar to the head.

12                  Q       I    asked you a different

13        question.       You were answering a question

14        before.       Let's define our terms.

15                          What does the term transfer

16        stain mean?

17                  A       A transfer stain would be a

18        stain that if you had a bloody instrument

19        and you laid it on something the blood from

20        the instrument would be transferred to

21        another surface.

22                  Q       Let us assume now,          based on

23        your expertise as a blood spatter expert,

24        that the weight of the barbell was actually

25        used to inflict injuries to Arlene



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 1                                        C.   Kosciuk                    166

 2        Tankleff's head in the master bedroom.                     Do

 3        you have that assumption in mind?

 4                 A        Not really.

 5                 Q        I'm just asking you to make it.

 6        Can you do that?

 7                 A        You did not tell me that,           yes.

 8        I have it now.

 9                 Q        Okay.    I'd ask you to further

10        assume that the barbell was then placed down

11        either on the bed or on the carpet or ln

12        some other place in the bedroom when,

13        according to Mr.        Tankleff,     he then goes to

14        the kitchen to get the watermelon knife and

15        then come back and stab his mother.                You

16        have that ln mind?

17                 A        No,   wait.    Let's go over it

18        again.

19                 Q        Sure.

20                 A        We have the barbell and the

21        weight on the barbell or just the weight?

22                 Q        I'm going to start by asking

23        you just about the weight?

24                 A        Okay.    Go ahead.

25                 Q        We agree that in this



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 1                                      C.   Kosciuk                  167

 2        confession he describes first hitting his

 3        mother with the dumbbell,          correct?

 4                 A        Dumbbell,   yes.

 5                 Q        And then going back into the

 6        kitchen,     getting the watermelon knife,

 7        coming back into the bedroom,            and then

 8        stabbing her,      correct?

 9                 A        Right.

10                 Q        Now,   we were talking before and

11        you agreed with me that if the dumbbell had

12        been used as the blunt force instrument to

13        cause injuries to Arlene Tankleff's head

14        that i t would be covered in blood whatever

15        part of i t was used,       correct?

16                 A        Yes.

17                 Q        Now,   I was asking you questions

18        before about transfer stains,            okay?

19                 A        Yes.

20                 Q        And the assumption of those

21        questions is that if,         as this confession

22        indicates,     he went to the kitchen,           right,

23        with the bloody dumbbell,            right,   got the

24        watermelon knife and then came back to stab

25        his mother,     okay,    are you with me?



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 1                                       C.    Kosciuk                 168

 2                  A       Yes,    he's carrying the

 3        dumbbell.

 4                  Q       Either A,    he could be carrying

 5        the dumbbell,      correct?

 6                  A       Yes.

 7                  Q       Then wouldn't you expect as he

 8        was carrying the dumbbell from the master

 9        bedroom to the kitchen,             right,    that that

10        could cause a blood trail;             that blood could

11        come off the dumbbell and would be on the

12        ground?

13                          MR.    MITCHELL:      I    object to

14                  form.    You can answer.

15                  A       Well,    here's my

16                          MR.    MITCHELL:      Just answer his

17                  question.       Listen to his question

18                  and answer his question.              He asked

19                  you a specific question,             just answer

20                  the question.

21                  A       Okay.     The lack of castoff,            we

22        know she's bludgeoned at this time.                 The

23        lack of castoff in the room indicates that

24        the weapon did not have that much blood on

25        it.    In other words,        we know there's several



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 1                                      C.   Kosciuk                  169

 2        strikes here to the head.

 3                 Q      You're looking at Exhibit A and

 4        you see several strikes to the head,

 5        correct?

 6                 A      Yes.      And there's no castoff

 7        anyplace except that one microdot up on the

 8        northeast corner.         I'm sorry,    east wall.

 9        There's a number three microdot.

10                 Q      You don't think that there's

11        any medium velocity blood spatter on --

12                 A        That could be from impact.               You

13        said that yourself,        that's impact.          In other

14        words,   compression blood could cause that

15        blood.

16                 Q        On the bed?

17                 A        Okay,   but how about the

18        castoff?     If you're saying the instrument is

19        that bloody,      the father's room has it,           it's

20        up on the ceiling.         Where is i t in the

21        mother's room?

22                 Q        So you're saying you see no

23        evidence of medium velocity blood spatter

24        that could be consistent with using the

25        dumbbell on her head in the bed as described



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 1                                      C.   Kosciuk                  170


 2        in this confession?

 3                  A       No,   I didn't say that neither.

 4        I said we don't know what portion of the

 5        dumbbell was used to cause this.              It could

 6        be the end of the dumbbell,          the end of the

 7        bar.    There's a poke more than a

 8        bludgeoning.

 9                  Q       If the actual end of the

10        dumbbell

11                  A       Now you're pointing to the

12        weight.

13                  Q       If the weight of the dumbbell

14        had been used,      right --

15                  A       No,   I don't think the weight

16        can cause this type of an injury that cuts.

17        It would have to be a sharp edge.              So let's

18        say they left the collar on it,            that's a

19        possibility.

20                  Q       Let's just take it one step at

21        time.     Based on your expertise,         you don't

22        believe that the dumbbell weight could have

23        been used here,         correct?

24                  A       That's correct.

25                  Q       So you think it was the



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 1                                      C.    Kosciuk                  171

 2        dumbbell bar?

 3                 A        And possibly if the collar was

 4        left on possibly.

 5                 Q        So if the dumbbell bar or the

 6        tip had been used to inflict the injuries to

 7        Arlene Tankleff's head,            right,    that would be

 8        covered in blood; we agree on that,                  correct?

 9                          MR.   MITCHELL:      I    object to the

10                  form.    He has not agreed to being

11                  covered in blood.

12                 Q        It would be bloody?

13                 A        It would have some blood on it.

14                          MR.   SCHECK:     Off the record.

15                          THE VIDEOGRAPHER:           Off the

16                  record at 1:58 p.m.

17                          (At this time,      a brief recess

18                 was taken.)

19                          THE VIDEOGRAPHER:           This is the

20                  beginning of Tape 4.              Back on the

21                  record at 2:53 p.m.              You may

22                  proceed.

23                  Q       So where we left off Mr.

24        Kosciuk,      we were talking about blood on the

25        barbell.      Assuming that what Mr.           Tankleff



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 1                                       C.   Kosciuk                  172

 2        said in his confession to Detective McCready

 3        were true,       are you with me?

 4                  A       Yes.

 5                  Q       And you were saying that if

 6        there were -- You thought it likely that the

 7        wounds were made by the end of the barbell

 8        that you saw in terms of the autopsy

 9        photographs of Arlene Tankleff?

10                  A       Yes,    Exhibit 9.

11                  Q       Let's get back to this content

12        of the transfer stain.

13                  A       I didn't say they were,           I said

14        they were consistent with.

15                  Q       I understand.        You said it was

16        more likely that it was the edge of the

17        barbell,      assuming that that was actually the

18        instrument used,         than it would have been the

19        round dumbbell itself,          correct?

20                  A       Yes.

21                  Q       Okay.     Now,    just so we're

22        clear,    there was no evidence that you saw,

23        and let's go back here to the model for a

24        second,       there was no blood that you saw from

25        the master bedroom to the kitchen where the



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1                                        C.   Kosciuk                 173

2         watermelon knife was,         correct?

 3                         At that crime scene you did not

 4        see any blood trail or blood drops at all?

 5                 A        No,    I did not.

 6                 Q        If there were any blood on the

 7        tip of the barbell,         and if this confession

 8        is accurate and reliable,            and further,      if

 9        Mr.   Tankleff,    after first bludgeoning his

10        mother with the barbell,            went to the kitchen

11        to pick up the watermelon knife and then

12        came back as the confession says --

13                 A        Carrying the barbell?

14                  Q       Yes,    we're under the assumption

15        carrying the barbell.           There was no evidence

16        of any blood droplets between the master

17        bedroom,      the kitchen area and back,            right?

18                  A       That's correct.

19                          MR.    TIPALDO:     Objection.

20                  Q       In terms of transfer stains,

21        there is nothing that would even reflect the

22        tip of the barbell,         assuming that was what

23        was used,      and that was covered with blood

24        being placed on the bed and creating a

25        transfer stain,          being placed on the carpet



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 1                                      C.    Kosciuk                174

 2        in the master bedroom,        or any other object

 3        in the master bedroom that you saw that

 4        would reflect a transfer stain of blood on

 5        the tip of the barbell contacting some

 6        surface?

 7                          MR.   MITCHELL:     I object to the

 8                  form.    You can answer.

 9                 A        I never examined all the bed

10        clothing.     We recovered it and it was

11        transported to the serology section and what

12        you're saying is they would have been the

13        ones if they saw anything like that.

14                 Q        In terms of blood spatter,

15        right,   the examination of the sheets,             right?

16                 A        Right.

17                 Q        You saw nothing that looked

18        like a transfer stain from the tip of a

19        barbell or from the cylindrical length of a

20        barbell?

21                 A        I didn't look for that at the

22        scene.

23                 Q        To your knowledge,      nobody

24        identified anything like that?

25                 A        To the best of my knowledge,



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 1                                       C.    Kosciuk                    175

 2        no.

 3                 Q        Right.     But from the point of

 4        view of a blood spatter expert trying to

 5        test the hypothesis reflected in this

 6        confession if it happened as Mr.                  Tankleff

 7        has reported to have confessed it happened,

 8        right,   and the bloody barbell,                and I ' l l take

 9        your assumption that it would be the tip of

10        the barbell,      as far as you know,             nobody

11        reported seeing any kind of transfer stain

12        on the bedding,         on the carpet or any other

13        object in the master bedroom?

14                          MR.    MITCHELL:        I    object to the

15                  form.    You can answer.

16                          MR.    TIPALDO:     I       join.

17                 A        To my knowledge,             I did not read

18        all the reports from the laboratory,                   but no,

19        as far as I'm concerned.

20                 Q        Now,    as far as the kitchen

21        itself is concerned,         if the barbell had been

22        carried to the kitchen and even to stick

23        with your assumption that the end of it was

24        the instrumentality that was used for the

25        bludgeoning and there was blood on it,                     there



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1                                          C.   Kosciuk                 17 6

2         is no evidence that that barbell was put on

 3        the counter while the knife was ceased or

 4        anything like that,         no transfer stains of

 5        that nature were seen in the kitchen?

 6                         MR.     MITCHELL:         I object to

 7                 form.     You can answer.

 8                         MR.     TIPALDO:      I    join.

 9                 A       That's correct,           no blood was

10        found.

11                 Q       Now,     let's talk about following

12        the confession Mr. Tankleff says that,                   and

13        I'm directing your attention again to the

14        first paragraph on Page 12,                he says,   "he was

15        afraid his father would wake up and that

16        after she fell on the floor he ran and got a

17        knife from the kitchen and cut her throat."

18        Do you see that?

19                  A       Yes.

20                  Q       You have -- Take a look at

21        Exhibit 9 in terms of the autopsy photos and

22        you see pictures 5,         6,    and 7 reflect --

23                  A       Slicing.

24                  Q       Slicing,       you would call that.

25        That's what you would characterize it as?



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 1                                        C.    Kosciuk               177

 2                 A        Slicing.

 3                 Q        A pretty substantial slicing in

 4        her upper back,       correct?

 5                 A        Correct.

 6                 Q        And a slicing of her --

 7                 A        Neck.

 8                 Q        -- neck that extends from below

 9        the ear,     in this picture at least number 5

10        into behind her scalp,          correct?

11                 A        Yes.

12                 Q        Now,     if from a blood spatter

13        expert point of view if Arlene Tankleff is

14        on the ground,       okay,    and then naked now,           you

15        recall that Mr. Tankleff's confession says

16        he is naked doing all this,             correct?

17                 A        Yes,     he does.

18                 Q        So coming back now and

19        inflicting these wounds when she's lying in

20        the ground,       right,    can you think of how he

21        would be able to get to her back and her

22        neck to inflict these wounds if she is lying

23        on the ground?

24                          MR. MITCHELL:         I object to

25                  form.     You can answer.



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 1                                       C.   Kosciuk                  178

 2                          MR.    TIPALDO:    I   join.

 3                  A       How do we know that that

 4        occurred on the ground?

 5                  Q       Well,    I'm only going to -- The

 6        confession says he got the knife from the

 7        kitchen and cut her throat,              correct?

 8                  A       Right.

 9                  Q       So there is no knife to inflict

10        either the wounds to the back or the wound

11        to the neck?

12                  A       Oh,    he's saying he only cut her

13        throat,       is that what you're saying,           and we

14        have wounds to the back that he does not

15        mention?

16                  Q       No,    I'm saying,     if you look at

17        the confession,         first he describes hitting

18        her with the barbell?

19                  A       Yes.

20                  Q       Then he returns into the

21        kitchen and when he comes back with the

22        knife to inflict the injuries from a                 knife,

23        right,    he says that she had fallen on the

24        floor.

25                  A       Right.



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 1                                      C.    Kosciuk                 17 9

 2                 Q        Okay.

 3                 A        She could be next to the bed on

 4        the north side with the head facing east and

 5        still alive,      possibly.

 6                 Q        He indicates that she was

 7        alive.       In fact,    he said in this confession,

 8        no,   she was even moving a little bit when he

 9        ran out of the bedroom to kill the father.

10        You saw that,      right?

11                 A        Yeah,   you just read it.

12                  Q       Okay.    Yes,    what we're doing is

13        trying to analyze.          Given your expertise as

14        a blood spatter expert,            I understand nobody

15        ever asked you,         homicide detectives or

16        district attorneys,         to look at this

17        confession and compare it to the evidence at

18        the crime scene.

19                 A        That's right.

20                  Q       So I'm trying to go through

21        that exercise with you now based on your

22        expertise.       So why don't we take a look at

23        photo 23.

24                 A        Well,   let's look at.

25                          MR.   MITCHELL:     I'm sorry.



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 1                                          C.    Kosciuk                  180

 2                 A        Let's look at 22.

 3                          MR.     MITCHELL:       Wait.   Chuck,         He

 4                 has not asked you a question.

 5                          THE WITNESS:           I thought he did.

 6                          MR.     MITCHELL:       I don't know.

 7                 And if he did,           I    object to the form

 8                 of it.

 9                 Q        Well,      I   don't want to,        in any

10        way -- You've been thinking about this over

11        lunch and looking at the pictures?

12                 A        No,     I'm trying to answer the

13        question that you said.                He says he comes

14        back and she's on the floor.

15                 Q        That's correct?

16                 A        I    kind of agree with that.                 Her

17        head is in an easterly direction because we

18        have quite a lot of pooling here and then

19        now all of a sudden she's facing in a

20        westerly direction so yes,               she could still

21        be alive and fighting it.

22                 Q        So you're now referring to

23        photograph 22,          correct?

24                 A        Right.

25                 Q        And you're referring to pooling



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 1                                       C.    Kosciuk                181

 2        on the floor where her right leg is,

 3        correct --

 4                  A       Right.

 5                  Q       -- in this photograph.           And now

 6        let's turn to 23,         okay,     and that depicts

 7        Arlene Tankleff where she was found dead on

 8        the floor,      right?

 9                  A       Yes.

10                  Q       And you say what direction is

11        that?

12                  A       That would be west.

13                  Q       West.     All right.     Now

14                  A       Head west.

15                  Q       Head west.        So looking at these

16        crime scene photos and assuming that Mr.

17        Tankleff's confession is true that she was

18        on the floor and then he was inflicting the

19        wounds with the knife to her back and her

20        throat.       Can you give us your interpretation

21        in terms of blood patter as to the mechanism

22        as to how those injuries would occur?

23                          MR.    MITCHELL:     I object to

24                  form.    You can answer.

25                  A       First of all,       I don't see one



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 1                                       C.   Kosciuk                     182

 2        to the throat.           Do you see a throat cut?

 3                          MR. MITCHELL:          Chuck,      don't ask

 4                  him questions.        Answer his questions

 5                  if you can answer.

 6                  Q       You're pointing now to 23 which

 7        is the photograph showing her lying on the

 8        ground,    correct?

 9                  A       That's correct.

10                  Q       Right.     So my question to you

11        is,   given this confession,         right,          and she

12        was lying on the ground after being hit with

13        a barbell on the bed,          right,        where she

14        started lying on her back that's what this

15        says,    correct?

16                  A       Right.

17                  Q       Now,    when he comes back with

18        the knife given that the cuts as we've

19        examined from the autopsy photos are to her

20        back and to her neck,          looking at the crime

21        scene,    by what mechanism would that occur?

22                          MR. MITCHELL:          I    object to the

23                  form.

24                          MR.    TIPALDO:    I       join.

25                  A       Can you define mechanism for



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 1                                          C.   Kosciuk                  183

 2        me?

 3                  Q       Would it be fair to say that

 4        given where her final resting place is,

 5        right,   she would have to be sitting up or

 6        she would have be to picked up in order to

 7        have that injury to her back with the knife?

 8                          MR.     TIPALDO:      Objection.

 9                          MR.     MITCHELL:      I object to the

10                  form.

11                 A        I    thought we just decided that

12        it's possible that she could have rolled off

13        the bed and ended up on her chest and

14        therefore,     she's now having her back exposed

15        and he comes along and starts fighting her

16        with the knife.            I also see a stab wound

17        here on the back.

18                  Q       Okay.

19                 A        And she's still alive and she

20        ends up trying to turn around and maybe even

21        trying to get out of the room,                I don't know.

22                  Q       Okay.       So from looking at this

23        one scenario you think is consistent with

24        the blood spatter evidence is that she fell

25        off the bed,      she was on her stomach?



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 1                                       C.   Kosciuk                184

 2                  A       Chest,    stomach.

 3                  Q       Then the injuries with the

 4        knife were inflicted to her back and her

 5        neck and you indicated also a stab wound to

 6        the back,     correct?

 7                  A       Correct.

 8                  Q       And those are consistent with

 9        somebody having a knife and Arlene being on

10        her stomach,      correct?

11                          MR.   MITCHELL:      I   object to the

12                  form.

13                  Q       That's what you're suggesting?

14                          MR.   MITCHELL:      No,   that's what

15                  you're suggesting.           I   don't know

16                  that he's answered that.             I object

17                  to the form.

18                  Q       Are you suggesting that?

19                  A       It's consistent with that,            yes.

20                  Q       By the way,       given these stab

21        wounds it would also be consistent,                would it

22        not,    if somebody,       right,   not talking about

23        Mr.    Tankleff now,     but if somebody were to

24        have attacked Arlene Tankleff while she was

25        lying on her stomach on the bed,               all right,



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 1                                      C.    Kosciuk                185

 2        initially they could have inflicted the

 3        wounds in the same fashion as you're

 4        suggesting could have happened with her on

 5        the floor,     correct?

 6                          MR.   MITCHELL:     I object to the

 7                  form.       You can answer.

 8                 A        I   can't tell where those cuts

 9        in the back.

10                 Q        You can't tell where but what

11        you were just saying a second ago,            if I

12        understood you correctly,           consistent with

13        Mr.   Tankleff's confession,         then a likely

14        scenario is that she would have fallen off

15        the bed,     she would have been on her stomach

16        and then attacked while she was on her

17        stomach with the knife wound,           correct?

18                 A        That's a possibility,       sure.

19                 Q        And that's because these knife

20        wounds given their configuration are

21        consistent with her having been on her

22        stomach and being attacked from above while

23        she's lying on her stomach?

24                          MR.   MITCHELL:     I object to

25                  form.



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 1                                       C.    Kosciuk                18 6

 2                 Q        Is that correct?

 3                 A        Yes.

 4                          MR.    MITCHELL:       For the record,

 5                 my objection is to form and that all

 6                 of these questions require the

 7                 witness to speculate.

 8                          He's answering about things

 9                 that-- He's answering based on this

10                 is his testimony today.

11                          MR.    SCHECK:     Yes.

12                          MR.    MITCHELL:       I   object to the

13                 entire line of questioning as i t ' s

14                 entirely speculative.               You can keep

15                 going.

16                          MR.    SCHECK:     I   understand.

17                 Q        Now,    in following up on your

18        statement that in terms of reconstructing

19        the crime scene consistent with the

20        confession,     if Mr.     Tankleff came back,         as

21        you're suggesting,         with the knife and

22        inflicted these wounds that we see in the

23        autopsy photographs while Arlene Tankleff

24        was on her stomach having rolled off the

25        bed,   would you expect that parts of his body



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 1                                      C.       Kosciuk                  187

 2        would be covered in blood after having

 3        inflicted these knife wounds?

 4                          MR.   TIPALDO:        Objection.       This

 5                 witness is not suggesting.                   It's

 6                 what the confession states.                   He is

 7                 not suggesting that he came back

 8                 with a knife,       that's what the

 9                 confession states.

10                          MR.   SCHECK:        We understand

11                 that.

12                          MR.   TIPALDO:        No,    but.

13                          MR. MITCHELL:          You have to

14                 clarify it for the record.                   It's

15                  your question when you --

16                          MR.   TIPALDO:        Objection to

17                  form.

18                          MR. MITCHELL:          Objection to the

19                  form and,      right,    I   don't want to do

20                 a speaking objection.                You can

21                 answer.        Listen to his question,

22                 answer his question.                 Pause because

23                 most likely I will be objecting.

24                 Q        You understand my question?

25                 A        No,   give it to me again.



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 1                                       C.   Kosciuk                 188

 2                  Q       Sure.   We went over together,

 3        right,    the crime scene evidence and Mr.

 4        Tankleff's confession insofar as he came

 5        back when she had already "fallen on the

 6        floor," right,      and then used the knife to

 7        inflict the wounds that we see on her back

 8        and on her throat,        correct?

 9                  A       Yes.

10                  Q       All right.        And as we discussed

11        that,    and I asked you consistent with the

12        crime scene evidence how could that occur,

13        right,    you said that one way that it could

14        have occurred is that she rolled off the

15        bed,    was on her stomach,         and then he took

16        the knife and inflicted the wounds to the

17        neck and back while she was on her stomach,

18        correct?

19                  A       I did say that,       yes.

20                  Q       And then,    in this scenario she

21        would have gotten up,         struggled,       and then

22        fallen to the ultimate resting place that we

23        see her on the side of the bed?

24                          MR. MITCHELL:        Objection to the

25                  form.    You can answer.



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 1                                          C.   Kosciuk                189

 2                          MR.     TIPALDO:      Objection.

 3                  A       Or crawled or whatever,            yes,    to

 4        where she's found.

 5                  Q       Given that scenario,            based on

 6        your expertise in blood spatter,                 would you

 7        not agree that if that's the way it occurred

 8        that Mr.       Tankleff would be -- blood would

 9        has transferred to him from the infliction

10        of these wounds and from being on the

11        ground,       you know,    over her doing the

12        cuttings?

13                          MR.     TIPALDO:      Objection.

14                          MR. MITCHELL:          Objection to

15                  form.     You can answer.

16                  A       I can answer?

17                  Q       Yes.

18                  A       Okay.         I would suspect that Mr.

19        Tankleff would have blood on him if the

20        bludgeoning took place on top of the bed and

21        he used,       let's say,       the barbell.      I would

22        expect blood to be splattered back onto him.

23                          The knife wound,         now,    if that

24        type of a beating,          I    don't know how her

25        blood pressure is,          okay,      and if she's near



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 1                                        C.   Kosciuk              190

 2        death then I would not expect not a

 3        tremendous amount of blood to bleed out

 4        about her.       You follow what I'm saying?              If

 5        you're near death,          you won't get the

 6        pressure from the blood.

 7                             So the beating with the barbell

 8        I would,      yes,    maybe not so much from the

 9        cutting that he would get               He does not

10        even have to be near her,            he could stand

11        over her.       And how much alive she was,          I

12        have no idea.

13                 Q           To the extent that he was in

14        contact with her body when he did the

15        stabbing in this scenario,            blood is likely?

16                 A           He never said he was in

17        contact --

18                             MR. MITCHELL:     Let him finish

19                  his question.

20                  Q          If i t ' s unclear from this

21        confession how this happened,            right,   but

22        we're just looking at the crime scene

23        evidence and trying to do a reconstruction,

24        right,   of blood patter given the statements

25        that he made,         right,   and would you not agree



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 1                                       C.   Kosciuk               191

 2        in the reconstruction you're suggesting

 3        looking at the crime scene evidence and the

 4        confession that if he carne into contact with

 5        her body,     right,    when he was inflicting

 6        these wounds with the knife,            there would be

 7        a transfer of blood from her back or where

 8        she was bleeding to his body?

 9                          MR.   MITCHELL:     I object to the

10                  form.     It's been asked and answered.

11                 You can answer again.

12                          MR.   TIPALDO:     Objection to

13                  form.

14                 A        If Mr.   Tankleff ended up with

15        body contact with her and she was full of

16        blood,   not so much from the cutting but the

17        fact that she was full of blood,              I would

18        expect blood to transfer back to Mr.

19        Tankleff.

20                  Q       And when you say transfer,

21        you're indicating to his torso and body?

22                  A       Wherever,    right.

23                  Q       You know -        You're aware that

24        there were defensive wounds to Arlene

25        Tankleff,     both contusions and cuts on her



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 1                                          C.   Kosciuk                  192

 2        arms?

 3                 A        Yes.

 4                 Q        All right.           If there was a

 5        struggle with defensive wounds where she was

 6        being cut,     right,       and he had a knife in this

 7        scenario,    there would tend to be castoff or

 8        blood spatter on him as the fighting took

 9        place,   that would be your expectation as a

10        blood spatter expert?

11                          MR. MITCHELL:           I object to the

12                  form.        You can answer.

13                 A        I would qualify that to the

14        point with how dead or how near to death she

15        is,   how much transfer;           in other words,        how

16        much blood would be shooting out of her

17        based on those defensive wounds.

18                 Q        Well,      if there are defensive

19        wounds with cuts,           and she's already been

20        bludgeoned about the head,               right,   if there's

21        cuts that means he has already come back

22        with the knife,          correct?

23                          MR.     MITCHELL:       Objection to

24                  form.

25                 A        I    think you misunderstood what



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 1                                       C.    Kosciuk               193

 2        I said.       In other words,       if she is near

 3        death,    I would expect less bleeding from

 4        those wounds.       Is that -- Did I make myself

 5        clear?

 6                  Q       So there would be blood spatter

 7        but if she's near death it would be less of

 8        it?

 9                  A       I did not say blood spatter,

10        you did.      Some type of transfer.

11                  Q       Transfer.     And you say the

12        closer she would be to death the less

13        transfer you would expect?

14                  A       Yes.

15                  Q       But if there was a vigorous or

16        lengthy struggle,         you would expect more

17        transfer?

18                          MR.    MITCHELL:     Objection to

19                  form.    You can answer.

20                  A       There again.        It depends on how

21        close or near she was to death.                If there

22        was a tremendous struggle and she's rolling

23        around with him on the floor,            yes,    I would

24        expect that there would be a tremendous

25        amount of transfer.



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 1                                         C.   Kosciuk             194

 2                  Q          Now,    let's move on in the

 3        confession.

 4                  A          Sure.

 5                  Q          He next says,     "I asked him if

 6        his father was still in the office.               He

 7        said,    yes,       his father was still in the

 8        office.           He said he was sitting at his desk.

 9        He said his father was awake now and asked,

10        "What are you doing?"             I asked him if he

11        went in there naked.             He said he was still

12        naked.        I    asked him what he did with the

13        knife and the dumbbell.               He said he walked

14        in with the knife on the dumbbell behind his

15        back.     I       asked him what he did first,      cut

16        his throat or hit him,            he said he got behind

17        his father and hit him with the barbell

18        first."           Okay?

19                  A          Yes.

20                  Q          Now,    going back to the diagram,

21        Exhibit 1.

22                  A          Okay,    the master bedroom.

23                  Q          The master bedroom is all the

24        way -- In what direction is the master

25        bedroom?           We're looking at Exhibit 1.



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 1                                       C.    Kosciuk                195

 2                 A        North is to the top of the

 3        page.

 4                 Q        So this would be to the

 5        northeast,    correct?

 6                 A        Correct.

 7                 Q        So the master bedroom is all

 8        the way on the northeast side of the house,

 9        correct?

10                 A        That's correct.

11                 Q        And so according to this

12        confession, Marty Tankleff naked,              correct?

13                 A        Yes,    as far as the confession,

14        yes.

15                 Q        Right,    and your expectation as

16        a blood spatter expert,             he would have

17        however this bludgeoning and stabbing

18        occurred -- would have blood on his person,

19        correct?

20                          MR.    MITCHELL:     I object to the

21                  form.     In the first place,        he is not

22                  here as an expert Rule 26 and you're

23                 asking hypotheticals that,            I think,

24                 go beyond what he is here for.

25                          MR.    SCHECK:     You made that



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 1                                      C.    Kosciuk                  196

 2                  objection.      So I'm going to direct

 3                  him to answer because I think he's a

 4                  blood spatter expert and he was

 5                  never asked to opine about this so

 6                  I'm asking him to opine now.

 7                         MR.    MITCHELL:     It's not

 8                  re1event what his opinion is.

 9                  That's the point.         It's something

10                  you're making up scenarios and we

11                  could be here all day where you

12                  could say,     if the guy had blood on

13                  his feet and the guy had blood on

14                  his ears.

15                         You're just making up facts and

16                  asking him what's his opinion and

17                  i t ' s an improper way of doing it.

18                         You know what,       I   object.      You

19                  can answer the question.

20                         MR.    TIPALDO:     I object.

21                 Q       Now,    by the way

22                         MR.    MITCHELL:     If you want to

23                  just ask him was there any blood

24                 between the bedroom and where he is,

25                  that would make sense instead of the



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 1                                       C.    Kosciuk                      197

 2                  lead up by reading something that he

 3                 has not seen before and then you're

 4                 not even formulating a question

 5                  from.     You read from it and then

 6                  say,    now,   let me ask you something.

 7                          That's the point of my

 8                 objection.        The way you're asking

 9                  the questions are improper and

10                 basically amount to nothing more

11                  than pure         and it's not even a

12                  hypothetical expert response.                 It's

13                 entirely speculative.               Go ahead.

14                          MR.    SCHECK:     I   don't think it

15                  is.

16                          MR.    MITCHELL:       I   know you

17                 disagree with me.

18                 Q        By the way,       when you have

19        discussions with homicide detectives at

20        crime scenes and a discussion of blood

21        spatter and reconstruction,              right,   when they

22        talk to you about it,         would they ask you a

23        question if a perpetrator did action A,                       B

24        and C,   is that consistent with the blood

25        spatter you see at the scene,                right?



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 1                                      C.    Kosciuk                   198

 2                          MR.   MITCHELL:     I   object to the

 3                  form.    You can answer.

 4                 Q        They ask you questions like

 5        that?

 6                 A        No.    They don't.

 7                 Q        No one ever asked you a

 8        question like that?

 9                 A        No.    We usually tell them

10        what's going on.

11                 Q        But sometimes they will propose

12        scenarios of what might have happened based

13        on other evidence they have,              correct?

14                          MR.   MITCHELL:     Objection to the

15                  form.    You can answer.

16                 A        Not to my knowledge.         They have

17        not asked me.

18                 Q        It's never happened?

19                 A        No.

20                  Q       What about district attorneys,

21        have they ever asked you questions like

22        that?

23                          MR.   MITCHELL:     I   object to

24                  form.    You can answer.

25                 A        Different scenarios,        yes,      they



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 1                                      C.   Kosciuk                  199

 2        have.

 3                  Q       And you did that in this case

 4        too,    right?    You gave a whole scenario about

 5        how you thought the murder occurred in the

 6        office with the knife and the barbell and

 7        Seymour Tankleff,         right?

 8                          MR. MITCHELL:         I    object to the

 9                  form.    You can answer.

10                          MR.   TIPALDO:    I       join.

11                  A       I don't think I           ever mentioned

12        the barbell in the testimony.

13                  Q       Well,    a blunt force object and

14        a knife?

15                  A       Right.     I don't think I

16        mentioned the knife in that testimony.

17                  Q       You did not mention the knife?

18                  A       Yeah.

19                  Q       Well,    you opined about

20        instruments that could have been used to

21        cause injuries in the office and castoff and

22        blood spatter patterns on the chair,                on the

23        ceiling,      all around,    correct?

24                          MR. MITCHELL:         Objection.      Just

25                  for clarification,        during his trial



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 1                                       C.    Kosciuk                200

 2                 testimony,        that's what you're

 3                 talking about?

 4                 Q        Yes,    you did that during the

 5        trial,   right?

 6                          MR.    MITCHELL:     Objection.

 7                 Q        You did that during the trial?

 8                          MR. MITCHELL:        Wait.   I'm going

 9                  to renew my objection.           If you want

10                 to ask him about trial testimony,

11                 ask him a question and answer.

12                 That's the proper format.             To simply

13                 ask a broad,        you said this at the

14                  trial,    is improper.

15                          MR.    SCHECK:     How about this,

16                  Brian -- I don't think it's

17                  improper,       but Ill try it this way.

18                          MR.    MITCHELL:     Don't patronize

19                 me,   sir,      please.

20                 Q        Before you testified at the

21        trial,   you sat down with the prosecutor;

22        didn't you?

23                 A        Yes.

24                 Q        You went over your trial

25        testimony;     didn't you?



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 1                                       C.    Kosciuk                  201

 2                 A        Yes.

 3                 Q        And in the preparation of your

 4        trial testimony didn't he ask you questions

 5        about if given the crime scene evidence if

 6        Marty Tankleff came from behind and engaged

 7        in this action or that action,              would that

 8        account for castoff for other blood spatter

 9        patterns on the chair,         on the phone,          on the

10        desk,   et cetera?        You had that kind of

11        discussion with the prosecutor; didn't you?

12                          MR.    MITCHELL:     I   object to the

13                  form.    You can answer.

14                 A        No.

15                 Q        You didn't?

16                 A        No.

17                 Q        You mean what happened was is

18        that you sat down with the prosecutor and

19        you said to him without any interchange of

20        question and answer,         here's how it happened?

21                          MR.    MITCHELL:     I object to the

22                  form.    You can answer.

23                 A        Yes.

24                  Q       Now,    then humor me,       okay

25                          MR. MITCHELL:        I object.        Wait.



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 1                                       C.   Kosciuk                  202

 2                  I'm just objecting to the phrase

 3                  "humor me."

 4                          MR.    SCHECK:    I will withdraw

 5                  that.

 6                          MR. MITCHELL:       I   know it's

 7                  getting late and all that baloney

 8                 but ask him questions.

 9                          MR.    SCHECK:    I withdraw that.

10                  I mean you can continue objecting if

11                  you want,      Brian.     You have your

12                  objections that this is an improper

13                 use of him as an expert and I think

14                  that I'm allowed to do this.

15                          MR. MITCHELL:       Okay.

16                          MR.    TIPALDO:    In case the

17                  record does not reflect my joining

18                  in that same objection for the very

19                  same reasons,      please.

20                          MR.    SCHECK:    No problem guys.

21                  Everybody is doing their job.

22                 Q        Now,    so would it be fair to say

23        given what we've reviewed so far about what

24        Mr.   Tankleff says he did to first bludgeon

25        his mother,       while was in the bed lying on



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 1                                         C.    Kosciuk               203

 2        her back and then going to get the

 3        watermelon knife from the kitchen,               come back

 4        and inflict the stab wounds that we found on

 5        Mrs.   Tankleff,      all right,       that when he

 6        describes walking from the master bedroom in

 7        the northeast section of the house all the

 8        way to the office which is the northwest

 9                          MR.      MITCHELL:     That's in

10                  reverse.

11                 Q        Which is the south?

12                 A          Yes,    northwest,    northeast.

13                 Q        Going from the northwest to the

14        northeast?

15                 A          Right.

16                 Q          That he would have to traverse

17        the whole expanse of the house,              correct?

18                 A          Yes.

19                 Q        And he's carrying a dumbbell

20        that has        I    think you would you agree --

21        some blood on it and a knife that has some

22        blood on it,        and there has been some

23        transfer of blood to his body,              correct?

24                 A          There could have been some

25        blood transfer to his body if he was close



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 1                                          C.   Kosciuk                 204

 2        to her,       yes.

 3                  Q          And so but you found no

 4        droplets of blood between the master bedroom

 5        and the office,            correct?

 6                  A          That is correct.

 7                  Q          And he then indicates when he

 8        walked into the office and he saw his

 9        father,    his father was awake and asked him,

10        "What are you doing," correct,                you see that

11        in the confession?

12                  A          Oh,    I thought you were asking.

13                  Q          You see that?

14                  A          Yes,   I   see that.

15                  Q          And he is saying he has the

16        barbell and knife behind him,               correct?

17                  A          Yes.

18                  Q          So would it be fair to say that

19        when Mr.       Martin Tankleff is answering this

20        question,       consistent with this confession,

21        he would have been naked with blood on his

22        person with the barbell and knife behind him

23        when his father asked him,              "what are you

24        doing"?        That's consistent with this

25        confession,          correct?



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 1                                      C.   Kosciuk                 205

 2                  A      Yes,     it's consistent with the

 3        confession.

 4                  Q     All right.         And then,    "I asked

 5        him what he did first,         cut his throat or hit

 6        him.    He said he got behind his father and

 7        hit him with the barbell first.                I asked him

 8        if his father fought him like his mother

 9        did.    He said his father asked him why he

10        was doing this.          He volunteered that he

11        knocked him silly."          Okay,    you see that?

12                  A       Yes.

13                  Q       Now,    from the entranceway to

14        the office,     okay,     which is

15                  A       That one square is the whole

16        office,    the white square.

17                  Q       How many entrances are there to

18        the office,     if you know?

19                  A       Well,    I do know.     There's two

20        large sliding glass doors,            a door from the

21        utility area to the house,            and then a side

22        door.

23                  Q       Where is Mr.       Tankleff seated in

24        the office,     if you could just draw that on

25        Exhibit 1, which corner?



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 1                                      C.   Kosciuk                  206

 2                  A      He would be in the northeast

 3        corner.       The desk,    you want me to draw the

 4        desk in?       Is that what you want?

 5                  Q      Yeah.

 6                  A      Somewhere in this area

 7         (indicating)       And the chair would be

 8        somewhere like this         (indicating).

 9                  Q      Now,     do you know how far the

10        doorway is from the desk?

11                  A      I don't remember those

12        dimensions.       We measured that distance,              but

13        I don't know the distances offhand.

14                  Q      When you entered the crime

15        scene         So whatever that distance is

16        between the desk and the doorway,            right,

17        that would be certainly the distance between

18        Mr.   Tankleff, Martin Tankleff,         entering,

19        right,    with the barbell and the knife behind

20        him naked and his father sitting behind the

21        desk,    correct?       Is that right?

22                  A       It would not be a straight line

23        because there was a lot of furniture in that

24        particular room so he would have to walk

25        around furniture.          And then,   when he's



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 1                                     C.   Kosciuk                 207

 2        talking to him we don't know where he is.

 3                  Q       So he would have to walk around

 4        furniture?

 5                  A       A card table was set up here

 6        (indicating)

 7                  Q       He would have to walk around

 8        furniture naked with blood on his person

 9        with a barbell and a knife behind him,

10        right,    and then circle behind the chair

11        where Seymour Tankleff was;          is that correct?

12                  A       Yes.

13                  Q       All the time without his father

14        moving out of the chair or moving the chair

15        back,    right,   in terms of how you

16        reconstructed this crime scene?

17                  A       I'm not following you as far as

18        moving the chair back.

19                  Q       Your reconstruction -- And you

20        did do a reconstruction of the crime scene

21        in the office,      correct?

22                  A       Are you talking about placing

23        the desk and the chair together again in the

24        original position?

25                  Q       If I understand,     your



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 1                                     C.   Kosciuk                 208

 2        reconstruction of what happened is that

 3        you're saying that somebody was behind the

 4        chair and inflicted injuries over the top of

 5        the chair to the top of Seymour Tankleff's

 6        head;    is that right?

 7                  A      Yes.

 8                  Q     And how many blows?         At least

 9        four?

10                  A      Well,    there was bloodstain

11        castoff to the northerly direction,               which

12        would be towards the sliding doors,               and then

13        there were two castoffs to the easterly

14        direction directly behind the chair,               both of

15        them converging approximately over the

16        chair.

17                  Q      Now,    do you know how much room

18        there was between the chair and the wall?

19                  A      Yes.

20                  Q      How much?

21                  A      I don't know.      I would have to

22        refresh my memory.         It was measured though.

23                  Q      Was it a very large space?

24                  A      You want me to guess

25        apparently.



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 1                                        C.   Kosciuk                 209

 2                  Q       No,    to the best of your           You

 3        actually took a measurement of the distance

 4        between the chair and the wall

 5                 A        Yes.

 6                  Q       -- is that right?

 7                 A        Yes.

 8                  Q       Where would you have that?

 9                 A        It would have been in my notes.

10                 Q        You took notes?

11                 A        Well,    the notes,     the crime

12        scene notes that were turned in for trial.

13                 Q        All right.         We're going to have

14        a motion to produce those notes because

15                          MR.    MITCHELL:      If you did not

16                  get them,       I ' l l give them to you.

17                 Q        When you say crime scene,           to

18        help us lawyers here in the production,                    can

19        you describe what you mean by crime scene

20        notes?

21                 A        In other words,        items that were

22        collected,     the times they were collected.

23                 Q        No,    but we're talking about the

24        measurements,      the diagram

25                 A        Right.



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 1                                           C.   Kosciuk                210

 2                 Q               between the chair and the

 3        wall and the actual measurements.                  You did

 4        something like that?

 5                 A        Oh,     sure,    yes.

 6                 Q        Where would those have gone

 7        after you did it?

 8                 A        Where would they go?

 9                 Q        Yes,     what happens?

10                 A        I    assume they are still at the

11        laboratory but the DA's office must have

12        copies because they were in court.

13                 Q        Just so I understand,           I    don't

14        want to put any words in your mouth,                   but

15        based on your answers earlier today that it

16        was your custom and practice when doing

17        crime scenes is that you would take the

18        measurements,          right,     you would photograph

19        the various items of evidence and the blood

20        spatter,     and then you would orally report

21        any reconstruction or theories you had as to

22        how the crime occurred to the homicide

23        detectives orally,           correct?

24                          MR.     MITCHELL:       He said they may

25                  have been present when he said it.



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 1                                       C.   Kosciuk                 211

 2                 Q        Right,   whether it's orally in

 3        their presence or sometime therefore,                that's

 4        how you would communicate,            correct?

 5                 A        Except the order is a little

 6        different.      First the item would be

 7        photographed without being touched.                 The

 8        laboratory tag would be placed and

 9        rephotographed,      then the item would be

10        measured and documented as to its location

11        in the room,      and then collected and placed

12        in a laboratory bag and sealed.

13                 Q        But what I'm asking is about

14        the reconstruction itself.             That is

15        something that you would do orally,                either

16        to the detective at the scene or sometime

17        subsequent,     correct?

18                 A        Yes.

19                 Q        All right.        And there was not a

20        custom or practice in the Suffolk County

21        Crime Lab or in your work to actually write

22        a report that described your reconstruction

23        or your theory of how things occurred at a

24        crime scene given the items of evidence and

25        the blood spatter?



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 1                                      c.    Kosciuk                      212

 2                          MR.   MITCHELL:        I   object to the

 3                  form.    You can answer.

 4                 A        There was no formal report

 5        written.

 6                 Q        It was not your practice to

 7        write reports?

 8                 A        No.

 9                          MR.   MITCHELL:        Objection to

10                  form.    You can answer.

11                 Q        Are you aware of whether or not

12        in the field of blood spatter analysis it

13        was a general practice after taking

14        measurements,      photographing items and

15        looking at all the evidence,                 to write

16        reports about the reconstruction that an

17        expert might ultimately testify to?

18                          MR.   MITCHELL:        I   object to

19                  form.    You can answer.

20                          MR.   TIPALDO:     I       join.

21                 A        No.    What year did that come

22        into play?

23                          MR.   MITCHELL:        Just answer his

24                 question.

25                 Q        I'm as king do you know.               I'm



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 1                                        C.    Kosciuk               213

 2        asking about your knowledge.

 3                  A        No.

 4                  Q        Now,    so you agree that based on

 5        the confession,          that Martin Tankleff would

 6        have to enter the office with a barbell and

 7        the knife behind him with some blood on his

 8        person,       right,   engage in this dialogue with

 9        his father where his father says,                "what are

10        you doing," right?

11                  A        Yes.

12                  Q        And then he would have to go

13        around some furniture and go behind the

14        chair,    right?

15                  A        Right.

16                  Q        Okay.     And then according to

17        this confession,          he then hits him on the top

18        of the head with a barbell,             correct?

19                           MR.    MITCHELL:     I   object to the

20                  form.        You can answer.

21                           MR.    TIPALDO:     Objection.

22                  A        First,    I never said which blows

23        were first,       and it could have been on the

24        side of Mr. Tankleff for the first blow and

25        the other two would follow.                 So he could



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 1                                       C.   Kosciuk                  214

 2        have been to the left side first -- I'm

 3        sorry,   to the right side first or the north

 4        side of Mr.       Tankleff for the first blow

 5        in other words,         the blow came from the

 6        side -- and catch him off guard and then go

 7        by in the chair and hit him twice more.

 8                 Q        Do you recall ever telling

 9        anybody that the first blows could be from

10        the side?

11                          MR.   MITCHELL:     Objection to

12                  form.     You can answer.

13                 A        I think you just told me that

14        he is from behind,         hit twice --

15                 Q        I'm asking you about your

16        reconstruction.          In other words,      if I

17        understand your testimony correctly,                 what

18        you did is you analyzed the crime scene

19        evidence,    you formulated your

20        reconstruction,         you went and you provided

21        that orally to homicide detectives,                 but

22        you're not sure who,         and then when you went

23        to talk to the prosecutor before the trial

24        you just presented your reconstruction of

25        how you thought this happened based on the



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 1                                       C.    Kosciuk                215

 2        blood spatter evidence without any real

 3        interchange with the prosecute or am I

 4        misstating anything?

 5                          MR.    MITCHELL:        Objection to

 6                  form.    You can answer.

 7                          MR.    TIPALDO:     I    join.

 8                 A        Yes.

 9                  Q       Okay.     So in your presentation

10        to the homicide detective or the prosecutor

11        before the trial,         did you ever tell them

12        that the initial blows could have been

13        inflicted from the side?

14                          MR.    MITCHELL:        Objection to

15                  form.    You can answer.

16                 A        I can't remember.

17                  Q       Okay.     But as far as you're

18        concerned right now,         based on your

19        recollection and your examination of the

20        evidence,     you think that is consistent with

21        your interpretation of it that the initial

22        blows could have been inflicted from the

23        side?

24                          MR.    MITCHELL:        Objection to

25                  form.    You can answer.



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 1                                          C.   Kosciuk                  216

 2                 A        No,     I   just said I    don't know if

 3        the blows came from the back or from the

 4        side first.

 5                 Q        Well --

 6                 A        I    don't know the sequence of

 7        the blows.

 8                 Q        If the initial blows to Seymour

 9        Tankleff's head came from the side and not

10        the back,    would that have significance in

11        terms of the blood spatter evidence that you

12        observed at the scene?

13                          MR.     MITCHELL:      Objection to

14                  form.        You can answer.

15                 A        Can you repeat that.

16                 Q        Yeah.        If the initial blows

17        came from the side and not from the back of

18        the chair,     right,         would that have any

19        significance in terms of the blood spatter

20        evidence that you observed at the scene?

21                 A        No.

22                 Q        Why not?

23                 A        Because there was the evidence

24        that I   observed was deposited on the ceiling

25        and that's what I             interpreted.



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 1                                      C.   Kosciuk                       217

 2                  Q       There was also blood spatter on

 3        the desk that you interpreted,             right?

 4                  A       Yes.    Are you talking about the

 5        number of blows and the castoff.              I thought

 6        that was what we were talking.

 7                  Q       Not just talking about the

 8        castoff.      In terms of the entire scene,                 if

 9        there were two initial blows that,             as you

10        suggested were possible here,             were initially

11        inflicted from the side,           would that have

12        any --

13                  A       I never said two from the side

14        or one from the side.          One from the side,

15        right.

16                          There was bloodstain castoff in

17        the northerly direction.           One.     From the

18        back,    two in two different angles converging

19        over the desk.

20                  Q       So you think there was one

21        Based on the castoff you're saying that

22        there was one blow from the side?

23                  A       Well,   that could be argued too

24        because it would take one blow to start the

25        head to bleed before you would get the cast



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 1                                       C.    Kosciuk                218

 2        off.     So there would have to be a strike to

 3        the head,     allow the victim to bleed,           hit him

 4        again and now the instrument will become

 5        bloody and therefore you would get castoff.

 6                  Q       Now,    as a matter of just common

 7        sense,    if this confession is true,           right,

 8        and Seymour Tankleff was in a position to

 9        see Martin Tankleff naked with blood on him,

10        right,   at the doorway,       given the

11        configuration of the room,            wouldn't that

12        provide Seymour Tankleff with some time to

13        pull away from the desk and start to get out

14        of the chair?

15                          MR.    TIPALDO:     Objection.

16                          MR. MITCHELL:        I   object to

17                  form.    You can answer.

18                  A       Well,    do we know the father is

19        really awake?

20                  Q       Well,    in this confession --

21                  A       You're taking that as gospel.

22                          MR.    MITCHELL:     He's asking you

23                  to assume.

24                  Q       I'm asking you to assume that

25        the confession in the case is reliable.



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 1                                      C.    Kosciuk                219

 2                 A        Give it to me again.

 3                          MR. MITCHELL:       I object to

 4                  that.

 5                          MR.   SCHECK:     You're absolutely

 6                  right,    Brian.

 7                 Q         I'm asking you to assume that

 8        the confession as written and as recited is

 9        true.

10                 A        Go ahead.

11                          MR.   TIPALDO:     Objection.

12                 That's not what you're asking.

13                 You're throwing in information that

14                  is not contained in that document.

15                          MR.   SCHECK:     Well,    I'm sorry.

16                          MR.   TIPALDO:     No,    I'm sorry.

17                 There is nowhere in that document

18                  that it indicates that his father

19                  sees him in that doorway.             Nowhere.

20                 We can stipulate to that.

21                          MR.   SCHECK:     No,    not at all.

22                  Let's see what the document says and

23                  anybody can argue what is --

24                          MR.   MITCHELL:     I would ask him

25                  the question again.             The document



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 1                                         C.    Kosciuk                    220

 2                  speaks for itself.

 3                            MR.    SCHECK:     We're getting a

 4                  little -- and I            know it was not

 5                  ill-intentioned on your part,               but

 6                  let me just backtrack a little bit

 7                  by reciting from what is or is not

 8                  in the document.            Is that okay with

 9                  you,      Joe?

10                            MR.    TIPALDO:     That's fine.

11                  Q         "I asked him if he went in

12        there naked.          He said he was still naked."

13        I'm sorry.         Let me start at the very

14        beginning of the first full paragraph on

15        Page 12.          "I asked him if his father was

16        still in the office.            He said yes,       his

17        father was still in the office.                  He said he

18        was sitting at his desk.               He said his father

19        was awake now and asked,              "What are you

20        doing?"       I   asked him if he went in there

21        naked.     He said he was still naked.                I   asked

22        him what he did with the knife and the

23        dumbbell.         He said he walked in with the

24        knife and the dumbbell behind his back.                       I

25        asked him what he did first,              cut his throat



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 1                                       C.    Kosciuk                    221

 2        or hit him.       He said he got behind his

 3        father and hit him with the barbell first.

 4        I asked him if his father fought like his

 5        mother did.       He said his father asked him

 6        why he was doing this.              He volunteered that

 7        he "knocked him silly."              I   asked him how he

 8        kept his father from getting out of the

 9        chair,    he said his father's feet were under

10        the desk so he could not get up."                     You see

11        that?

12                  A       Do I?     Yes.

13                  Q       Okay.     So given that scenario,

14        what this confession is saying is that

15        Martin Tankleff walked through the door with

16        a dumbbell and knife behind him,                  and you've

17        agreed that given his description and the

18        confession of what happened at the crime

19        scene with his mother he would have blood on

20        him,    true?

21                  A       Yes.

22                          MR.    MITCHELL:           I object to the

23                  form.    You can answer.

24                          MR.    TIPALDO:        I    join.

25                  Q       Then,    based on what you told us



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 1                                      C.       K a sci u k              222

 2        about the configuration of the room,                    the

 3        office,   Martin Tankleff,             consistent with his

 4        confession, would have this discussion with

 5        his father that he recites and would be able

 6        to move around the furniture and get behind

 7        him,   behind the chair,       correct?

 8                          MR.   TIPALDO:        Again,       this is

 9                  not my witness.          I    can't direct him

10                  not to answer but the form of that

11                  question is absolutely -- It's

12                  inconsistent with what's written on

13                  the page.       I mean you're adding to

14                  the story.

15                          MR.   MITCHELL:         I'm objecting to

16                  the form.       I'm not going to direct

17                  him not to answer.              I'm just

18                  objecting to the form.

19                          If you understand the question,

20                  answer the question.               You know,     you

21                  can answer the question but I object

22                  to the form.

23                  Q       Go ahead.

24                  A       Okay.    First of all,             I never

25        said that the first blows were from behind



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 1                                         C.    Kosciuk                223

 2        the chair.      I    don't know where the first

 3        blows were.

 4                            MR. MITCHELL:        And I   don't

 5                 mean             Maybe this will help.        Mr.

 6                 Kosciuk is saying if what's on the

 7                 piece of paper here,             if that's what

 8                 happened.

 9                            MR.    SCHECK:     Marty says he is

10                 behind the chair

11                            MR.    MITCHELL:     First of all,

12                  you can't talk at the same time.

13                 This lady can't take it.

14                            MR.    SCHECK:     I'm sorry.

15                            MR. MITCHELL:        I think what

16                 he's saying is if what's on the

17                 piece of paper,             regardless of who

18                  said it,         what he's reading off the

19                 piece of paper,             if that's something

20                  that occurred,         then that would -- I

21                 don't know if the word infer is

22                  correct -- that would mean this

23                 would happen.

24                            MR.    SCHECK:     Right.

25                            MR.    MITCHELL:     I think that's



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 1                                         C.   Kosciuk              224

 2                 what he's trying to ask you.              When

 3                 he asks you that,            let me object and

 4                 then you answer that.

 5                        MR.      SCHECK:      You have a

 6                  standing objection.

 7                        MR.      MITCHELL:      I   appreciate

 8                  that Barry and there is a couple of

 9                  times where I'm not sure if it

10                  applies but I get it.

11                 A        Is it my turn to answer?

12                         MR.     MITCHELL:      It is your turn

13                  to answer if you can.

14                  Q       Yes,    sir.

15                 A        You're saying that Marty walks

16        into the room and walks behind the chair?

17                  Q       That is what he says here.

18                  A       And hits him twice on the back

19        of the head.       Hits him from behind.

20                  Q       Hits him from behind,          that's

21        correct?

22                  A       You want me to say if that's

23        possible?

24                  Q       No,    let's just agree that based

25        on your observations of the crime scene in



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 1                                       C.   Kosciuk                  225

 2        the office that would mean that he would

 3        first be walking into the room with the

 4        dumbbell and the knife behind him covered

 5        with blood,       correct?

 6                 A        Yes.

 7                          MR. MITCHELL:       Objection to

 8                  form.

 9                  Q       With blood on him,       correct?

10                 A        Yes.

11                  Q       Then,    following the confession

12        this dialogue would occur where the father

13        says -- father is awake and says,              "what are

14        you doing," correct,         that's what it says

15        here?

16                 A        Yes.

17                 Q        And then, Marty would have to

18        go around furniture in front of the desk and

19        move behind the chair in order to hit him

20        from behind the chair and force him from

21        getting out of the chair?

22                          MR.    TIPALDO:    Objection insofar

23                  as the characterization of it

24                  following the confession.            Over

25                  objection.



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1                                       C.   Kosciuk                  226

2                   Q       Let me stop you here.         Help you

 3        here.     In order to get behind the chair,

 4        based on your understanding of the office,

 5        he would have to walk around furniture,

 6        correct?

 7                  A       The card table intervenes

 8        between the doorway and the desk.               It was

 9        set up with chairs.

10                  Q       It says here in the confession

11        that,   "I asked him how he kept his father

12        from getting out of the chair.               He said his

13        father's feet were under the desk so he

14        could not get up."         You see that?

15                  A       Yes.

16                  Q       Okay.    So would you not agree,

17        based on the confession,           he's saying he was

18        able to -- that Marty is saying he's able to

19        enter with the dumbbell and the knife behind

20        him with,      you would agree,      some blood on his

21        person.       When his father said,        "what are you

22        doing," he would have to go-- if this

23        confession is true -- he would have to go

24        behind,       go around the furniture to get to

25        the chair and be able to prevent his father



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 1                                       C.    Kosciuk                227

 2        from getting out of the chair by keeping

 3        him,   the father,       his legs under the desk

 4        having the chair jammed under the desk.

 5        That's what this statement is saying,

 6        correct?

 7                          MR.    TIPALDO:     I    reiterate my

 8                  same objection.

 9                  Q       That's your understanding?

10                 A        What's the question?

11                  Q       My question is,          is that your

12        understanding of this statement?

13                 A        Yes.

14                  Q       All right.        Now,    it says here,

15        does that raise any doubts in your mind

16        about whether this confession makes common

17        sense?

18                          MR.    MITCHELL:        I object to the

19                  form.    You can answer.

20                          MR.    TIPALDO:     I    join.

21                  A       You're taking the scenario of

22        this thing

23                  Q       I'm only taking what the

24        confession says.

25                  A       Confession.        You created the



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 1                                       C.    Kosciuk                228

 2        scenario now you're asking me does it make

 3        sense.

 4                  Q       I'm hardly creating the

 5        scenario.       I'm asking this confession as

 6        recited,      these set of events.

 7                  A       Does this confession make

 8        sense?

 9                  Q       Yes,    common sense to you?

10                          MR.    MITCHELL:     I object again.

11                  You can answer.

12                  A       I would say yes,         it's possible.

13                  Q       All right.        You said it's

14        possible.       I'm saying,    does it make common

15        sense to you?

16                          MR.    MITCHELL:     I   object to the

17                  form.    You can answer.

18                  A       Yes,    why not?

19                  Q       Is there a difference between

20        something being possible and probable from

21        your point of view as a blood spatter

22        expert?

23                          MR.    MITCHELL:     I object to the

24                  form.

25                  A       Blood spatter does not enter



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 1                                       C.    Kosciuk                229

 2        into this picture here for Marty to get from

 3        the doorway to behind the desk.

 4                  Q       As a    forensic scientist when

 5        you analyze crime scenes,            is there a

 6        distinction between something being

 7        "possible" and something being likely or

 8        probable?

 9                          MR.    MITCHELL:     I    object to the

10                  form.     You can answer.

11                  A       Yes,    there is a difference.

12        But in this particular case,               the scenario

13        you laid out here or the confession,                is it

14        possible for him to walk from the doorway

15        around the desk to behind his father if the

16        father has trust in him?             Yes,     why not?

17                  Q       You said his father has trust

18        in him,       but the father is asking him,           "what

19        are you doing," and you agree that according

20        to the confession he has the dumbbell and

21        the knife behind him.           He is naked.        It is

22        sometime after 5:35 in the morning and he

23        has blood on his person,             right?

24                          MR.    MITCHELL:     I    object to the

25                  form.     You can answer.           Go ahead.



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 1                                          C.    Kosciuk                 230

 2                  A       How do you know the father sees

 3        the blood?

 4                  Q       All right.           So,    okay.

 5                          MR. MITCHELL:              Let me ask --

 6                  Q       Let me ask you this.

 7                          MR. MITCHELL:              His response to

 8                  you,    I    think,    underscores why these

 9                  types of questions we can go on all

10                  day with them.

11                  Q       Let's go to something very

12        specific.        The next thing in this

13        confession -- and I             realize we have two

14        minutes          the next thing in this confession

15        is that he says,           "I asked him what he did

16        next and he said he slashed his father's

17        neck."        Do you see that?

18                  A       Yes.

19                  Q       All right.           Now,    you gave a

20        statement to the -- You have an Exhibit 7.

21                          MR.     SCHECK:       Let's stop here.

22                          THE VIDEOGRAPHER:              Going off

23                  record at 3:51 p.m.                This is the end

24                  of Tape 4.

25                              (At this time,         a brief recess



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 1                                       C.   Kosciuk                 231

 2                     was taken.)

 3                          MR.    SCHECK:     Please mark these.

 4                           (Whereupon,      Plaintiff's

 5                     Exhibits 10 and 11 were marked for

 6                     identification.)

 7                          THE VIDEOGRAPHER:          This is the

 8                     beginning of Tape 5.          We're back on

 9                     the record at 3:59 p.m.          You may

10                     proceed.

11                     Q    Going back to where we left

12        off,    I    read you the part of the confession

13        where it says,          "I asked him what he did next

14        and he said he slashed his father's neck."

15        You see that?

16                     A    Yes.

17                     Q    All right.        Now,   based on this

18        confession,       the slashing of the father's

19        neck would have been done by the watermelon

20        knife which Marty had retrieved from the

21        kitchen used to inflict injuries to his

22        mother and now was slashing his father's

23        neck,       correct?

24                          MR.    TIPALDO:     Objection.

25                     A    I don't follow you.          Is that



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 1                                        C.   Kosciuk               232

 2        what you're telling me?

 3                  Q       In reviewing this confession --

 4        we can go over it again if you want,               but I

 5        think you've been following it pretty

 6        well -- Marty says in this confession that

 7        he first bludgeons his mother in the bed

 8        with the barbell,        correct,     remember that?

 9                  A       Yes.

10                  Q       That he goes into the kitchen

11        to get the watermelon knife,            correct?

12                  A       And uses that knife on his

13        father?

14                  Q       Let's just take it a step at a

15        time.     He uses that watermelon -- He gets

16        the watermelon knife from the kitchen,                he

17        comes back to the bedroom and uses that to

18        inflict wounds on his mother,            right?

19                  A       Yes.

20                  Q       That's what the confession

21        says.     Are you with me?

22                  A       Yes,   yes.

23                  Q       And then he says that he walks

24        into the father's office and he has the

25        dumbbell and the watermelon knife behind his



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 1                                     C.    Kosciuk                233

 2        back,   that's correct?

 3                 A       That's correct.

 4                 Q       That's what the confession

 5        says,   right?

 6                 A       Yes.

 7                 Q       And now we're at the point in

 8        the confession where he says he uses the

 9        watermelon knife to slash his father's neck,

10        correct?

11                 A       Correct.

12                  Q      Now,   you're familiar with that

13        watermelon knife,       correct?

14                 A       Yes,   the knife near the

15        watermelon,      yes.

16                 Q       And you were asked to focus on

17        that knife when you retrieved it from the

18        crime scene,      correct?

19                 A       Yes.

20                  Q      And we have pictures of it here

21        that we've reviewed together,           correct?

22                 A       Yes.

23                  Q      And you saw no blood on that

24        knife on September 7th,           correct,   and 8th

25        when you recovered it?



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 1                                     C.   Kosciuk                 234

 2                 A       Not microscopically,       just a

 3        quick physical exam.         It was placed into a

 4        container to go back to the laboratory for

 5        further examination.

 6                 Q       And you were aware that the

 7        knife was examined,       taken apart,      and

 8        presumptive testing was done,          and there was

 9        no traces of blood whatsoever found on that

10        knife,   correct?

11                 A       Yes.

12                  Q      Now,   I'm directing your

13        attention to your statement which is

14        Exhibit -- Where is the statement to the

15        State Investigation Commission?

16                 A       This one?

17                 Q       Yes,   that's Exhibit 7.         And I'm

18        going to call your attention to Page 3.

19        Okay.    Why don't you take a look at the

20        third paragraph on the page and I'm going to

21        read this to you.        This was a statement you

22        made to the investigators from the State

23        Investigation Commission.

24                         MR. MITCHELL:      Before you read

25                  Barry,   i t ' s not -- It's a



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 1                                       C.   Kosciuk                 235

 2                 memorandum.         It's not a statement he

 3                 made.      It's not fact.        I appreciate

 4                  it seems to be a memorandum from

 5                 Anthony Helmer who is a chief

 6                  investigator that relates his

 7                  interview with the witness.

 8                          MR.    SCHECK:    That's correct.

 9                          MR. MITCHELL:       This is a lawyer

10                 thing.         It's not a statement to the

11                 State of New York Commission.                 That

12                 would be entirely different.              I    just

13                 want to make sure it's identified

14                  correctly.

15                          MR.    SCHECK:    Let's be clear.

16                 This is a memorandum written by a

17                 Kenneth F. Christopherson,           special

18                 agent,    with respect to an interview

19                  that he conducted with Mr.          Kosciuk

20                 on July 17,        2008 at Mr.   Kosciuk's

21                 home.

22                 Q        Do you see that?

23                 A        Yes.

24                 Q        And you do recall,       and I think

25        you mentioned before,         that you were so



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 1                                      C.    Kosciuk                236

 2        interviewed by agents from the State

 3        Investigation Commission?

 4                 A       Yes,    I was.

 5                  Q      And you did not remember their

 6        names but you do remember making statements

 7        to them,      correct?

 8                 A       Yes.

 9                 Q       Now,    I'm calling your attention

10        to this memorandum and I will just read what

11        is in that memorandum and ask if this is

12        what you said to them.             "Kosciuk said he did

13        not believe that a knife recovered on the

14        kitchen table was used to cause Seymour's

15        injuries.       He said that Tankleff admitted to

16        McCready that he used the knife that was on

17        top of the table next to the watermelon.                   It

18        is Kosciuk's "gut feeling" after reviewing

19        Seymour's X-rays that a utility-type knife

20        was used to cause his wounds.             He bases his

21        opinion on the type of wounds which were

22        long,   thin,    narrow slashes that he believes

23        were likely caused by a razor-like blade.

24                         Additionally,       while he was at

25        the morgue,      Kosciuk observed small marks



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 1                                        C.   Kosciuk                237

 2         (dots)   at the start of Seymour's slash

 3        wounds that appeared to him to be indicative

 4        of marks that could have been left by the

 5        handle of a utility knife.             He stated that

 6        he may have discussed this matter with

 7        medical examiner,         Dr.   Dawson:   Okay,    you see

 8        that?

 9                  A       Yes.

10                  Q       Did you make that statement to

11        the agent from the State Investigation

12        Commission?

13                  A       Not exactly like this, no.

14                  Q       Well,   tell us what you think is

15        incorrect about how you were quoted in this

16        memorandum?

17                  A       I stated to him that I believe

18        that it's a strong possibility that the

19        weapon could be a utility-type knife and

20        that at the start of the wound that I

21        observed it could be the knife,            the utility

22        knife,    being plunged into the victim and

23        where the knife blade sticks out the

24        encasement of the knife is making a mark

25        above the wound or at the start of the wound



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 1                                          C.   Kosciuk                  238

 2        and that's what I tried to explain to him.

 3                 Q        Okay.

 4                 A        Not the handle or any other

 5        part of the knife,           but part of the blade

 6        structure.

 7                 Q        So you're saying that what he

 8        got wrong here is that based on -- Now you

 9        actually saw the wounds at the morgue?

10                 A        No,    I   can't remember that at

11        all being even at the morgue.               I       don't know

12        if i t was photographs or being at the morgue

13        that I   looked at those wounds.                I    can't

14        remember.

15                 Q        Well,      you're quoted as saying

16        "while he was at the morgue."

17                 A        Yeah.       I   don't even remember

18        being at the morgue.

19                 Q        But you gave this statement in

20        July of 2008,      correct?

21                 A        Yes.

22                 Q        And your memory of what you did

23        in connection with this investigation was

24        better in July of 2008 than it is today;

25        fair enough?



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 1                                       C.    Kosciuk                239

 2                 A        Yes.     I would say yes.

 3                 Q        So is there any reason to doubt

 4        that when you said in July of 2008 that you

 5        observed you were at the morgue and you

 6        observed slash wounds on Seymour Tankleff

 7        that you were correct in saying that you

 8        were there?

 9                          MR.    MITCHELL:       I   object to

10                  form.     I    appreciate you did ask him

11                  a little bit,      but he has not

12                  established that he said this to the

13                  investigator.

14                          MR.    SCHECK:     I   asked him what

15                  he said.

16                          MR.    MITCHELL:       And if he said

17                  yes that's what I          said,    I understand

18                  your question.

19                          MR.    SCHECK:     He said yes,

20                  that's what he said and he made one

21                  small correction about these dots.

22                          MR.    MITCHELL:       Right,   and then

23                  as he was further correcting I think

24                  he was still --

25                  Q       If you're further correcting --



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 1                                        C.    Kosciuk               240

 2                          MR.    MITCHELL:      Just clarify

 3                  that.

 4                          MR.    SCHECK:      I understand about

 5                  a speaking objections.

 6                  Q       I'm not trying to trip you up

 7        on whether or not you were at the morgue or

 8        not.     I'm trying to get your best

 9        recollection.

10                          Whether you were at the morgue

11        or you saw photographs,              you saw this slash

12        wound,    correct?

13                  A       I remember discussing this,

14        yes.

15                  Q       You remember discussing it with

16        the medical examiner?

17                  A       Yes.     Well,     I brought it to

18        their attention.          That was my opinion of

19        what type of weapon could have been used.

20                  Q       Was there any -- Did you call

21        it to the attention of anybody other than

22        Dr.    Dawson at the medical examiner's office?

23                  A       Again,    I   don't know if anybody

24        else was there.

25                  Q       Right.



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 1                                          C.   Kosciuk                 241

 2                 A        But I do remember talking to

 3        the medical examiner.              I think while he was

 4        doing the looking at the wounds.

 5                 Q        I think as you told us before

 6        that there would be occasions when you would

 7        attend autopsies in connection with your

 8        duties at the crime lab,               correct?

 9                 A        Oh,    yes.

10                 Q        And so it would be fair to say

11        that,   you know,       bodies are,       in a sense,      a

12        form of crime scene evidence themselves,

13        correct?

14                 A        Yes.

15                 Q        And so as part of your work as

16        a forensic scientist -- You call yourself a

17        forensic scientist?

18                 A        Yes.

19                 Q        That you would be looking at

20        wounds on the body,             comparing them to murder

21        weapons to see whether it was likely or

22        unlikely that a particular knife or other

23        instrument could have been used to inflict

24        certain wounds,         correct?

25                 A        Actually,       that's left up to the



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 1                                        C.   Kosciuk                  242

 2        medical examiner.

 3                 Q        But you have participated in

 4        that kind of discussion and analysis,

 5        correct?

 6                 A        Yes.

 7                 Q        All right.         And now,   have you

 8        ever discussed whether or not the watermelon

 9        knife was,     in fact,     the knife that was used

10        to cause Seymour's injuries with anyone else

11        from the Suffolk County Laboratory or any

12        other homicide detective?

13                 A        I don't know.         I   can't

14        remember.      I don't know.

15                 Q        Well,    let me see if I          can --

16        What about let's look at Exhibit 10,                  okay.

17        This is another memorandum that was filled

18        out on July 30,         2008.   You guys have a copy.

19                          MR.    MITCHELL:      I do now.

20                 Thanks.

21                 Q        This is another memorandum from

22        the State Investigation Commission from

23        Kenneth Christopherson reflecting an

24        interview on July 30,           2008 with Detective

25        Sergeant Robert Doyle?



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 1                                          C.   Kosciuk                  243

 2                 A        Oh,     okay.

 3                  Q       You remember Doyle; don't you?

 4                 A        I    remember Doyle.        I   thought

 5        you said i t came to my house too.

 6                  Q       No.      I   am just going to read

 7        you from Page 5.

 8                 A        Go ahead.

 9                  Q       "Doyle stated that he felt that

10        some sort of knife and bludgeon were used to

11        inflict the injuries to the victim.                    Doyle

12        did not believe that a life recovered on the

13        kitchen counter next to a watermelon was

14        used to inflict the injuries and that a

15        smaller knife,          possibly a utility knife,

16        might have been used.              He based his belief

17        on the compression level of the wounds.                        He

18        stated that the police were "stuck" with the

19        type of knife described by Tankleff in his

20        confession."           You see that?

21                  A       Yes,     but I don't think I

22        discussed that with Doyle.

23                  Q       Would it be fair to say that

24        you agree with Doyle's opinion that the

25        watermelon knife was not the knife that was



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 1                                       C.   Kosciuk                 244

 2        used to inflict the wounds to Seymour

 3        Tankleff?

 4                  A       I can't be a hundred percent

 5        sure.     I   can't eliminate that the watermelon

 6        knife,    although one of the reasons being

 7        that there was substances on the knife next

 8        to the watermelon when we examined it,                so

 9        that kind of -- we were in question of that

10        knife from day one.

11                  Q       Right.     So when you say day

12        one,    would you tell us a little bit more

13        when you say "we," were in question about

14        that knife from day one,            what do you mean?

15                  A       We looked at the knife --

16                  Q       Who is the "we?"       You have to

17        tell us we.       That would be you?

18                  A       If I    remember,   Sergeant Doyle

19        and Bob Baumann and myself -- I don't know

20        who else -- looked at the knife.              Bob

21        Baumann pointed out that there was a

22        substance that would appear to be the

23        watermelon still on the knife.

24                  Q       Okay.

25                  A       So I    can't rule it out as being



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 1                                       C.    Kosciuk               245

 2        the murder weapon because I'm not sure what

 3        the murder weapon is.

 4                 Q        Well,    but you're saying that

 5        there was a discussion as you were

 6        processing the crime scene with Doyle and

 7        Baumann,     right,     about the watermelon knife

 8        not being the murder weapon,            you're saying,

 9        because you actually saw what you thought to

10        be watermelon on the knife,            correct?

11                 A        Yes,    a substance we believed to

12        be watermelon.

13                 Q        Would it be fair to say by this

14        point,   however,       that Doyle was indicating to

15        you that the watermelon knife homicide

16        detectives were at least or at least

17        Detective McCready believed was used as the

18        murder weapon?

19                          MR.    MITCHELL:     I object to the

20                  form.

21                 A        Repeat that.        I lost you.

22                 Q        Sure.     We reviewed before

23        Exhibit 2,     which were the memo book entries

24        of Detective Doyle;         you recall that?

25                 A        Yes.



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 1                                      C.   Kosciuk                   246

 2                 Q        And we reviewed together that

 3        at 12:28 there is a notation here that

 4        Martin Tankleff had confessed and that

 5        I ' l l read again from Page 2713.           "Martin

 6        Tankleff confessed cut his mother's throat,

 7        cut father's throat with a knife that is

 8        near the watermelon in the kitchen."                  You

 9        see that?

10                 A        Yeah.   I   know that.

11                 Q        You have told us in this

12        deposition that you do not recall,             when you

13        were processing the crime scene,             ever

14        finding out that Martin Tankleff,             the

15        afternoon that you were processing the crime

16        scene,   as early as 12:28,        had confessed to

17        detectives and said that he used the

18        watermelon knife to attack both his mother

19        and his father.        You're saying that you

20        never knew that?

21                 A        That's correct.

22                 Q        But you did know,      it would be

23        fair to say,      that you were being directed to

24        look at the watermelon knife as potentially

25        a murder weapon that was used against Arlene



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 1                                      C.   Kosciuk                  247

 2        Tankleff or Seymour Tankleff?

 3                         MR.    TIPALDO:    Objection to

 4                 form.

 5                 A       Potentially,      used?     Yes,    it was

 6        out in the open.

 7                 Q       Well,    you were being

 8        directed

 9                 A       No.

10                 Q       Nobody was directing you to

11        look at that knife?

12                 A       No,    I noticed that knife on

13        initial walk-through.

14                 Q       You're saying that you had a

15        discussion with Doyle and Baumann, who is

16        the serologist,        and yourself,   and you looked

17        at the knife and the discussion was that you

18        had doubts that that knife was used as the

19        murder weapon for either of these two

20        victims,     correct?

21                 A       Yes.

22                 Q       You just told us that,           right?

23                 A       Yes.

24                 Q       How did you know that anybody

25        thought that knife as opposed to any of the



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 1                                       C.   Kosciuk                 248

 2        other knives in the house was the one that

 3        might have been used as the murder weapon?

 4                 A        We didn't.

 5                          MR.   MITCHELL:     I   object to the

 6                  form.     You can answer.

 7                 A        We didn't.

 8                 Q        You're telling us that Doyle

 9        never indicated to you that they had a

10        confession that Marty Tankleff had said he

11        used that knife to attack both his mother

12        and father?

13                          MR.   MITCHELL:     Objection to

14                  form.

15                          MR.   TIPALDO:     Asked and

16                  answered.

17                 Q        You did not know that that day?

18                 A        No,   I   didn't say that neither.

19        I told you that evening we found out certain

20        things that had to be collected.

21                 Q        So that evening you learned

22        that Martin Tankleff had made a confession

23        and that as part of that confession the

24        watermelon knife was supposed to be the

25        weapon that he used to both attack his



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 1                                       C.    Kosciuk               249

 2        mother and his father?

 3                          MR.    TIPALDO:     Objection to

 4                  form.

 5                 A        Yes.

 6                 Q        And that evening there was a

 7        discussion then with Detective Doyle and Mr.

 8        Baumann as to your doubts that that knife

 9        could have been used as the murder weapon,

10        correct?

11                          MR. MITCHELL:        I object to

12                  form.     You can answer.

13                 A        No,    we had initial doubts when

14        we first observed the knife.                There was a

15        substance on it without any blood.

16                          Without being examined,         you

17        cannot rule it out.          It was right in the

18        open.    It was right on the chopping block.

19                          MR. MITCHELL:        Just to clarify,

20                 what time are you referring to in

21                 what you just described?

22                          THE WITNESS:        The walk-through

23                 was early in the morning about -- It

24                 was about,       yeah,     9:30.    I would say

25                 about 10 o'clock,           somewhere in



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 1                                          C.   Kosciuk               250

 2                  there.     Well,       between 9:30 and

 3                  10 o'clock when we did the initial

 4                  walk-through.

 5                  Q       That's when this conversation

 6        happened?

 7                  A       What conversation?

 8                  Q       The conversation --

 9                  A       When I noticed the knife on the

10        end of the block,          I    observed that knife and

11        I   knew right away we were going to take that

12        knife.        Does that answer your question?

13                  Q       Right.

14                  A       Right away.          It was out in the

15        open.

16                  Q       Right,       but you have told us

17        about a conversation that you had with Doyle

18        and Baumann where you expressed,                 and I take

19        it they also agreed,             that it was unlikely

20        that the watermelon knife was the murder

21        weapon.       You just told us there was such a

22        conversation.

23                  A       Wait a second.          Only because

24        there was a substance on the knife so

25        therefore we said,             okay,   we're taking it.



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 1                                       C.    Kosciuk               251

 2                 Q        I have to stop you for a second

 3        because we have to be clear.

 4                          When did that conversation

 5        There was a conversation between you,               Doyle

 6        and Baumann about the watermelon knife not

 7        being the knife that was used to inflict

 8        injuries to Arlene and Seymour Tankleff,

 9        correct?

10                          MR.    MITCHELL:     I object to the

11                  form.    You can answer.

12                 Q        There was such a conversation?

13                 A        No,    wait a minute.        I don't

14        know if Doyle was involved.             I   know Baumann

15        and myself discussed it.             Was Doyle present?

16        I can't answer that.

17                  Q       I thought you told us just a

18        few minutes ago -- the record will

19        reflect -- that Doyle was present at that

20        conversation?

21                 A        He was the sergeant at the

22        scene.       He could have been present,          yes.

23                  Q       Let's just take it

24        step-by-step.           You're sure that you and

25        Baumann had a discussion?



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 1                                         C.   Kosciuk                252

 2                 A        Yes.

 3                 Q      And that discussion,              would it

 4        be fair to say,         took place that evening?

 5                 A        You know,      I    can't answer that.

 6        I don't know exactly when we discussed that

 7        knife ln the kitchen.

 8                 Q        Okay.     And I      just want to get

 9        your best recollection.               You can't recall

10        whether Doyle was present or not when you

11        and Baumann had the discussion that you did

12        not think the watermelon knife could have

13        been the murder weapon; however,                at some

14        point either that night or the next day is

15        it fair to say that that was communicated to

16        Doyle that that was your view?

17                 A        Oh,    did I   tell him that?

18                 Q        Or did either you or Baumann?

19                 A        He might have observed that on

20        his own.     At the time we went through the

21        house there were many people in the house.

22        There was three

23                          MR.    MITCHELL:       Chuck,    he is

24                  asking you,      did either you or

25                  Baumann ever tell that to Doyle.



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 1                                      C.   Kosciuk                  253

 2                 A       No.

 3                 Q      Are you sure?

 4                 A       No.      If he heard me say it, but

 5        I did not directly say it to him,             no.

 6                 Q       So,     in other words,     he might

 7        have been present when you and Baumann

 8        discussed it, but you do not have a specific

 9        recollection of telling him?

10                 A        That's right.

11                  Q       Now,    just to go back, was there

12        any discussion on September 7th or 8th or

13        thereafter among people at the crime lab

14        about whether this watermelon knife was,                    ln

15        fact,   the murder weapon?

16                  A       Other than what I      suggested at

17        the morgue that time with the utility knife,

18        there was no other discussions.

19                  Q       Who else besides Dr.        Dawson did

20        you share your view that you did not believe

21        that the watermelon knife,          just based on

22        your observations of Seymour Tankleff's

23        wounds and his X-rays,         could have been the

24        murder weapon?

25                  A       I did not base it on the wounds



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 1                                          C.   Kosciuk                  254

 2        the initial day because I               didn't see the

 3        wounds.       I based it on the fact that i t ' s

 4        out in the open.            It was adjacent to the

 5        watermelon.       There was watermelon it and I

 6        didn't see any blood.              I   said,   we're going

 7        to take to the knife because i t ' s out in the

 8        open,    but it does not feel to me like i t ' s

 9        the murder weapon.

10                  Q       Right.        And then sometime

11        subsequent to that you went to the morgue,

12        correct?

13                  A       When Mr.       Tankleff passed away,

14        I guess,      yeah.

15                  Q       And he did not die for,              I

16        think,    10 days,       as many as 30 days?

17                  A       I    guess.

18                          MR.     MITCHELL:      Don't guess.          If

19                  you know,        you know.

20                  A       Well,      they're saying 30.

21                  Q       Let's not guess on the number

22        of days.       It was some number of days past

23        between the time you processed the crime

24        scene and the time that you went to the

25        morgue and examined the wounds and expressed



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 1                                         C.    Kosciuk             255

 2        a view to Dr.      Dawson that you did not think

 3        the watermelon knife was the knife?

 4                  A       I never asked the wound,          first

 5        of all.       I was a bystander.

 6                  Q       When you observed the wounds?

 7                  A       Can I have the question.

 8                  Q       When you observed the wounds.

 9        You were at the morgue,               you observed the

10        wounds?

11                  A       Go ahead.

12                  Q       And you expressed the opinion

13        to Dr.    Dawson that you did not believe this

14        watermelon knife was the murder weapon,

15        instead you thought it was some kind of

16        utility knife?

17                  A       Okay,    yeah.

18                  Q       You did say that?

19                  A       Yes,    yes.

20                  Q       That was in addition to your

21        doubts that you had the date that you first

22        observed the watermelon knife because you

23        thought you saw a particulate of watermelon

24        on it,    correct?

25                  A       Yes.



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 1                                          C.   Kosciuk                     256

 2                  Q       Now,     by the time you were at

 3        the morgue,       had you learned that at least

 4        some homicide detectives believed that the

 5        watermelon knife was the murder weapon?

 6                          MR.     MITCHELL:      I   object to the

 7                  form.        You can answer.

 8                  A       I    have no idea.

 9                  Q       Well you knew that was an

10        issue;    didn't you?

11                  A       No.

12                  Q       You didn't think that anybody

13        believed that the watermelon knife might

14        have been the murder weapon?

15                          MR.     MITCHELL:      Objection.

16                  A       We took it as the murder

17        weapon.       We documented that number.               I

18        forgot what number it was now,                and we

19        collected it,          but we collected all the

20        knives in the house.

21                  Q       But when you're at the morgue

22        and you're looking at that knife and you're

23        expressing to Dr.           Dawson the view that the

24        watermelon knife is not the murder weapon --

25                  A       I    never said that neither.                I




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 1                                       C.    Kosciuk               257

 2        said that it looks more like a utility knife

 3        Based on that little dot before the cuts and

 4        the depth of the cut.

 5                  Q       Well

 6                 A        That was my opinion anyway.

 7                  Q       I understand but you expressed

 8        the view that the watermelon knife was not

 9        the murder weapon to Dawson at the morgue,

10        right?     You just told us you said that.

11                 A        No.     I didn't.     I   said it's

12        more consistent with a utility knife cut

13        than that particular watermelon knife or the

14        knife next the to the watermelon.

15                  Q       In the days after you processed

16        the crime scene,         didn't you become aware

17        that some homicide detectives believed that

18        the watermelon knife was,            in fact,   the

19        murder weapon?

20                          MR.    MITCHELL:     I object to the

21                  form.    You can answer.

22                 A        No,    I have no idea.

23                  Q       You had no idea?

24                 A        No.

25                  Q       Nobody ever told you?



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 1                                      C.    Kosciuk                 258

 2                 A        No.

 3                 Q        So as we sit here today going

 4        through the confession of Mr.           Tankleff that

 5        was given on September 7,           1988,   you're

 6        telling us this is the first time you ever

 7        heard that it was the theory of the homicide

 8        detectives and it was stated in Martin

 9        Tankleff's confession that the watermelon

10        knife was the murder weapon?

11                          MR.   TIPALDO:     Objection to

12                  form.

13                          MR. MITCHELL:       Objection.         You

14                  can answer.

15                 A        You changed it around.           You

16        told me some of the detectives believed it

17        is.

18                 Q        Did you ever hear from anyone

19        in law enforcement who was investigating

20        this state immediately subsequent to

21        processing the crime scene that they

22        believed that the watermelon knife was the

23        murder weapon?

24                          MR.   MITCHELL:     I object to the

25                  form.    You can answer.



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 1                                          C.    Kosciuk               259

 2                 A           They believe it?        Yeah,   that

 3        night they believed it.                The night we were

 4        there they believed that Marty confessed to

 5        the watermelon knife being the knife so we

 6        took it.       I don't understand your question.

 7                 Q           I'm asking did you know that

 8        was the reason that you took the knife was

 9        that the homicide detectives believed the

10        watermelon knife was the murder weapon?

11                 A           Yes,    he confessed to it that

12        night.       Sure,    we'll take.

13                 Q           You knew that?

14                 A           I told you that there were

15        certain things that night that they directed

16        us towards.

17                 Q           When they directed you to take

18        the watermelon knife,            you knew they were

19        directing you to take it because they

20        thought it was the murder weapon?

21                             MR.    MITCHELL:     Objection to

22                  form.

23                             MR.    TIPALDO:     Join.

24                  Q          Are you telling us now that you

25        knew that they directed you take the



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 1                                       C.    Kosciuk                 260

 2        watermelon knife,         at least certainly by the

 3        second day, because Martin Tankleff had

 4        confessed that he used the watermelon knife

 5        as the murder weapon?

 6                          MR.    MITCHELL:     I   object to the

 7                  form.    You can answer.

 8                 A        Yes.

 9                 Q        And you felt from the

10        beginning,     just to be clear about this,                you

11        expressed the view to Baumann that may have

12        been overheard by Doyle that you did not

13        believe the watermelon knife was the murder

14        weapon just at the beginning because you saw

15        some particulate something on it,              correct?

16                          MR.    TIPALDO:     Objection.     Asked

17                 and answered.

18                 A        Yes.

19                 Q        And the reason that led you to

20        believe it was not the murder weapon is that

21        because if it had,         in fact,    been used to

22        attack Arlene Tankleff or Seymour Tankleff

23        the watermelon would have come off,                the

24        watermelon particulate would have come off

25        somewhere in the attack?



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 1                                       C.   Kosciuk                   261

 2                          MR.    TIPALDO:    Objection to

 3                  form.

 4                 A        Yes.

 5                  Q       And then,    subsequently when you

 6        went to the morgue,         you told Dr.      Dawson the

 7        medical examiner,         that you did not think the

 8        watermelon knife was the murder weapon,                      you

 9        thought it was a utility knife?

10                 A        After looking at the wounds,

11        that's correct.

12                 Q        And you also made a statement

13        here that there were X-rays,           right?

14                 A        I don't know about the X-rays.

15        I don't remember that part at all.

16                 Q        How would X-rays be relevant?

17                 A        I don't know.       I don't

18        understand.

19                 Q        And let's continue going

20        through the confession here.

21                 A        Sure.

22                 Q        So in your opinion,         this

23        confession is not consistent with the

24        objective forensic evidence,           at least in

25        your judgement,         insofar as the confession



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 1                                             C.   Kosciuk                  262

 2        says that the watermelon knife was used to

 3        attack both Arlene and Seymour Tankleff,                           and

 4        you believe that the objective crime scene

 5        evidence is inconsistent with that version

 6        of events?

 7                          MR.    TIPALDO:             Objection.

 8                          MR.    MITCHELL:             Objection to the

 9                  form.       You can answer.

10                 A        No,    I       don't.       I never said

11        that.

12                 Q        You didn't just say that to us?

13                 A        No,    because I think that the

14        utility knife -- a utility knife might be

15        the weapon?       I     just told you before that the

16        watermelon knife,            I    can't rule out the

17        watermelon knife as not being the weapon.                            I

18        have no reason to rule it out.

19                  Q       Okay.           Well,   I    think you did

20        give us some reason why you thought it was

21        reasons to rule out the watermelon.                        One,     is

22        that you saw a particulate on it at the time

23        you processed the crime scene,                    right?

24                 A        Yeah,          but we don't know what

25        happened to that knife between the time of



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 1                                      C.   Kosciuk                  263

 2        the murders and when it was placed on that

 3        block.

 4                  Q       That would be one reason to

 5        rule it out that there was a particulate on

 6        it,   yes?

 7                 A        Yes.

 8                 Q        And you expressed that to Mr.

 9        Baumann,      correct?

10                 A        Yes.

11                  Q       And another reason to rule it

12        out if there was no blood on that knife with

13        subsequent serological testing that would be

14        a reason to rule it out,           correct?

15                 A        You're using the term "rule it

16        out."

17                 Q        You used the term rule it out.

18                 A        No,    I would never use the term

19        rule it out.       It's still the murder weapon

20        as far as we're concerned.            We can't prove

21        it's the murder weapon.

22                 Q        As part of doing crime scene

23        reconstruction you examine evidence at a

24        crime scene,      which includes blood spatter

25        and blood on weapons,         and impressions that



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 1                                       C.    Kosciuk               264

 2        weapons make,      correct?

 3                  A       Yes.

 4                  Q       That's part of your job?

 5                          MR.    MITCHELL:     Right?

 6                 A        Yes.

 7                  Q       And as part of doing

 8        reconstruction you try to test a hypothesis

 9        as to whether a particular instrument was

10        used to commit a homicide?             That's part of

11        your blood spatter and crime scene

12        reconstruction expertise,            correct?

13                 A        Yes.

14                  Q       And would you not agree with me

15        that when you first arrived at the crime

16        scene you took a look at the watermelon

17        knife,   you found it to be unlikely that that

18        was used as the murder weapon because you

19        saw watermelon particulates on it,              correct?

20                          MR.    MITCHELL:     I object to the

21                  form.    You can answer.

22                  A       It brought a question to mind

23        that it possibly wasn't the murder weapon.

24                  Q       And one of the reasons you

25        thought it wasn't the murder weapon is that



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 1                                       C.    Kosciuk               265

 2        if it had been used to attack Arlene and

 3        Seymour Tankleff it would have to be washed

 4        off and then somebody would have to cut the

 5        watermelon and put the particulates on it,

 6        clean off the knife,         and put i t in the

 7        position that you found it in the crime

 8        scene,   correct?

 9                          MR.    MITCHELL:     Objection to

10                  form.    You can answer.

11                 A        Well,    you can wash it and just

12        cut a piece of watermelon,            take the water

13        and leave the knife.

14                  Q       But that would be the chain of

15        events that would have to occur for that to

16        be the murder weapon,         correct?

17                          MR.    MITCHELL:     I object to the

18                  form.    You can answer.

19                 A        I will say yes to that.

20                  Q       That was the concern you had at

21        the time,     correct?

22                 A        Yes.

23                  Q       And that was the concern you

24        expressed to Baumann,         correct?

25                 A        Yes.



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 1                                        C.    Kosciuk             266

 2                  Q         And then subsequently you

 3        learned that this watermelon knife,               when it

 4        was tested for the presence of blood,                 there

 5        wasn't any on it,          correct?

 6                  A         That's correct.       No blood.

 7                  Q         And that,   wouldn't it be fair

 8        to say that that increased your doubts as to

 9        whether or not the watermelon knife could be

10        the murder weapon when you discovered there

11        was no blood on it when it was disassembled

12        and tested?

13                            MR.   MITCHELL:     Objection to

14                  form.         You can answer.

15                  A         As far as it being the murder

16        weapon,       I   leave that up to the medical

17        examiner and I          don't think that --

18                  Q         I   asked you a different

19        question.          Just answer my question.        My

20        question is that when you found out there

21        was no -- the serological testing,              the

22        presumptive testing had discovered no blood

23        on the watermelon knife,             did that increase

24        your doubts that the watermelon could have

25        been the murder weapon?



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 1                                       C.    Kosciuk                267

 2                 A        Yes.

 3                  Q       And then,    when you went to the

 4        morgue and you saw the wounds on Seymour

 5        Tankleff,      you then expressed to the medical

 6        examiner another reason that you thought the

 7        watermelon knife could not have been the

 8        murder weapon;      that is,        that you thought

 9        that the kinds of wounds that Seymour

10        Tankleff suffered,         long,     thin,   narrow

11        slashes,      were likely to be caused by a

12        razor-like blade,         not a knife like the

13        watermelon knife?

14                 A        That was my opinion,         yes.

15                 Q        So that's at least three

16        factors now which,         based on the crime scene

17        evidence,      led you to have doubts,          at least

18        by the time of the autopsy,             that the

19        watermelon knife wasn't the murder weapon,

20        right?

21                          MR.    MITCHELL:      I object to the

22                  form.    You can answer.

23                  Q       Yes?

24                 A        I doubted that,        I told you,       the

25        first day but we took it because it was in



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 1                                       C.    Kosciuk                268

 2        the confession.

 3                 Q        I understand,       but I'm now

 4        pointing out that there were at least three

 5        factors now that,          in your mind,      based on

 6        forensic evidence, made it unlikely that the

 7        watermelon knife was the murder weapon,

 8        correct?

 9                          MR. MITCHELL:           I object to the

10                  form.    You can answer.

11                          MR.    TIPALDO:     I    join.

12                 A        What's the forensic evidence

13        again?       The fact that there was no blood on

14        it?

15                 Q        Yes,    the fact that you saw a

16        particulate

17                 A        It could still remain as the

18        murder weapon.           If the weapon was washed,           it

19        could remain the murder weapon.                If after

20        that he took a piece of the watermelon late,

21        it's still a murder weapon.                And what's the

22        third thing?       The cuts,        that knife is

23        capable of making deep cuts into a human

24        being.       So as far as I'm concerned,           yes,     it

25        still could have been the murder weapon.



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 1                                        C.    Kosciuk               269

 2                 Q        But you expressed the view

 3                 A        What I   was saying at the morgue

 4        was when I     looked at the wound on one of the

 5        cuts on Mr.     Tankleff there was a dot before

 6        the cut.      In other words,          i t looked like a

 7        jab and i t looked more consistent with a

 8        utility knife jabbing in.

 9                        And,     you know how a utility

10        knife the blade extends and there's a

11        shielding around the knife.               Well,   i t looked

12        like the tip of the shielding touched and

13        then the knife was drawn.               That's totally my

14        opinion and I      expressed i t at the morgue.

15                  Q       But that was in addition to the

16        watermelon being on the knife at the crime

17        scene; meaning that i t would have to be

18        washed and then used to caught the

19        watermelon again,        yes?

20                 A        Or wiped or whatever,           yes.

21                  Q       That there was no blood

22        recovered on the knife,              correct?

23                  A       Yes.

24                  Q       And that you thought the wounds

25        were more consistent with a utility knife



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 1                                         C.   Kosciuk                  270

 2        than a watermelon knife when you saw it at

 3        the morgue,         correct?

 4                  A         More consistent with a utility

 5        knife?        I   said i t ' s a possibility that a

 6        utility knife could have been used.

 7                  Q         Those are three factors,

 8        correct?

 9                  A         Yes.

10                  Q         Based on objective evidence,

11        correct?

12                  A         Yes.

13                  Q         And you did tell the State

14        Investigation Commission in July of 2008

15        that,    "Kosciuk said he did not believe that

16        the knife recovered on the kitchen table was

17        used to cause Seymour's injuries."

18                  A         That's right.       Kosciuk said.

19        That's me.          That's my opinion.

20                  Q         I'm only asking about your

21        opinion.          And in your opinion what you can

22        rule in and rule out,           okay?     Are you with

23        me?

24                  A         Yes.

25                  Q         And I'm only asking about what



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 1                                          C.   Kosciuk                    271

 2        you think is probable or improbable,                      okay?

 3        Are you with me,           yes?

 4                 A        Yes,     go ahead.

 5                 Q        I    think we talked about before

 6        that that's part of your job to decide what

 7        is probably and likely or not likely given

 8        the crime scene evidence?

 9                 A        Yes.

10                 Q        Now,     let's go back to the

11        confession.       And just to be clear,                 I don't

12        want to be unfair with you.

13                          It makes you uncomfortable to

14        even say aloud that you don't believe that

15        the murder weapon is the murder weapon,

16        right?

17                          MR.     MITCHELL:            I object to the

18                  form.        I'm going to direct him not

19                  to answer that question.

20                          MR.     SCHECK:      Why?

21                          MR.     TIPALDO:         I    join.

22                          MR. MITCHELL:                Whether it

23                 makes --

24                          MR.     SCHECK:      I       can ask him

25                  Let me ask him this way,                 Brian,    see



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 1                                        C.    Kosciuk                 272

 2                   if you have a problem with it.

 3                           MR.    MITCHELL:     I don't have a

 4                   problem with anything.           We disagree.

 5                   In fact,       I withdraw my instruction

 6                   for him not to answer the question.

 7                   I    renew my objection.        You can

 8                   answer.

 9                   Q        Does it make you uncomfortable

10        to state out loud in this deposition that in

11        your opinion you do not believe the

12        watermelon knife was the murder weapon?

13                           MR.    MITCHELL:     Objection to

14                   form.

15                           MR.    TIPALDO:     Objection.

16                   A        I don't have an opinion.            I

17        said to you that the watermelon knife can

18        very well be the murder weapon.                 I never

19        said it wasn't the murder weapon.

20                            I said when I      looked at the

21        wound in the morgue it looked,              based on what

22        I   saw,   it looked like it could be a utility

23        knife.         Period.

24                   Q       Now,    let's go on in this

25        confession.         We're in the second paragraph.



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 1                                            C.    Kosciuk                   273

 2        "I asked him if he knew how many times he

 3        hit or cut his father.                   He said he did not

 4        know how many times he hit or cut him.

 5        Again,    he volunteered he couldn't believe

 6        all the blood.            I    asked him what he did with

 7        the knife and the barbell.                   He said he

 8        washed off the knife and barbell in the

 9        shower.       I   asked him what he did with the

10        barbell and the knife after he washed them

11        off.     He said he put the barbell back in the

12        bedroom and he put the knife on the counter

13        by the watermelon."               Do you see that?

14                  A        Yes.

15                  Q        Okay.         Now,    based on this

16        confession,       would you not agree,              just

17        looking at the confession,                  that Mr. Tankleff

18        says that he got up based on his alarm at

19        5:35 in the morning;              you remember that?

20                  A        Mr.        Tankleff.

21                  Q        Marty Tankleff.            You remember

22        that,    yes?

23                  A        Yes.

24                  Q        And we reviewed that he used

25        the barbell in his room to attack his



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 1                                       C.   Kosciuk                  274

 2        mother,       correct?

 3                  A        Yes.

 4                  Q        Then he went into the kitchen,

 5        got the watermelon knife from the counter,

 6        went back to the bedroom,           slashed his mother

 7        on the back and on the neck,            correct;      is

 8        that right?

 9                  A        Right.

10                  Q        Then he took the barbell and

11        the knife -        and he's doing all this naked,

12        correct?

13                  A        Yes.

14                  Q       And he put them behind his back

15        and he went to his father's office,                 correct?

16                  A        That's according to his

17        confession,       yes.

18                  Q       And we agreed that assuming

19        that what he said in the confession is true,

20        based on your expertise as a blood spatter

21        expert,       right,   there would be some blood on

22        him when he entered his father's office,

23        correct?

24                  A        Yes.

25                  Q       And that he went around the



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 1                                     C.    Kosciuk                275

 2        card table and some furniture,           and the

 3        confession says he then struck his father in

 4        the head with the barbell,          correct?

 5                 A       Correct.

 6                 Q      And then he slashed his

 7        father's throat with the watermelon knife,

 8        correct?

 9                 A       Right.

10                 Q      And then he went into the

11        shower and washed off the watermelon knife

12        and the barbell,        correct?

13                 A       Right.

14                 Q       That's what the confession

15        says,   yes?

16                 A       Yes.

17                 Q       And that he then took the

18        watermelon knife and placed it back on the

19        table in exactly the position that you saw

20        it when you came back -- when you processed

21        the crime scene;        is that correct?

22                 A       Yes.

23                  Q      And he returned the barbell to

24        his bedroom in the position that you

25        photographed it as depicted in Exhibit 8,



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 1                                       C.    Kosciuk               276

 2        correct?

 3                  A       Yes.

 4                  Q     And if the 911 call-- Let's

 5        look back at the confession here.                He says,

 6        "He put the barbell back in his bedroom.                    He

 7        put the knife on the counter by the

 8        watermelon.       I   then asked him what he did

 9        next.    He said he went and laid down in his

10        bed.     He thought about what to do next and

11        he got up at 6:10:00 a.m.             I    asked him what

12        happened when he got up.             He said he went

13        back to the office,         saw his father was still

14        alive.     He went to his mother's room to see

15        if she was dead.          He said he called 911 from

16        his mother's room."          You see that?

17                  A       Yes.

18                  Q       Now,    we know that the 911 call

19        was recorded at 6:11,         correct?

20                  A       Yes.

21                          MR.    MITCHELL:        We've stipulated

22                  to that.       Does he know?

23                          MR.    SCHECK.     Yes.

24                  Q       I'm telling him that the 911

25        call was at 6:11.



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 2                  A       All right.

 3                  Q       Assuming his confession to be

 4        true that between 5:35 a.m.            and 6:11 he

 5        would have to have had to engage in all

 6        these activities including washing off the

 7        watermelon knife and the barbell and

 8        returning them to the place where you saw

 9        them when you processed the crime scene,

10        correct?

11                  A       Correct.

12                  Q       And I    think your added detail

13        to this is that in terms of the watermelon

14        knife itself,       he would have to,      in addition,

15        do a little cutting of the watermelon so

16        that there could be a little particulate of

17        watermelon on the knife,            correct?

18                  A       Yes.

19                  Q       Now,    when cleaning off the

20        knife,    the watermelon knife,         assuming that

21        it was the knife that was used to inflict

22        the injuries on Arlene Tankleff and Seymour

23        Tankleff,       and it was being washed in the

24        shower,       wouldn't you agree,      based on your

25        knowledge of knives and even looking at this



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 2        particular knife,         that in order to get all

 3        the blood off the knife one would have to be

 4        very careful to wash the crevices of the

 5        knife?

 6                 A        What crevices?

 7                 Q        In other words,     take a look at

 8        the knife.

 9                 A        The handle?      First of all,

10        blood is highly soluble in water and there

11        would be no problem with hot water -- Fresh

12        blood?       There would hardly be any traces on

13        it.

14                 Q        So you're saying that you

15        believe that hot water in the shower

16        would

17                 A        Just water alone.

18                 Q        -- would eliminate any trace of

19        blood?

20                 A        Yes.

21                 Q        Even within the handle of the

22        knife?

23                 A        How do you know there is blood

24        in the handle?

25                  Q       Well,   let me ask you.          If one



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 2        were to inflict the kind of deep wounds that

 3        you saw on Arlene Tankleff's neck and back

 4        and the wounds that you saw on Seymour

 5        Tankleff,    are you,     based on your knowledge

 6        of blood spatter and crime scenes,               do you

 7        not think that there is a likelihood that

 8        blood would get within the crevice of the

 9        handle of the knife?

10                          MR.   MITCHELL:       I   object to

11                  form.    You can answer.

12                 A        Can I   see the length of the

13        knife?

14                 Q        Let's take a look at it.

15                 A        Did you ever see a butcher cut

16        a big chunk of meat?

17                          MR. MITCHELL:         Detective,      he

18                 has not asked a question.

19                          MR.   SCHECK:     I   did ask him a

20                 question.

21                 A        You can make those wounds

22        without getting blood on the handle,                yes.

23                 Q        So you believe that in the

24        course of committing the homicides,                as

25        described in this confession,               that it is



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 2        unlikely that blood would,            in any small

 3        amounts,      would be lodged in any of the

 4        crevices of this knife?

 5                          MR.    TIPALDO:     Objection.     Asked

 6                  and answered.

 7                          MR.    MITCHELL:     Objection.

 8                 A        Yes.

 9                 Q        Would it be fair to say that in

10        order to be sure,         these tests for blood,           the

11        presence of blood,         I think we agreed before

12        are very sensitive; are they not?

13                 A        Yes,    they were.

14                 Q        So the smallest amount of blood

15        lodged in the crevice of the knife when a

16        presumptive test was done would detect its

17        presence,      correct?

18                          MR.    MITCHELL:     Objection to the

19                  form.    You can answer.

20                          MR.    TIPALDO:     Objection.

21                 A        Depending on the test used,

22        yes,   it should detect blood.

23                  Q       In order to be certain that no

24        blood would be detected on this knife,                one

25        would have to disassemble the knife and



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 2        clean the handle area separately and then

 3        put it back together.

 4                          MR.    TIPALDO:     Objection.

 5                          MR.    MITCHELL:     Objection to the

 6                  form.    You can answer.

 7                 A        No.

 8                 Q        Have you ever examined knives

 9        of this nature that were used in the course

10        of stabbings to detect the presence of blood

11        in the crevices?

12                          MR.    MITCHELL:     I object to the

13                  form.    You can answer.

14                 A        No,    I'm not a serologist.

15                 Q        But you recover the knives and

16        then you submit them to the serology section

17        for analysis,      correct?

18                 A        Yes.

19                 Q        And in the course of that work

20        over the years,         with some frequency,

21        wouldn't it be fair to say that the

22        serologists are able to disassemble knives

23        and in the crevices perform presumptive

24        tests and discover blood?

25                          MR.    MITCHELL:     Objection to



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 2                  form.

 3                  Q       Isn't that true?

 4                          MR.    TIPALDO:    I object.

 5                          MR. MITCHELL:       I object to the

 6                  form.     You can answer.

 7                  A       It depends on how well

 8        constructed the knife is.            This particular

 9        knife is a well-constructed knife.

10                  Q       In your experience in crime

11        scenes,       you have had occasion where knives

12        are used in the course of stabbings,                you

13        recover the knife,         there's no apparent blood

14        on the knife,       you send it to serology,           they

15        disassemble the knife and they detect using

16        presumptive tests blood in the crevices of

17        the knife?

18                  A       Yes.

19                  Q       In your experience that

20        happens?

21                  A       Yes.

22                  Q       It happens with some frequency,

23        correct?

24                  A       Yes.

25                          MR. MITCHELL:       Objection.



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 2                  A       Frequency I       can't testify to.

 3                  Q       It happens often in the crime

 4        scene?

 5                  A       I   can't testify to that.

 6                  Q       How many times do you think

 7        that's happened?

 8                 A        I   don't know what happens at

 9        the crime scene and what the report is in

10        the lab.       We don't follow that through.

11                  Q       So the reason you can't testify

12        with any frequency is that you don't always

13        know what serology finds;            is that right?

14                  A       Correct.

15                  Q       But based on some cases,         to

16        your knowledge,         you collect the knives,           it's

17        sent to serology,         they disassemble them and

18        they perform presumptive tests on the knife

19        and they detect the presence of blood,               even

20        if you're looking at the knife you don't see

21        it,   right?

22                          MR.    MITCHELL:     Objection to

23                  form.

24                  A       Yes.

25                  Q       By the way,       just take a look



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 2        at --

 3                          MR.   SCHECK:     I   guess we'll mark

 4                  this.

 5                          (Whereupon,      Plaintiff's Exhibit

 6                  12 was marked for identification.)

 7                  Q       Plaintiff's Exhibit 12 is a

 8        supplemental report and there's a

 9        highlighted version and you can take a look

10        at it,    and it indicates that Mr.             Baumann did

11        not arrive at the crime scene until what?

12                          MR. MITCHELL:         Wait a second.

13                  I   thought you were just describing

14                  what the report was.

15                          MR.   SCHECK:     I ' l l show it to

16                  you.

17                  A       I did not finish reading that

18        either.

19                          MR. MITCHELL:         Wait.    Wait.

20                  Q       These kinds of supplemental

21        reports are made out contemporaneously in

22        order to determine when people log into the

23        crime scene;      fair enough?

24                  A       Okay,   right.

25                  Q       Take a look at that and verify



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 1                                          C.    Kosciuk                 285

 2        that for yourself.

 3                          MR.     MITCHELL:       You're asking

 4                  what the supplemental report says.

 5                  Q       I'm asking what it is

 6        generally,    what's its function,             and taking a

 7        look at that would you not agree that at

 8        least according to this report it gives a

 9        time for when Baumann arrived at the crime

10        scene?

11                  A       I    can't read the first numbers.

12                  Q       I     know,   but take a look at the

13        numbers above and below.

14                  A       I'm looking at them too.                Can

15        anybody read them?

16                  Q       Well,      we believe that says

17        When you look,          there's a cutoff here but we

18        believe it says 11:31.                 Just in fairness to

19        you I    just want to call your attention to

20        that.

21                  A       But that would be all right.

22                  Q       I     just wanted you to know that

23        that's when Baumann got there.

24                          MR.     MITCHELL:       I'm going to

25                  object to the form of the question.



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 2                  This is a document that I think

 3                  speaks for itself,               that says,

 4                  although mine is cut off,               Barry,        I

 5                  think you said 11:31

 6                          MR.     SCHECK:      Yeah.

 7                          MR.     MITCHELL:         -- that Robert

 8                  Baumann,        crime lab 1036,        which I'm

 9                  not going to testify,               but are you

10                  aware that 1036 means when he

11                  arrives at the scene?                That's police

12                  codes for when he arrives.

13                          I    don't object to you saying

14                  that this document indicates that,

15                  but the way you said i t is that

16                 means he was there.                 We all can

17                  understand that that could be an

18                  error.        I'm not saying it is an

19                  error,       i t ' s just the form of your

20                  question says that this establishes

21                  that he was there.

22                          MR.     SCHECK:      I    thought my

23                  question was -            In fairness,        I was

24                  showing him that to see if it

25                  refreshes his recollection.



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 2                          MR.   MITCHELL:     Ask him that

 3                  question.       You know what time

 4                  Baumann got there?         Does this

 5                  refresh your recollection?

 6                  Q       Does this refresh your

 7        recollection of when Baumann got there and

 8        you had a conversation with him about the

 9        watermelon knife,         in your judgement,        not

10        being the murder weapon?

11                  A       But that's way before we go

12        into the scene.         We don't go into the scene

13        until 2 o'clock.

14                          MR.   MITCHELL:     Just listen to

15                  his question and answer his

16                  question.

17                  Q       So the answer to the question

18        is no,   it does not refresh your

19        recollection.

20                          Looking again at Plaintiff's

21        Exhibit 10 which is the investigation report

22        of Doyle that I         called your attention to,

23        okay,    you see that he says that he does

24        not -- I ' l l read it again just so we're

25        clear.        "Doyle stated that he felt some sort



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 2        of knife and bludgeon were used to inflict

 3        the injuries to the victims.                Doyle did not

 4        believe that a knife recovered on the

 5        kitchen counter next to the watermelon was

 6        used to inflict the injuries and that a

 7        smaller knife,      possibly a utility knife,

 8        might have been used.          He based his belief

 9        on the compression level of the wounds.                    He

10        stated that the police were "stuck" with the

11        type of knife described by Tankleff in his

12        confession."       You see that?

13                 A        Yes.

14                  Q       I take it that you would agree

15        with what Doyle is quoted as saying here

16        about the type of knife that was used to

17        inflict the wounds at least to Seymour

18        Tankleff,     correct?

19                          MR.    MITCHELL:        I object to the

20                  form.     It's asked and answered.

21                  Barry,    I think you asked that exact

22                  question about half hour ago.

23                          MR.    TIPALDO:     I    join.

24                          MR. MITCHELL:           You asked this

25                  entire series of questions already.



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 2                  I'm going to object.         I'm not going

 3                  to tell him not to answer.             You

 4                  already asked this entire series of

 5                  questions.

 6                         MR.   SCHECK:     I'm backtracking

 7                  just for a second because I'm trying

 8                  to get in a different point.

 9                         MR.   MITCHELL:     Okay,   I

10                  appreciate that.

11                  A      I don't know who he is talking

12        about?     Which victim?       I   don't know which

13        victim he's talking about.

14                  Q      Just to refresh          Just to look

15        at it again,     "Doyle stated that he felt some

16        sort of knife and bludgeon were used to

17        inflict the injuries to the victims.               He did

18        not believe that a knife recovered on the

19        kitchen counter next to the watermelon was

20        used to inflict the injuries and that a

21        smaller knife,      possibly a utility knife,

22        might have been used.         He based his belief

23        on the compression level of the wounds.                   He

24        stated that the police were "stuck" with the

25        type of knife described by Tankleff in his



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 1                                     C.   Kosciuk                 290

 2        confession."

 3                         You see that.

 4                 A       Give me the date and time he

 5        says this.

 6                 Q       He says this on July 30,          2008

 7        to the State Investigation Commission.

 8                 A       Okay.    That's possible,        sure.

 9                 Q       Okay.    Now,    but what I'm really

10        probing here is discussions between you and

11        other police officers and other members of

12        the crime lab about your opinions with

13        respect to the watermelon knife,            okay?

14                 A       Yes.

15                 Q       Now,    you've told us that you

16        had one conversation with Baumann where

17        Doyle might have been present,           correct?

18                 A       In relation to the watermelon

19        knife?

20                 Q       Yes,    at the crime scene.

21                 A       Yes.

22                  Q      Where you expressed doubts that

23        that could be the murder weapon,            correct?

24                 A       Yes.

25                  Q      And you admitted,      finally,      I



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 2        think,   that you knew at the crime scene that

 3        you were collecting the watermelon knife

 4        because Tankleff had confessed that that was

 5        the murder weapon.         You told us that?

 6                 A       Friday evening,       correct.

 7                         MR.    MITCHELL:     Let him finish.

 8                  I object to the form.         You can

 9                  answer.

10                 A       Yes.

11                 Q       He said Friday evening.           Okay.

12                         And then now,       do you recall

13        between the time that you collected the

14        knife and expressed these views on Friday

15        evening,     all right,    to Baumann,    probably the

16        presence of Doyle,        expressing that view to

17        anyone else?

18                 A       Wait.     Friday evening?

19                 Q       When,    to the best of your

20        recollection,       did you have this conversation

21        with Baumann potentially in the presence of

22        Doyle as to your viewing that the watermelon

23        knife,   which you knew had been identified by

24        Marty Tankleff in his confession as the

25        murder weapon,       that you had doubts that it



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 2        was the murder weapon?

 3                         MR. MITCHELL:       When did that

 4                  happen?      When did you have that

 5                  conversation?

 6                         I   object to the form of your

 7                  question,     but just answer his

 8                  question if you can timewise.             I

 9                  think we've done this already.

10                         When did you have the

11                  conversation about the knife with

12                  Baumann and Doyle might have been

13                  there or not?      When did that happen?

14                         THE WITNESS:       Sometime on

15                  Wednesday,     the day of the homicide.

16                         MR.   SCHECK:    Off the record.

17                         THE VIDEOGRAPHER:        The time is

18                  4:59p.m.       This is the end of Tape

19                  5.

20                         (Whereupon,      a recess was

21                  taken.)

22                         THE VIDEOGRAPHER:        This the

23                  beginning of Tape 6.        We're back on

24                  the record at 5:02 p.m.           You may

25                  proceed.



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 2                         MR.   SCHECK:      I believe that we

 3                  have about two hours and 10 minutes

 4                  left in permissible time to depose

 5                  the witness and we're going to find

 6                  a mutually convenient date with

 7                  counsel.

 8                         And there was one item having

 9                  to do with notes from the crime

10                  scene which Mr.        Mitchell says he's

11                  seen and for some reason we don't

12                  think we've seen it,           but we're going

13                  to work that out and try to make

14                  that production by the time we get

15                  back the next time.

16                         Have I   got it all right,

17                  Counsel?

18                         MR.   MITCHELL:         That's correct.

19                 And we'll try and come up with a

20                  date convenient for all.

21                         MR.   TIPALDO:      I    appreciate the

22                  copies of the exhibits although I

23                  don't have all of them but I

24                  understand why.          I'm new to the

25                  table and I understand sometimes you



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 1                                      C.   Kosciuk                 294

 2                 may not remember that there is

 3                 another party here.

 4                          In the event that we conduct a

 5                  further deposition of this witness

 6                 before we get the transcript with

 7                 exhibits attached to the back,              I

 8                 would appreciate it if you furnish

 9                 me with an extra copy.

10                          (Continued on next page to

11                  include jurat.)

12

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 2                         MR. MITCHELL:       Not a problem.

 3                         MR.   TIPALDO:     Thank you.

 4                         THE VIDEOGRAPHER:        This is the

 5                  end of Tape 6.       We're off record at

 6                  5:03 p.m.    with a videotaped

 7                  deposition of Detective Charles

 8                  Kosciuk.     We're off record at 5:03.

 9                         (Time noted:       5:03p.m.)

10

11

12

13                                   CHARLES KOSCIUK

14

15             Subscribed and sworn to before me

16             this        day of ----------'       2013.
17

18

19

20             NOTARY PUBLIC

21

22

23

24

25



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 2        ERRATA SHEET FOR THE TRANSCRIPT OF:

 3        Case Name:  Martin Tankleff vs The County of
          Suffolk, K. James McCready, Et Al
 4        Deposition Date:   October 2, 2013
          Witness:   Charles Kosciuk
 5

 6                                CORRECTIONS

 7        PG     LN     NOW READS     SHOULD READ      REASON FOR

 8

 9

10

11

12

13

14

15

16

17

18

19

20
                                      Signature
21

22
          Subscribed and sworn to before me
23        this ______ day of _________ , 2013.

24
                      (NOTARY PUBLIC)
25



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 2                                    CERTIFICATION

 3                  I,    DOLLY FEVOLA,    a Notary Public in

 4        and for the State of New York,           do hereby certify:

 5                  THAT the witness whose testimony is herein

 6        before set forth,       was duly sworn by me;             and

 7                  THAT the within transcript is a true record

 8        of the testimony given by said witness.

 9                  I    further certify that I     am not related,

10        either by blood or marriage,          to any of the parties

11        to this action;       and

12                  THAT I    am in no way interested in

13        the outcome of this matter.

14                  IN WITNESS WHEREOF,       I have hereunto

15        set my hand this 26th day of October,               2013.

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19                                        DOLLY FEVOLA

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